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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 VEROBLUE FARMS USA INC.,                      §
    Plaintiff,                                 §
                                               §
  v.                                           §          CIVIL ACTION NO. 3:19-CV-00764-L
                                               §
 LESLIE A. WULF, BRUCE A. HALL, JAMES          §
 REA, JOHN REA, and KEITH DRIVER               §
    Defendants/Counterplaintiffs.              §



                     APPENDIX IN SUPPORT OF
 PLAINTIFF VEROBLUE FARMS USA INC.’S MOTION TO COMPEL DISCOVERY

         Plaintiff VeroBlue Farms USA Inc. (“VBF”) submits the following exhibits in support of

its Motion to Compel Discovery:

       Item                          Description                       Appendix Page Ranges

 Exhibit A      Responding Founders’ responses to the Document         App. 002 – App. 023
                Requests

                Responding Founders’ responses to the Requests to
                Admit:

 Exhibit B      2019-04-03 B. Hall’s Response to Plaintiff’s First     App. 025 – App. 047
                Request for Admission

 Exhibit C      2019-04-03 James Rea’s Response to Plaintiff’s First   App. 049 – App. 071
                Request for Admission

 Exhibit D      2019-04-03 John E. Rea’s Response to Plaintiff’s First App. 073 – App. 095
                Request for Admission

 Exhibit E      2019-04-03 L. Wulf’s Response to Plaintiff’s First     App. 097 – App. 119
                Request for Admission




APPENDIX IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY – Page 1
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            Responding Founders’ responses to the
            Interrogatories:

Exhibit F   2019-04-09 B. Hall’s Response to Plaintiff’s First     App.121 – App. 132
            Interrogatories

Exhibit G   2019-04-09 James Rea’s Response to Plaintiff’s First   App. 134 – App. 144
            Interrogatories

Exhibit H   2019-04-09 John E. Rea’s Response to Plaintiff’s First App. 146 – App. 157
            Interrogatories

Exhibit I   2019-04-09 L. Wulf’s Response to Plaintiff’s First     App. 159 – App. 170
            Interrogatories

Exhibit J   July 2, 2019 correspondence                            App. 172 – App. 181

Exhibit K   July 22, 2019 correspondence                           App. 183 – App. 188




APPENDIX IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY – Page 2
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Dated: August 16, 2019                   /s/ Nicole Williams
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APPENDIX IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY – Page 3
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                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing instrument was

served upon all counsel of record, as listed below, via email, on this 16th day August 2019.

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                                                    /s/ Nicole Williams
                                                    Nicole Williams




APPENDIX IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY – Page 4
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                         EXHIBIT A




                                                                       App. 001
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                      )
                                               )
Plaintiff,                                     )
                                               )   Case No. 3:19-CV-00764-L
v.                                             )
                                               )
LESLIE A. WULF, BRUCE A. HALL,                 )
JAMES REA, JOHN E. REA, AND                    )
KEITH DRIVER,                                  )
                                               )
Defendants.


DEFENDANTS WULF, HALL, T.REA AND J. REA’S RESPONSES TO PLAINTIFF’S
         FIRST REQUEST FOR PRODUCTION OF DOCUMENTS


          Defendants, Leslie A. Wulf (“Wulf”), Bruce A. Hall (“Hall”), James Rea (“J. Rea”),

and John E. (“Ted”) Rea (“T. Rea”), (collectively, “Defendants”) in the above-entitled and

numbered cause, and hereby submit these responses to Plaintiffs’ First Requests for

Production of Documents.


         DEFENDANTS RESPONSES TO FIRST REQUEST FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All Documents and communications identified,
referenced, or relied upon to prepare Defendants’ Answers to Interrogatories or Requests for
Admission.

      RESPONSE:       Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection, and/or
common interest privilege. Subject to that objection, responsive documents will be
produced.

REQUEST FOR PRODUCTION NO. 2:                        All Documents and non-privileged
communications supporting or refuting the allegations in the Complaint and/or any pleading
Defendants have or intend to file.




RESPONSES TO PLAINTIFF’S RFP                                                    Page 1
1414695v1 - V0265.00001 Response to 1st RFP
                                                                                          App. 002
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       RESPONSE: Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection, and/or
common interest privilege. Defendants further object to this Request as premature,
irrelevant and seeking documents subject to attorney work product protection to the
extent it refers to pleadings that have not yet been filed. Subject to these objections,
responsive documents will be produced.


REQUEST FOR PRODUCTION NO. 3: All Documents and communications relating in
any way to VBF that Defendants sent or received regardless of what e-mail address or
telephone number was used.

      RESPONSE: Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection, and/or
common interest privilege. Subject to that objection, responsive documents will be
produced.


REQUEST FOR PRODUCTION NO. 4: All Documents and communications relating to
all VBF Board of Directors’ meetings including but not limited to Board minutes, all
Documents and communications to Directors, all Management Reports, business plans, and
all Bio-plans.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to this objection, responsive documents
within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 5: All Documents relating to Defendants’ Affiliated
Entities.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
unduly burdensome because it improperly seeks personal and confidential financial
information relating to them, their families, and are other business ventures, none of
whom are parties to this case and some of whom have been released.


REQUEST FOR PRODUCTION NO. 6: All Documents relating to all bank accounts and
accounts at other financial institutions to which you, Defendants’ Affiliated Entities, or
Defendants’ Family have been named an account holder, had rights to withdraw funds, and/or
did withdraw funds.




RESPONSES TO PLAINTIFF’S RFP                                                  Page 2
1414695v1 - V0265.00001 Response to 1st RFP
                                                                                        App. 003
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       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
unduly burdensome because it improperly seeks personal and confidential financial
information relating to them, their families, and other business entities, many of whom
are not parties to this case and some of whom have been released.


REQUEST FOR PRODUCTION NO. 7: All Documents relating to all amounts that
Defendants received from VBF through compensation, stock, any kind of payment,
reimbursements of expenses or otherwise.

        RESPONSE: Defendants object to this Request as unduly burdensome because it
improperly seeks personal and confidential financial information relating to them and
their families, many of whom are not parties to this case and some of whom have been
released. Defendants further object to this Request as unduly burdensome to the extent
it seeks documents in Plaintiff’s exclusive possession that Defendants do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 8: All Documents relating to your federal and state
income, including but not limited to, income tax returns.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
unduly burdensome because it improperly seeks personal and confidential financial
information relating to them and their families, many of whom are not parties to this
case, and some of whom have been released.


REQUEST FOR PRODUCTION NO. 9: All Documents relating to title to property or real
estate you own or receive income from.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
unduly burdensome because it improperly seeks personal and confidential financial
information relating to them and their families, many of whom are not parties to this
case, and some of whom have been released.


REQUEST FOR PRODUCTION NO. 10: All Documents relating to automobiles driven or
used by Defendants and/or Defendants’ Family whether rented, leased, or owned, by make,
model, year, identity of other parties to any relevant transaction (i.e. auto dealership, rental
agency, leasing agency) paid in any part by VBF.

RESPONSES TO PLAINTIFF’S RFP                                                       Page 3
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                                                                                              App. 004
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       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
unduly burdensome because it improperly seeks personal and confidential financial
information relating to them and their families, many of whom are not parties to this
case, and some of whom have been released subject to these objections, responsive
documents within Defendant’s custody, possession or control will be produced.


REQUEST FOR PRODUCTION NO. 11: All communications that any one of the
Defendants or Defendants’ agents have had with any media relating to VBF, including but not
limited to, posts made on social media without an intermediary such as a reporter, and
Documents relating to same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks publicly available documents that are equally available to Plaintiff.
Subject to that objection, responsive documents within Defendants’ custody, possession,
or control will be produced.

REQUEST FOR PRODUCTION NO. 12: All Documents relating to Wulf’s representation
in a media interview in March 2016 that VBF planned to expand its annual production from 1
million pounds to 7.2 million pounds starting in 2017, including but not limited to Documents
supporting how such expansion was possible.

       RESPONSE: Defendants object to this Request as vague as it does not adequately
identify what representations Plaintiff is referring to. Subject to that objection,
Defendants have conducted a reasonable search and are not in possession, custody, or
control of any responsive documents.

REQUEST FOR PRODUCTION NO. 13: All Documents relating to your tenure at VBF
including all drafts of Defendants’ termination agreements, if any.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Defendants further object to this Request to the
extent it seeks documents subject to attorney client privilege and/or work product
protection. Subject to these objections, responsive documents within Defendants’
custody, possession, or control will be produced.

REQUEST FOR PRODUCTION NO. 14: All Documents relating to Christine O’Brien nee
Gagne, including but not limited to, Documents supporting authorization for her to work in
the United States, her current address, her spouse (whether current or former), payments from
VBF to Christine Gagne (including but not limited to Documents in Nextep), and payments
from VBF to anyone other than Christine Gagne for services or work that Christine Gagne
carried out.


RESPONSES TO PLAINTIFF’S RFP                                                     Page 4
1414695v1 - V0265.00001 Response to 1st RFP
                                                                                           App. 005
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       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 15: All Documents relating to Opposing Flows
Aquaculture, Inc. (“OFA”), including but not limited to, all Documents relating to
Defendants’, Defendants’ Family, and Defendants’ Affiliated Entities, or any other individual
or entities’ equity or other interests in OFA or any other Sheriff Entities.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
unduly burdensome because it improperly seeks personal and confidential financial
information relating to them and their families, many of whom are not parties to this
case and some of whom have been released. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.

REQUEST FOR PRODUCTION NO. 16: All Documents relating to payments received by
any and all Defendants from any Sheriff Entities.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Subject to this objection, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 17: All Documents relating to Rick Sheriff,
including but not limited to, actual work that Rick Sheriff performed for VBF.

        RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants object to this Request as unduly
burdensome to the extent it seeks documents in Plaintiff’s exclusive possession that they
do not have possession of, control over, or access to. Subject to these objections,
responsive documents within Defendants’ custody, possession, or control will be
produced.


REQUEST FOR PRODUCTION NO. 18: All Documents relating to Chipmeds, Inc.
including but not limited to, all employee, equity or other interests owned by you in
Chipmeds, Inc and payments received by you from Chipmeds.




RESPONSES TO PLAINTIFF’S RFP                                                     Page 5
1414695v1 - V0265.00001 Response to 1st RFP
                                                                                           App. 006
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       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.

REQUEST FOR PRODUCTION NO. 19: All Documents relating to any and all travel by
plane (or otherwise) by Defendants’ and Defendants’ Family to the extent VBF funded any
portion of such travel.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
unduly burdensome because it improperly seeks personal and confidential financial
information relating to them and their families, many of whom are not parties to this
case and some of whom have been released. Defendants further object to this Request as
unduly burdensome to the extent it seeks documents in Plaintiff’s exclusive possession
that they do not have possession of, control over, or access to. Subject to these
objections, responsive documents within Defendants’ custody, possession, or control will
be produced.



REQUEST FOR PRODUCTION NO. 20: All Documents relating to living expenses,
including but not limited to, rent, mortgage, other housing, utilities, and/or food, paid in any
part by VBF.

        RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
improperly seeking personal and confidential financial information relating to them and
their families, many of whom are not parties to this case. Defendants further object to
this Request as unduly burdensome to the extent it seeks documents in Plaintiff’s
exclusive possession that they do not have possession of, control over, or access to.
Subject to these objections, responsive documents within Defendants’ custody,
possession, or control will be produced.



REQUEST FOR PRODUCTION NO. 21: All Documents relating to contractors and
professionals (including, but not limited to, architects) who performed any work or other
services regarding Wulf’s Lake House.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Subject to this objection, responsive
documents within Mr. Wulf’s custody, possession, or control will be produced.


RESPONSES TO PLAINTIFF’S RFP                                                       Page 6
1414695v1 - V0265.00001 Response to 1st RFP
                                                                                              App. 007
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REQUEST FOR PRODUCTION NO. 22: All Documents relating to any insurance
proceeds paid in relation to the Wulf Lake House by dates, amount of payment, reason for
payment, relevant policy and policy number, and identity of payor(s) and payee(s).

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Subject to this objection, responsive
documents within Mr. Wulf’s custody, possession, or control will be produced.

REQUEST FOR PRODUCTION NO. 23: All Documents relating to the person or people
who authorized Tracy Arbanas to perform services in relation to the Wulf Lake House,
documents related to Arbanas’ work at the Wulf Lake House, and documents related to
payments made to Arbanas relating to that work.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Subject to this objection, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 24: All Documents relating to BAJJER LLC or
BAJJER II, LLC, including but not limited to, the ownership and control of BAJJER LLC or
BAJJER II, LLC and any transfer of VBF shares to or from BAJJER LLC and/or BAJJER II,
LLC.

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Defendants also object to this Request as
unduly burdensome because it improperly seeks personal and confidential financial
information relating to them and their families, many of whom are not parties to this
case and some of whom have been released. Defendants object to this Request as unduly
burdensome to the extent it seeks documents in Plaintiff’s exclusive possession that they
do not have possession of, control over, or access to. Subject to these objections,
responsive documents within Defendants’ custody, possession, or control will be
produced.


REQUEST FOR PRODUCTION NO. 25: All Documents relating to VBF’s tractor-trailers.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced




RESPONSES TO PLAINTIFF’S RFP                                                  Page 7
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                                                                                        App. 008
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REQUEST FOR PRODUCTION NO. 26:                          All Documents relating to Defendants’
aquaculture experience, other than at VBF.

       RESPONSE: Defendants have conducted a reasonable search and are not in
possession, custody, or control of any responsive documents.


REQUEST FOR PRODUCTION NO. 27: All Documents relating to any and all software
used by VBF and why VBF never implemented software and/or hardware tools that allowed
for integration of its operations.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 28: For each of the following, (a) feed fish
conversion (“FCR”) ratio; (b) mortality rates; and (c) fish stocking density, produce all
Documents relating to the following:

          i.        All VBF documents, records and software where information on the topic was
                    maintained;
          ii.       The person(s) who inputted all information on the topic;
          iii.      The supporting documentation for all information;
          iv.       The industry standard and/or industry average for each (a), (b), and (c) on or
                    about January 1, 2015; June 30, 2015; January 1, 2016; June 30, 2016; January
                    1, 2017; June 30, 2017, and January 1, 2018; and
          v.        VBF’s metric for each (a), (b), and (c) on or about January 1, 2015; June 30,
                    2015; January 1, 2016; June 30, 2016; January 1, 2017; June 30, 2017, and
                    January 1, 2018.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.



REQUEST FOR PRODUCTION NO. 29: All Documents relating to the tank stocking
density of VBF fish tanks, including but not limited to, the actual tank stocking density that
VBF’s tanks could safely hold, Defendants’ representations relating to same, tests performed
by the Defendants on the VBF tanks relating to the VBF tank densities, steps taken to increase
the tank stocking density, and VBF’s stocking density goals at all times and whether those
goals were met and to whom those goals were communicated.



RESPONSES TO PLAINTIFF’S RFP                                                          Page 8
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                                                                                                App. 009
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       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 30: All Documents relating to the actual stocking of
each six tank pod for each month of 2015, 2016, and 2017.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 31: All Documents relating to any attempts by VBF
to approach a standing density goal of 1.0 pounds of fish per gallon of water and Documents
relating to whether VBF was successful.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 32: All Documents relating to VBF’s FCR and
Defendants’ representations relating to same.


       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 33: All Documents relating to the actual amount of
barramundi that a six-tank pod produced annually and Defendants’ representations relating to
same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.




RESPONSES TO PLAINTIFF’S RFP                                                    Page 9
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                                                                                          App. 010
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REQUEST FOR PRODUCTION NO. 34: All Documents relating to the loss of fish in (1)
May 2017; (2) June 2017; (3) July 2017; and (4) August 2017 at (a) Blairsburg; (b) Saint
Louis; (c) Urban Farm; and (d) Buckeye and explain the cause of such loss(es).

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 35: All Documents relating to action the Defendants
took relating to any loss of fish and/or steps Defendants took to minimize fish loss at VBF.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 36: All Documents relating to any other incidents of
mass fish loss and their causes.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 37: All Documents relating to VBF’s mortality rate,
including but not limited to, how the mortality rate was calculated, and Defendants’
representations relating to same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 38: All Documents relating to if and when VBF
implemented a Fry Quarantine facility.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.



RESPONSES TO PLAINTIFF’S RFP                                                    Page 10
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                                                                                          App. 011
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REQUEST FOR PRODUCTION NO. 39: All Documents relating to any and all steps that
VBF took relating to quality control.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 40: All Documents relating to why the Defendants
requested that smaller fry be delivered to VBF.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 41: All Documents relating to domain names,
patents, trademarks, and/or copyrights (including, but not limited to common law copyrights),
including successful and unsuccessful applications, held by VBF, or for which VBF applied
and any copyrights.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 42: All Documents relating to all transactions
through which any VBF funds were utilized to purchase any intellectual property rights.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 43: All Documents relating to all investors in VBF,
the amount of each investment, the date of each investment, and the specific use or uses of the
investment by VBF.


       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have



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possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 44: All Documents relating to all institutional and
non-institutional lenders in VBF and the amount of each loan, the date of each loan, and the
use or uses of the loan by VBF.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 45: All Documents relating to all amounts that
Defendants invested in VBF in debt or equity.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 46: All Documents relating to the identity of any of
VBF Chief Technology Officers and their dates of employment.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 47: All Documents relating to all individuals that
have or had an ownership interest in Opposing Flows Aquaculture, Inc..

       RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Subject to this objection, responsive
documents within Defendants’ custody, possession, or control will be produced.



REQUEST FOR PRODUCTION NO. 48: All Documents relating to the July 2, 2015 due
diligence assessment consultation report titled “Technical Assessment of Barramundi
Production at VeroBlue Farms with Focus on Iowa’s First,” including but not limited to, all



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documents that VBF provided to Fisheries Technology Associates, Inc. and all
communications with Fisheries Technology Associates, Inc.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 49: All Documents relating to VBF equipment,
including but not limited to, any system performance issues, water quality issues, and/or the
cleanliness of VBF’s filtration systems.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 50: All Documents relating to any attempts made by
Defendants to work on a processing machine that would filter dead fish and fish waste, grind
it, and compost it.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 51: All Documents relating to VBF’s annual
production during your tenure at VBF by weight and by number of fish harvested and
Defendants’ representations relating to same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 52: All Documents relating to VBF’s actual value
during Defendants’ tenure at VBF and Defendants’ representations relating to same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


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REQUEST FOR PRODUCTION NO. 53: All Documents supporting information provided
in the “Executive Summary” and “Marketing Deck, attached as Exhibit 1.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 54: All Documents relating to Generation
Investment Management’s involvement in VBF, including but not limited to, any “stress
testing” performed.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 55: All Documents relating to the price at which
VBF was able to purchase fingerlings and Defendants’ representations relating to same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 56: All Documents relating to the weight of the fish
at harvest from VBF and Defendants’ representations relating to same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 57: All Documents relating to the growth rates of
the fish at VBF and Defendants’ representations relating to same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


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REQUEST FOR PRODUCTION NO. 58: All Documents relating to the November 1,
2014 PowerPoint attached as Exhibit 2.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 59: All Documents relating to any and all
aquaculture industry experts, fish biologists, and independent aquaculture specialists and/or
consultants who performed any services for VBF.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 60:                   All Documents relating to how VBF was
vertically integrated.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 61: All Documents relating to VBF’s purging
practice before Norman McCowan started at VBF.

       RESPONSE: Defendants object to this Request to the extent it seeks documents
in Plaintiff’s exclusive possession that they do not have possession or control over or
access to. Subject to these objections, responsive documents within Defendants’ custody,
possession, or control will be produced



REQUEST FOR PRODUCTION NO. 62: All Documents relating to the growth cycle for
VBF’s market ready fish and Defendants’ representations relating to same.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have



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possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 63: All Documents relating to any attempts made by
VBF to produce its own fish feed.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 64: All Documents relating to VBF’s partnership
with Iowa State University.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 65: All Documents relating to a November 2014-
April 2015 Opposing Flows Tank System Performance Data PowerPoint, attached as Exhibit
3.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 66: All Documents relating to all management
experience of each Defendant, including but not limited to each Defendant’s prior experience
overseeing another aquaculture business.

        RESPONSE: Defendants object to this Request because it seeks documents that
are not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.

REQUEST FOR PRODUCTION NO. 67: All Documents relating to each Defendants’
experience selling Barramundi before doing so at VBF.

      RESPONSE: Defendants have conducted a search and are not in possession,
custody or control of any responsive documents.


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REQUEST FOR PRODUCTION NO. 68: All Documents relating to each Defendant’s
connections and contacts in aquaculture.

      RESPONSE: Defendants have conducted a search and are not in possession,
custody or control of any responsive documents.


REQUEST FOR PRODUCTION NO. 69: All Documents relating to when VBF employed
or contracted with Haroon Chaudhri.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 70: All Documents relating to the actual fish
shortage and market for Barramundi in North America as of October 1, 2015.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 71: All Documents relating to all operating costs of
VBF for each month of 2015, 2016, and 2017, including but not limited to labor costs and
utility expenses.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 72: All Documents relating to any volume feed
discount.

       RESPONSE: Defendants object to this Request as vague and overbroad because
it does not identify who is giving or receiving a “volume feed discount” and it is not
limited in time in any way. Defendants further object to this Request as unduly
burdensome to the extent it seeks documents in Plaintiff’s exclusive possession that they
do not have possession of, control over, or access to. Subject to these objections,
responsive documents within Defendants’ custody, possession, or control will be
produced.



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REQUEST FOR PRODUCTION NO. 73: All Documents relating to all tank sales.

        RESPONSE: Defendants object to this Request as vague and overbroad because
it does not identify who is selling or buying tanks and it is not limited in time in any way.
Defendants object to this Request as unduly burdensome to the extent it seeks
documents in Plaintiff’s exclusive possession that they do not have possession of, control
over, or access to. Subject to these objections, responsive documents within Defendants’
custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 74 All Documents relating to all actual sales of
Barramundi by customer, amount of Barramundi sold, and the date of each sale.

        RESPONSE: Defendants object to this Request as vague and overbroad because
it does not identify who is selling or buying Barramundi and it is not limited in time in
any way. Defendants object to this Request as unduly burdensome to the extent it seeks
documents in Plaintiff’s exclusive possession that they do not have possession of control
over, or access to. Subject to these objections, responsive documents within Defendants’
custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 75: All Documents relating to VBF’s processing
cost per pound of processed fish for each month of 2015, 2016, and 2017.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 76: All Documents relating to VBF’s contemplated
Grower Model, including but not limited to, business plans and projections relating to the
Grower Model.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 77:                  All Documents relating to any other VBF
business plans and projections.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have



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possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 78: All Documents relating to all professionals,
including, but not limited to, attorneys, accountants, insurance brokers, website developers,
website hosts, media consultants, stock brokers, financial planners, and/or consultants, who
have performed any services for VBF.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 79: All Documents relating to Jackson Walker
LLP’s representation of VBF, including but not limited to, all correspondence with Jackson
Walker LLP.

       RESPONSE: Defendants object to this Request as unduly burdensome to the
extent it seeks documents in Plaintiff’s exclusive possession that they do not have
possession of, control over, or access to. Subject to these objections, responsive
documents within Defendants’ custody, possession, or control will be produced.


REQUEST FOR PRODUCTION NO. 80: All Documents relating to one or more of the
Defendants’ retention of Jackson Walker LLP to represent any Defendant individually or any
other Defendants’ Affiliated Entities.

       RESPONSE: Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection, and/or
common interest privilege. Defendants also object to this Request because it seeks
documents that are not relevant or reasonably calculated to lead to the discovery of
evidence relevant to the claims or defenses raised in this matter.


REQUEST FOR PRODUCTION NO. 81: All Documents relating to the Nelson Family
(Grace Nelson, Mark Nelson, Jeff Nelson, Korrine Nelson, and/or Jerita Nelson) or Randy
Chalfant, on the one hand, and Defendants and/or Defendants’ counsel on the other hand.

       RESPONSE: Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection, and/or
common interest privilege. Defendants also object to this Request because it seeks
documents that are not relevant or reasonably calculated to lead to the discovery of
evidence relevant to the claims or defenses raised in this matter.



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REQUEST FOR PRODUCTION NO. 82: All Documents relating to Defendants or
Defendants’ counsel on the one hand, and Kenneth Lockard, Beecher, Field, Walker, Morris,
Hoffman & Johnson, P.C., FishDish LLC or its counsel, Goldstein & McClintock LLP, or
Horwood Marcus & Berk Chartered, on the other hand.

       RESPONSE: Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection, and/or
common interest privilege. Defendants also object to this Request because it seeks
documents that are not relevant or reasonably calculated to lead to the discovery of
evidence relevant to the claims or defenses raised in this matter.


REQUEST FOR PRODUCTION NO. 83: All Documents relating to all Defendants’
private investigations, surveillance, or other formal or informal observations of VBF including
but not limited to recordings, photographs, or any other information since the Defendants’
terminations through present.

      RESPONSE: Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection and/or
common interest privilege. Subject to this objection, responsive documents within
Defendants’ custody, possession or control will be produced.


REQUEST FOR PRODUCTION NO. 84: All Documents relating to any businesses
unrelated to VBF that you worked on while you were an employee and/or consultant to VBF,
including information stored on any calendar and/or planner, whether electronic or otherwise.

       RESPONSE: Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection, and/or
common interest privilege. Defendants also object to this Request because it seeks
documents that are not relevant or reasonably calculated to lead to the discovery of
evidence relevant to the claims or defenses raised in this matter. Subject to these
objections, responsive documents within Defendants’ custody, possession or control will
be produced.


REQUEST FOR PRODUCTION NO. 85: Any photographs that any Defendant has
relating to any Defendants’ calendars and/or planner.

       RESPONSE: Defendants also object to this Request because it seeks documents
that are not relevant or reasonably calculated to lead to the discovery of evidence
relevant to the claims or defenses raised in this matter. Subject to this objection,
Defendants have conducted a search and are not in possession, custody or control of any
responsive documents.



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REQUEST FOR PRODUCTION NO. 86: Any and all communications relating to any
sexual harassment allegations.

      RESPONSE: Defendants object to this Request to the extent it seeks
communications subject to attorney-client privilege, work product protection, and/or
common interest privilege. Subject to this objection, responsive documents within
Defendants’ possession, custody or control will be produced.


REQUEST FOR PRODUCTION NO. 87: All Documents relating to any companies that
Defendants owned and/or controlled hat shut down or ended because of financial problems,
including but not limited to, running out of money.

       RESPONSE: Defendants also object to this Request because it seeks documents
that are not relevant or reasonably calculated to lead to the discovery of evidence
relevant to the claims or defenses raised in this matter. Defendants further object to this
Request as vague and overbroad because the terms “shut down or ended because of
financial problems” is undefined and subject to multiple interpretations. Subject to
these objections and limiting this request to companies that have filed for or been the
subject of bankruptcy protection, Defendants have conducted a search and are not in
possession, custody, or control of any responsive documents.


                                              Respectfully submitted,

                                              Underwood Perkins, P.C.


                                              By: /s/Kimberly D. Annello
                                              Kimberly D. Annello
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                                              Attorney for Defendants




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                                         CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing instrument was

served upon all counsel of record, as listed below, via e-serve and/or email, on this 3rd day of

April 2019.

Robert H. Lang
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                                                       /s/ Kimberly D. Annello
                                                       Kimberly D. Annello




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                          EXHIBIT B




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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION


VEROBLUE FARMS USA, INC.,        )
                                 )                 Plaintiff,
                                 )
v.                               )                                        Case No. 3:19-CV-00764-L
                                 )
LESLIE A. WULF, BRUCE A. HALL, )
JAMES REA, JOHN E. REA, AND )
KEITH DRIVER,                    )
                     Defendants. )

               DEFENDANT BRUCE A. HALL’S RESPONSES TO PLAINTIFF’S
                     FIRST REQUEST FOR ADMISSION OF FACT

          Defendant, BRUCE A. HALL (“Defendant” or “Hall”), hereby responds to Plaintiff’s

First Request for Admission of Fact as follows:


                                RESPONSES TO REQUEST FOR ADMISSION


REQUEST NO. 1: Admit that one or more Defendants have an ownership interest and/or
control of BAJJER LLC.

          ANSWER:              Admit.


REQUEST NO. 2: Admit that one or more Defendants caused VBF to transfer 1,250,000 shares
of VeroBlue Farms, Inc. to BAJJER LLC for $1.25.

       ANSWER: Denied. Answering further, Defendant states Bajjer, LLC holds
1,250,000 shares of VBF in trust for Kelson Capital Inc. pursuant to a written agreement
between them, and that this fact was discussed in an independent due diligence report done
by Pricewaterhouse Coopers for Jens Haarkoetter of Alder Aqua on or about June 20,
2016.

REQUEST NO. 3: Admit that one or more Defendants have an ownership interest and/or assert
control in BAJJER II, LLC.

          ANSWER: Admit.



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REQUEST NO. 4: Admit that American Growth Funding, LLC (“AGF”) loaned approximately
$78,000 to BAJJER II, LLC which grew to $101,000 with interest.

          ANSWER:              Admit.

REQUEST NO. 5: Admit that AGF loaned BAJJER approximately $200,000.

        ANSWER: Defendant admits that AGF loaned Bajjer $200,000 in or about June 30,
2015, but states that the purpose of this loan was to pass through funds for operational
costs of VBF. Defendant denies the remaining allegations of this request.


REQUEST NO. 6: Admit that BAJJER transferred AGF’s loan of approximately $200,000 to
VBF.

        ANSWER: Defendant admits the $200,000 that AGF loaned Bajjer was transferred
to VBF on July 1, 2015 because VBF needed the funds for operations, but AGF would only
loan the funds to Bajjer and not directly to VBF. Defendant denies the remaining
allegations of this Request.


REQUEST NO. 7: Admit that on or about July 8, 2016, VBF paid AGF approximately
$375,000.

      ANSWER: Defendant admits that VBF paid AGF approximately $375,000 in July
2016, pursuant to an agreement among Alder Aqua and Alder Aqua’s counsel, Davis
Graham & Stubbs (“DGS”), and AGF to repay the loan from AGF to Bajjer directly from
VBF to AGF. This repayment and the payment of 26 other bridge loans was disclosed and
approved by Alder Aqua and DGS in a sources and uses of funds statement provided to
them on July 8, 2016. Defendant denies the remaining allegations of this Request.


REQUEST NO. 8: Admit that between December 1, 2015 and June 30, 2016, Gregg Sedun
and/or Alcaron Capital Corporation loaned VBF approximately $250,000.

      ANSWER: Defendant admits that Alcaron Capital Corporation loaned VFB
approximately $250,000. Defendant denies remaining allegations of this request.

REQUEST NO. 9: Admit that on or about July 12, 2016, one or more Defendants cause VBF to
pay Alcaron Capital Corporation approximately $326,056 in repayment for the loans described
in Request No. 8.

       ANSWER: Defendant admits that VBF paid Alcaron $326,056 in accordance with
the sources and uses of funds statement provided to Alder Aqua and DGS on or about July
8, 2016. Defendant denies the remaining allegations of this Request.




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REQUEST NO. 10: Admit that on or about July 14, 2016, Gregg Sedun loaned Wulf $225,000.

          ANSWER:              Admit.


REQUEST NO. 11: Admit that one or more Defendants received twice their monthly
compensation from VBF in July 2016.

        ANSWER: Denied.      Defendant was compensated by VBF pursuant to a
management consulting agreement until Alder Aqua’s investment in July 2016. The
consulting agreement paid Defendant in arrears. Upon Alder Aqua’s investment,
Defendant became an employee of VBF. Thus, upon closing of Alder Aqua’s investment,
Defendant was paid for his final month of consulting services (June 2016). This was
disclosed to and approved by Alder Aqua and DGS. Defendant denies the remaining
allegations of this Request.

REQUEST NO. 12: Admit that one or more Defendants directed or caused VBF to employ
Christine Gagne during your tenure to VBF.

      ANSWER: Denied. Answering further, Defendant states Christine Gagne was an
independent contractor, not an employee of VBF.


REQUEST NO. 13: Admit that one or more Defendants directed or caused VBF to pay
Christine Gagne under the name “Ronnie O’Brien” during your tenure at VBF.

       ANSWER: Admitted that Christine Gagne was paid as an independent
contractor, under the name “Ronnie O’Brien.” Defendant denies remaining allegations of
this Request.


REQUEST NO. 14: Admit that, during at least some of the time she was on VBF’s payroll,
Christine Gagne was a Canadian national who was not authorized to work in the United States.

      ANSWER:                   Denied. Christine Gagne was an independent contractor, and not on
VBF’s payroll.


REQUEST NO. 15: Admit that one or more Defendants caused VBF to buy six tractor-trailers.

       ANSWER: Denied. The purchase of six tractor trailers was presented to, approved
by, and directed by VBF’s Board of Directors in two separate board resolutions.


REQUEST NO. 16: Admit that VBF’s selling of live fish did not require the transportation of
fish in all of the tractor-trailers.



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        ANSWER: Defendant objects to this Request as vague, nonsensical and not
calling for the admission of a fact, but a statement of opinion or judgment. Subject to that
objection, denied.


REQUEST NO. 17: Admit that VBF could not sell fish as quickly as one or more Defendants
represented to Cardinal Farms that VBF could sell fish.

       ANSWER: Defendants object to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendants cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 18: Admit that one or more of the Defendants knew by July 2016 that the
Grower Model would not be implemented and/or would not be successful if implemented.

      ANSWER:        Denied. Defendants planned to pursue a Grower Model until Alder
Aqua representatives directed otherwise.


REQUEST NO. 19: Admit that at least one of the Defendants requested or directed that one or
more employees of VBF remove the mortality tally sheets from one or more tanks during your
tenure at VBF.

          ANSWER:               Denied.


REQUEST NO. 20: Admit that at least one of the Defendants misrepresented information
relating to VBF’s FCR to potential VBF investors and/or lenders.

          ANSWER:              Denied.


REQUEST NO. 21: Admit that at least one of the Defendants sought to keep visitors from
seeing VBF’s grow tanks on at least one occasion.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period and thus, Defendant cannot know what facts
are being admitted or denied. Subject to that objection, Defendant states that Jens
Haarkoetter, a VBF Director and representative of both Amstar Funds and Alder Aqua,
and Dr. Otto Happel, beneficial owner of both Amstar and Alder Aqua, instructed all VBF
personnel, including Defendant, to limit visitation to the farms and to prohibit photographs
in order to prevent competitors from seeing and knowing VBF’s patented tank system,
growing practices and other features. Additionally, Defendant admits that when fish are
being stocked into tanks for the first time, it is common industry practice to limit visitation
for bio-security purposes. Defendant denies the remainder of this Request.

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REQUEST NO. 22: Admit that at least one of the Defendant’s represented an FCR of 1:1
during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 23: Admit that VBF’s FCR was never 1:1 during a grow-out phase for any lot
or batch of fish during your tenure at VBF.

          ANSWER:              Denied.


REQUEST NO. 24: Admit that at least one of the Defendants represented an FCR at or near
1.038:1 during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 25: Admit that VBF’s FCR was never at or near 1.038:1 during a grow-out
phase for any lot or batch of fish during your tenure at VBF.

          ANSWER:              Denied.


REQUEST NO. 26: Admit that at least one of the Defendants represented an FCR of at or near
1.04 during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 27: Admit that VBF’s FCR was never at or near 1.04 during a grow-out phase
for any lot or batch during your tenure at VBF.

          ANSWER:              Denied.




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REQUEST NO. 28: Admit that at least one of the Defendants concealed information from non-
Defendant VBF directors relating to the mortality rates on at least one occasion during your
tenure at VBF.

       ANSWER: Denied. Answering further, Defendant did not provide data on
mortality rates to VBF directors; Katie Olson, VBF employee, prepared a report that was
circulated to the Board of Directors and to Amstar, and Defendant understood that Amstar
prepared its own version of the report to Alder Aqua on a monthly basis.


REQUEST NO. 29: Admit that VBF’s actual mortality rate was higher than at least one of the
Defendants represented during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 30: Admit that Ted Rea knew of that thousands of fish had recently died at the
Saint Louis farm at the time of VBF’s Board of Directors meeting in September 2017.

       ANSWER: Defendant admits Ted Rea knew that certain fish had died at VBF’s
Saint Louis farm before September 2017 and admits that Mr. Rea discussed this fact with
the directors during or within a few days of the September 2017 Board of Directors
meeting. Defendant denies the remaining allegations of this request.


REQUEST NO. 31: Admit that the Defendants failed to implement a Fry Quarantine facility
even after an extreme death loss event.

      ANSWER: Denied. At the time of Defendant’s termination from VBF, a portion of
VBF’s Blairsburg farm was being repurposed for a Fry Quarantine system.

REQUEST NO. 32: Admit that Defendants did not report the extent of all mortality events to
the VBF Board of Directors during your tenure at VBF.

      ANSWER: Denied. Monthly reports were provided to the VBF Board of Directors
during Defendant’s tenure as an officer.


REQUEST NO. 33: Admit that at least one of the Defendants, on at least one occasion,
misrepresented death loss bio masses in the Monthly Management Reports issued to the Board of
Directors.

          ANSWER: Denied.


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REQUEST NO. 34: Admit that in the fish industry mortality rates are reported cumulatively by
adding together the number of fish per batch that die per month.


          ANSWER: Denied. The industry uses a bio-mass metric for reporting mortality
rates.


REQUEST NO. 35: Admit that at least one of the Defendants reported mortality rates non-
cumulatively to the VBF Board of Directors during your tenure at VBF.

          ANSWER: Denied.


REQUEST NO. 36: Admit that at least one of the Defendants concealed information relating to
the fish stocking density during your tenure VBF.


          ANSWER: Denied.

REQUEST NO. 37: Admit that at least one of the Defendants misrepresented information
relating to the fish stocking density to non-Defendant VBF Directors on at least one occasion
during your tenure at VBF.

          ANSWER: Denied.


REQUEST NO. 38: Admit that at least one of the Defendants represented that the VBF tanks
could safely hold .75 pounds/gallon during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Defendant admits in 2016 and 2017,
Defendants presented to VBF’s Board their belief that upon improved water quality and
dissolved O2 levels, they expected VBF tanks could hold .75 pounds of fish per gallon of
water. Defendants were conducting trials of this hypothesis at the Buckeye facility and
provided updates as to their progress in testing this hypothesis at subsequent Board of
Director meetings. Defendant denies the remaining allegations of this Request.


REQUEST NO. 39: Admit that at least one of the Defendants represented a VBF fish-stocking
plan at 15,000 fingerlings per tank on at least one occasion to third parties during your tenure at
VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,

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Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved
water quality and dissolved O2 levels, they expected VBF tanks could hold 15,000
fingerlings per tank. Defendants provided updates as to their progress in testing this
hypothesis at subsequent Board of Director meetings. Defendant denies the remaining
allegations of this Request.


REQUEST NO. 40: Admit that at least one of the Defendants represented to third parties on at
least one occasion that VBF stocked 16,000 fish per six tank pod during your tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved
water quality and dissolved O2 levels and stocking tanks with larger fry, they expected VBF
tanks could hold 16,000 fish per six tank pods. Defendants provided updates as to their
progress in testing this hypothesis at subsequent Board of Director meetings. Defendant
denies the remaining allegations of this Request.


REQUEST NO. 41: Admit that at least one of the Defendants provided to Alder a document
noting a stocking rate of 16,000 fingerlings per pod every two months with a 1:1 pound of fish
per gallon of water stocking density during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation and when and thus, Defendant
cannot know what facts are being admitted or denied. Subject to that objection and
without further clarification, Defendant admits in 2016 and 2017, Defendants presented to
the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved water
quality and dissolved O2 levels and stocking tanks with larger fry, they expected VBF tanks
could hold 16,000 fingerlings per pod. Defendants provided updates as to their progress in
testing this hypothesis at subsequent Board of Director meetings. Defendant denies the
remaining allegations of this Request.


REQUEST NO. 42: Admit that Driver informed a potential investor in early 2016 that VBF
could stock 16,000 fingerlings per tank.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify when this representation was made or to whom, and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


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REQUEST NO. 43: Admit that at least one of the Defendants represented that VBF successfully
stocked 16,000 fish/tank for an additional $11 million in EBITDA during your tenure at VBF.


      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 44: Admit that, at most, during your tenure at VBF, no more than four of 17
six-tank pods were stocked with 16,000 or more fish.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 45: Admit that VBF never met its stocking density goals during your tenure at
VBF.


          ANSWER: Denied.

REQUEST NO. 46: Admit that the mortality rate on the four batches of six tank pods that were
stocked with 16,000 or more fish was in reality 19% or higher during your tenure at VBF.


        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.

REQUEST NO. 47: Admit that at least one of the Defendants during your tenure at VBF
represented that VBF’s tanks could safely hold more barramundi than such tanks could hold in
reality.


      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 48: Admit that Sheriff represented to at least one of the Defendants that his
opposing flow system could safely handle 7,500 pounds per tank.


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       ANSWER:        Admit. Answering further, Defendant states that Mr. Sheriff
represented to VBF in 2015 and 2016 that his opposing flow system could handle 10,000
pounds of fish per tank.


REQUEST NO. 49: Admit that during your tenure at VBF, at least one of the Defendants
represented that each six-tank pod will produce approximately 120,000 pounds annually.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel their belief that upon improved water quality
and dissolved O2 levels and with stocking larger fry, they hoped each six-pod tank could
produce 120,000 pounds of fish annually. Defendants provided updates as to their progress
in testing this hypothesis at subsequent Board of Director meetings. Defendant denies the
remaining allegations of this Request

REQUEST NO. 50: Admit that VBF’s projected EBITDA was based on its represented tank
density and/or fish-stocking plan during your tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period for “projected EBITDA”, thus, Defendant
cannot know what facts are being admitted or denied. Subject to that objection and
without further clarification, Defendant admits VBF’s projections at the time of Alder
Aqua’s investment were based on Defendants’ belief that upon improved water quality and
dissolved O2 levels would increase tank density, stocking density and overall fish
production. Defendant denies the remaining allegations of this Request.


REQUEST NO. 51: Admit that at least one of the Defendants represented that VBF had
successfully stocked 1:1 pound of fish per gallon during your tenure at VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits that VBF represented that it had a test
tank that had successfully stocked 1:1 pound of fish per gallon. Defendant denies the
remaining allegations of this Request.

REQUEST NO. 52: Admit that the VBF tanks did not actually have a stocking rate of 1:1 pound
of fish per gallon during your tenure at VBF.



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       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period for “stocking rate”, thus, Defendant cannot
know what facts are being admitted or denied. Subject to that objection and without
further clarification, denied.


REQUEST NO. 53: Admit that Defendants represented to investors or potential investors that
opposing flows technology was previously successful and/or that it would very likely be
successful when implemented at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits, based on information provided to him
and other Defendants by Rick Sheriff and Mark Nelson, he believed the opposing flows
technology had been and would be successful when implemented, although there were risks
associated with implementing that technology in a larger tank system. Defendant denies
the remaining allegation of this Request.

REQUEST NO. 54: Admit that opposing flows technology was not successful at VBF during
your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“successful” is undefined and does not constitute a statement of fact, but a statement of
opinion or judgment. Subject to that objection, denied.


REQUEST NO. 55: Admit that VBF lost millions of dollars in value during your tenure at VBF.


       ANSWER: Defendants object to this Request as vague to the extent that the term
“value” is undefined and does not constitute a statement of fact, but a statement of opinion
or judgment. Subject to that objection, denied.


REQUEST NO. 56: Admit that you were paid over a $1,000,000 by VBF during your tenure at
VBF.

       ANSWER: Defendant objects this Request as vague to the extent that payments are
not sufficiently identified. Subject to that objection, with respect to Defendant’s tenure as a
VBF employee pursuant to his Employment Agreement, denied.

REQUEST NO. 57: Admit that VBF was losing money before Alder invested in VBF.


          ANSWER: Admit.


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REQUEST NO. 58: Admit that VBF spent $2 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 59: Admit that VBF spent approximately $1.5 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 60: Admit that VBF spent approximately $1 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 61: Admit that VBF spent approximately $2 million per month in 2016.


       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 62: Admit that VBF spent approximately $1.5 million per month in 2016.


       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 63: Admit that VBF spent approximately $1 million per month in 2016.


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       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 64: Admit that VBF spent approximately $2 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 65: Admit that VBF spent approximately $1.5 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 66: Admit that VBF spent approximately $1 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 67: Admit that at least one of the Defendants represented that Rick Sheriff was
VBF’s Chief Technology Officer during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits that Rick Sherriff signed a contract
with VBF in July 2016, to act as its Chief Technology Officer, which contract was approved
by the Board of Directors and specifically by Alder Aqua.

REQUEST NO. 68: Admit that no copyrights were issued to VBF during your tenure at VBF.




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       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 69: Admit that at least one of the Defendants had some ownership interest in
Opposing Flows Aquaculture.

       ANSWER: Defendant objects to this Request to the extent it does not define any
time period. Subject to that objection and without further clarification, Defendant admits
that Ted Rea, as registered agent, registered Opposing Flows Aquaculture, Inc. in late
2014, which would license the OFA technology to other growers but Defendant denies that
any shares in OFA or other ownership interest was granted to anyone. Once Alder Aqua
invested in VBF, it purchased the patents for the opposing flow technology and there was
no use for the OFA entity and it was closed. Defendant denies the remaining allegations of
this Request.

REQUEST NO. 70: Admit that there were complaints about the smell of VBF’s fish before
Norman McCowan started at VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who raised this complaint, to whom, where, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 71: Admit that VBF never implemented software and hardware tools that
allowed for integration of its operations.

       ANSWER: Defendant objects this Request as vague to the extent that the terms
“software and hardware tools” and “integration of operations” are not sufficiently defined.
Subject to that objection and without further clarification, denied. Answering further,
Defendant states VBF was utilizing Aqua Manager and NetSuite to manage and integrate
operations.


REQUEST NO. 72: Admit that VBF never had an operational research & development center.

          ANSWER: Admit.


REQUEST NO. 73: Admit that VBF never produced its own fish feed during your tenure at
VBF.

          ANSWER: Admit.




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REQUEST NO. 74: Admit that VBF never partnered with Iowa State University during your
tenure at VBF.

        ANSWER: Defendant objects this Request as vague to the extent that the term
“partnered with” is not sufficiently defined. Subject to that objection and without further
clarification, admitted. Answering further, Defendant states that VBF had engaged a
group of advisors, including staff from Iowa State University to assess collaborative
research opportunities but after Alder Aqua’s investment, Dr. Happel specifically
instructed Defendants not to share information or otherwise collaborate with any
universities.


REQUEST NO. 75: Admit that at least one of the Defendants projected VBF’s annual
production from the Urban Farm to be at least 8,000,000 pounds/year.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this projection, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2017, based on Defendants’ belief
that using larger fry and improving water quality and dissolved O2 levels and with the
addition of barns 6 and 7, VBF’s annual production from the Urban Farm was projected to
be 8,000,000 pounds per year. Defendants provided updates as to this projection at
subsequent Board of Director meetings. Defendant denies the remaining allegations of this
Request.


REQUEST NO. 76: Admit that VBF’s total production from January through October 2015 was
less than 200,000 pounds.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.



REQUEST NO. 77: Admit that there was never a market demand for 15 million pounds of
Barramundi in the United States.


        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.




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REQUEST NO. 78: Admit that VBF never produced 4.8 million pounds of fish in any given
year during your tenure at VBF.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 79: Admit that Defendants represented in October 2015 that VBF was valued at
$32.5 million.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“value” is undefined and does not constitute a statement of fact, but a statement of opinion
or judgment. Defendant further objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Defendant admits in investment marketing
materials provided to prospective investors, Defendants projected VBF’s value at $32.5
million.


REQUEST NO. 80: Admit that at least one of the Defendants provided data for the following
documents exhibited to VBF’s First Set of Interrogatories to Defendant Keith Driver (answer
each sub-part separately):

          a. “Executive Summary” and “Marketing Deck” attached as Exhibit 1.
          b. November 1, 2014 PowerPoint attached as Exhibit 2.
          c. the November 2014-April 2015 Opposing Flows Tank System Performance Data
             PowerPoint, attached as Exhibit 3.

          ANSWER: Admitted as to parts a, b and c.


REQUEST NO. 81: Admit that there were no designated growers for the alleged VBF Grower
Model as of December 31, 2016.


          ANSWER: Denied.


REQUEST NO. 82: Admit that VBF purchased U.S. Patent 6,065,430 and U.S. Patent
Application 14/289,623 for $2.75 million.

       ANSWER: Defendant objects to this Request as it does not identify any time
period. Subject to this objection, Defendant admits and after completing its due diligence
on VBF, Alder Aqua decided to purchase the patents as part of its investment. as part of


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Alder Aqua’s investment. Amstar Funds thus provided a bridge loan for VBF to purchase
US Patent 6,065,430 and U.S. Patent Application 14/289,623 from Rick Sheriff for $2.75
million. Defendant denies the remaining allegations of this Request.

REQUEST NO. 83: Admit that U.S. Patent 6,065,430 expired on October 10, 2017.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 84: Admit that one or more Defendants provided information to one or more
people from Fisheries Technology Associates to complete that organization’s “Technical
Assessment of Barramundi Production at VeroBlue Farms with a Focus on Iowa’s First: A Due
Diligence Assessment Consultation Report” dated July 2, 2015.

        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Keith Driver provided information to Bill
Manci at Fisheries Technology Associates to complete the identified Assessment in 2015 as
part of the due diligence conducted by Generation Investment Management in preparation
for its debt commitment to VBF.


REQUEST NO. 85: Admit that you have communicated with counsel (“Bankruptcy Counsel”)
in VBF’s pending bankruptcy case, Case No. 18-01297 In re: VeroBlue Farms USA, Inc., et al.
pending in the Northern District of Iowa (“Bankruptcy”).

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in this Request,
Defendant cannot admit to the truth or falsity of this Request, and this request may seek
disclosure of communications that are subject to attorney-client privilege and/or common
interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.

REQUEST NO. 86: Admit that you or one of your representatives has discussed dismissal of
this lawsuit with Bankruptcy Counsel.

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in this Request,
Defendant cannot admit to the truth or falsity of this Request and this request may seek
disclosure of communications that are subject to attorney-client privilege and/or common



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interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.

REQUEST NO. 87: Admit that one or more Defendants directly or through counsel requested
that the unsecured creditors committee demand that VBF dismiss this lawsuit against the
Defendants.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 88: Admit that you have provided information about Alder to Bankruptcy
Counsel.

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in these
Request, Defendant cannot admit to the truth or falsity of this Request, and this request
may seek communications that are subject to attorney-client privilege and/or common
interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.


REQUEST NO. 89: Admit that one or more Defendants, directly or through counsel, have
communicated with (a) Phillip Sheets; (b) Thomas Fawkes and/or Goldstein & McClintock LLP;
(c) Aaron Hammer and/or Horwood Marcus & Berk; or (d) any member of the Ad Hoc
Committee relating to the Bankruptcy.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 90: Admit that one or more Defendants directly or through counsel reviewed
and/or contributed to the December 19, 2018 letter signed by Thomas Fawkes relating to the
Bankruptcy, attached as Exhibit 4.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 91: Admit that Wulf signed a Warrant to Purchase Series A Preferred Shares of
VeroBlue Farms USA, Inc. dated July 7, 2016 between VeroBlue Farms USA, Inc. and Alder.



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          ANSWER: Admit.


REQUEST NO. 92: Admit that James Rea signed a Secretary’s Certificate dated July 7, 2016
between VeroBlue Farms, Inc. and Alder.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry without access to VBF’s books and records, he lacks sufficient
knowledge or information to form a belief as to the truth or falsity of this Request, and it is
therefore, denied.


REQUEST NO. 93: Admit that the proposal to restructure VBF’s Canadian affiliate was not
executed.

        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what proposal it is referring to, who made the proposal, to
whom, and when it was proposed and thus, Defendant cannot know what facts are being
admitted or denied. Subject to these objections and without further clarification,
Defendant lacks sufficient knowledge or information to form a belief as to the truth or
falsity of this request and it is therefore, denied.


REQUEST NO. 94: Admit that one or more Defendants approved Amstar Group, LLC
(“Amstar”) and Alder’s debt and equity infusions instead of a capital infusion from Generation
Investment Management.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not specify any time period for the described debt and equity infusions and
thus, Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, denied. Answering further, Defendant states
that when Alder Aqua offered its equity infusion into VBF in July 2016, Alder Aqua
mandated that Amstar’s debt financing be part of this infusion and Alder Aqua refused to
allow Generation Investment Management to issue debt or invest equity VBF.


REQUEST NO. 95: Admit that Alder was not involved in VBF until July 2016.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “involved in VBF” is undefined and thus, Defendant cannot know what
facts are being admitted or denied. Subject to these objections and without further
clarification, denied. Alder Aqua was engaged in due diligence surrounding its investment
in VBF prior to July 2016.




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REQUEST NO. 96: Admit that between July 2016 and August 2017, only two of seven
directors were appointed by Alder.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify which entity’s directors were appointed by Alder. Subject to
this objection, Defendant states between July 2016 and August 2017, two of VBF’s
directors were appointed by Alder, but that Alder also controlled the board of Amstar,
VBF’s sole lender. Defendant denies the remaining allegations of this Request.


REQUEST NO. 97: Admit that between August 2017 and October 24, 2017, only two of seven
directors were appointed by Alder.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify which entity’s directors were appointed by Alder. Subject to
this objection, Defendant states that between August 2017 and October 24, 2017, two of
VBF’s directors were appointed by Alder, but that Alder also controlled the board of
Amstar, VBF’s sole lender. Defendant denies the remaining allegations of this Request.


REQUEST NO. 98: Admit that Terry Lyons resigned from the Board of Directors in or before
March 2018 and was never replaced.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 99: Admit that Alder invested at least $50 million in VBF during your tenure at
VBF.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 100: Admit that no VBF investor has lost more money than Alder during your
tenure at VBF.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “lost more money” is undefined and thus, Defendant cannot know what
facts are being admitted or denied. Subject to these objections and without further
clarification, denied. Defendant has no knowledge or information as to what Alder Aqua’s
actual gains or losses on its investment in VBF may be.


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REQUEST NO. 101: Admit that by July 7, 2016, one or more Defendants knew that VBF
would pursue the corporate farm model over the Grower Model.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “corporate farm model” is undefined and thus, Defendant cannot know
what facts are being admitted or denied. Subject to these objections and without further
clarification, denied.


REQUEST NO. 102: Admit that VBF was in default of its credit facility with Amstar in 2016.

      ANSWER: Defendant objects to this Request as the time period of the entire
calendar year of 2016 is vague and the term “default” is undefined and thus, Defendant
cannot know what facts are being admitted or denied. Subject to these objections,
Defendant denies that Amstar declared VBF to be default in 2016. Answering further,
Defendant states that based on negative EBITDA covenants in the Amstar credit facilities,
VBF would have been in default the first day, but that Amstar directed, controlled and
approved all payments from the facility, including debt payment.


REQUEST NO. 103: Admit that Amstar did not declare VBF’s default until 2017.

      ANSWER: Defendant admits that Amstar sent VBF a notice of default in late 2017.
Defendant denies the remaining allegations of this request.


REQUEST NO. 104: Admit that Alder introduced ING Capital LLC (“ING”) to VBF.

        ANSWER: Defendant admits Alder introduced ING Europe to VBF and that ING
Europe was affiliated with ING Capital LLC. Defendant denies the remaining allegations
of this Request.


REQUEST NO. 105: Admit that VBF would not have been able to satisfy the covenants under
an ING revolving credit facility discussed with VBF.

       ANSWER: Defendant objects to this Request to the extent it requests admission of a
hypothetical situation and not a fact. Defendant further objects to this Request to the
extent it does not identify any time period and thus, Defendant cannot know what facts are
being admitted or denied. Subject to these objections and without further clarification,
denied.

REQUEST NO. 106: Admit that one or more Defendants provided information to
PriceWaterhouse for a financial audit of VBF.



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       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not specify any time period for the described audit and thus, Defendant
cannot know what facts are being admitted or denied. Subject to these objections and
without further clarification, Defendant admits that they provided information about VBF
to Pricewaterhouse Coopers for audits of VBF in 2016 and 2017.

REQUEST NO. 107: Admit that Jackson Walker LLP was VBF’s corporate counsel from some
time in 2014 to sometime in 2017.

      ANSWER: Defendant admits that from 2014 until his termination from VBF in
November 2017, Jackson Walker LLP was VBF’s corporate counsel. Defendant lacks
knowledge or information sufficient to form a belief as to the truth or falsity of the
remaining allegations in this Request and therefore, denies them.


REQUEST NO. 108: Admit that Jackson Walker LLP currently continues to represent at least
one of the Defendants or at least one of the Defendants’ Affiliated Entities.


          ANSWER: Denied.


REQUEST NO. 109: Admit that FishDish LLC did not appoint a member to VBF’s Board of
Directors after Ken Lockard’s departure as a director in 2018.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.




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                                                     Respectfully submitted,

                                                     Underwood Perkins, P.C.

                                          By:        /s/ Kimberly D. Annello
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                                                     Email: kannello@uplawtx.com

                                                     Attorney for Defendants

                                                     Certificate of Service

       I hereby certify that a true and correct copy of the above and foregoing instrument has
been served upon all counsel of record, as listed below, on this 3rd day of April 2019 via ECF
and/or E-Mail:
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                                                                          /s/ Kimberly D. Annello
                                                                          Kimberly D. Annello



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                         EXHIBIT C




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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


VEROBLUE FARMS USA, INC.,        )
                                 )                Plaintiff,
                                 )
v.                               )                                       Case No. 3:19-CV-00764-L
                                 )
LESLIE A. WULF, BRUCE A. HALL, )
JAMES REA, JOHN E. REA, AND )
KEITH DRIVER,                    )
                     Defendants. )

                  DEFENDANT JAMES REA’S RESPONSES TO PLAINTIFF’S
                       FIRST REQUEST FOR ADMISSION OF FACT

          Defendant, JAMES REA (“Defendant” or “J. Rea”), hereby responds to Plaintiff’s First

Request for Admission of Fact as follows:


                               RESPONSES TO REQUEST FOR ADMISSION


REQUEST NO. 1: Admit that one or more Defendants have an ownership interest and/or
control of BAJJER LLC.

          ANSWER:              Admit.


REQUEST NO. 2: Admit that one or more Defendants caused VBF to transfer 1,250,000 shares
of VeroBlue Farms, Inc. to BAJJER LLC for $1.25.

       ANSWER: Denied. Answering further, Defendant states Bajjer, LLC holds
1,250,000 shares of VBF in trust for Kelson Capital Inc. pursuant to a written agreement
between them, and that this fact was discussed in an independent due diligence report done
by Pricewaterhouse Coopers for Jens Haarkoetter of Alder Aqua on or about June 20,
2016.

REQUEST NO. 3: Admit that one or more Defendants have an ownership interest and/or assert
control in BAJJER II, LLC.

          ANSWER: Admit.



Defendant’s Responses to Request for Admission- James Rea                                           Page 1
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REQUEST NO. 4: Admit that American Growth Funding, LLC (“AGF”) loaned approximately
$78,000 to BAJJER II, LLC which grew to $101,000 with interest.

          ANSWER:              Admit.

REQUEST NO. 5: Admit that AGF loaned BAJJER approximately $200,000.

        ANSWER: Defendant admits that AGF loaned Bajjer $200,000 in or about June 30,
2015, but states that the purpose of this loan was to pass through funds for operational
costs of VBF. Defendant denies the remaining allegations of this request.


REQUEST NO. 6: Admit that BAJJER transferred AGF’s loan of approximately $200,000 to
VBF.

        ANSWER: Defendant admits the $200,000 that AGF loaned Bajjer was transferred
to VBF on July 1, 2015 because VBF needed the funds for operations, but AGF would only
loan the funds to Bajjer and not directly to VBF. Defendant denies the remaining
allegations of this Request.


REQUEST NO. 7: Admit that on or about July 8, 2016, VBF paid AGF approximately
$375,000.

      ANSWER: Defendant admits that VBF paid AGF approximately $375,000 in July
2016, pursuant to an agreement among Alder Aqua and Alder Aqua’s counsel, Davis
Graham & Stubbs (“DGS”), and AGF to repay the loan from AGF to Bajjer directly from
VBF to AGF. This repayment and the payment of 26 other bridge loans was disclosed and
approved by Alder Aqua and DGS in a sources and uses of funds statement provided to
them on July 8, 2016. Defendant denies the remaining allegations of this Request.


REQUEST NO. 8: Admit that between December 1, 2015 and June 30, 2016, Gregg Sedun
and/or Alcaron Capital Corporation loaned VBF approximately $250,000.

      ANSWER: Defendant admits that Alcaron Capital Corporation loaned VFB
approximately $250,000. Defendant denies remaining allegations of this request.

REQUEST NO. 9: Admit that on or about July 12, 2016, one or more Defendants cause VBF to
pay Alcaron Capital Corporation approximately $326,056 in repayment for the loans described
in Request No. 8.

       ANSWER: Defendant admits that VBF paid Alcaron $326,056 in accordance with
the sources and uses of funds statement provided to Alder Aqua and DGS on or about July
8, 2016. Defendant denies the remaining allegations of this Request.




Defendant’s Responses to Request for Admission- James Rea                             Page 2
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REQUEST NO. 10: Admit that on or about July 14, 2016, Gregg Sedun loaned Wulf $225,000.

          ANSWER:              Admit.


REQUEST NO. 11: Admit that one or more Defendants received twice their monthly
compensation from VBF in July 2016.

        ANSWER: Denied.      Defendant was compensated by VBF pursuant to a
management consulting agreement until Alder Aqua’s investment in July 2016. The
consulting agreement paid Defendant in arrears. Upon Alder Aqua’s investment,
Defendant became an employee of VBF. Thus, upon closing of Alder Aqua’s investment,
Defendant was paid for his final month of consulting services (June 2016). This was
disclosed to and approved by Alder Aqua and DGS. Defendant denies the remaining
allegations of this Request.

REQUEST NO. 12: Admit that one or more Defendants directed or caused VBF to employ
Christine Gagne during your tenure to VBF.

      ANSWER: Denied. Answering further, Defendant states Christine Gagne was an
independent contractor, not an employee of VBF.


REQUEST NO. 13: Admit that one or more Defendants directed or caused VBF to pay
Christine Gagne under the name “Ronnie O’Brien” during your tenure at VBF.

       ANSWER: Admitted that Christine Gagne was paid as an independent
contractor, under the name “Ronnie O’Brien.” Defendant denies remaining allegations of
this Request.


REQUEST NO. 14: Admit that, during at least some of the time she was on VBF’s payroll,
Christine Gagne was a Canadian national who was not authorized to work in the United States.

      ANSWER:                   Denied. Christine Gagne was an independent contractor, and not on
VBF’s payroll.


REQUEST NO. 15: Admit that one or more Defendants caused VBF to buy six tractor-trailers.

       ANSWER: Denied. The purchase of six tractor trailers was presented to, approved
by, and directed by VBF’s Board of Directors in two separate board resolutions.


REQUEST NO. 16: Admit that VBF’s selling of live fish did not require the transportation of
fish in all of the tractor-trailers.



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        ANSWER: Defendant objects to this Request as vague, nonsensical and not
calling for the admission of a fact, but a statement of opinion or judgment. Subject to that
objection, denied.


REQUEST NO. 17: Admit that VBF could not sell fish as quickly as one or more Defendants
represented to Cardinal Farms that VBF could sell fish.

       ANSWER: Defendants object to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendants cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 18: Admit that one or more of the Defendants knew by July 2016 that the
Grower Model would not be implemented and/or would not be successful if implemented.

      ANSWER:        Denied. Defendants planned to pursue a Grower Model until Alder
Aqua representatives directed otherwise.


REQUEST NO. 19: Admit that at least one of the Defendants requested or directed that one or
more employees of VBF remove the mortality tally sheets from one or more tanks during your
tenure at VBF.

          ANSWER:               Denied.


REQUEST NO. 20: Admit that at least one of the Defendants misrepresented information
relating to VBF’s FCR to potential VBF investors and/or lenders.

          ANSWER:              Denied.


REQUEST NO. 21: Admit that at least one of the Defendants sought to keep visitors from
seeing VBF’s grow tanks on at least one occasion.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period and thus, Defendant cannot know what facts
are being admitted or denied. Subject to that objection, Defendant states that Jens
Haarkoetter, a VBF Director and representative of both Amstar Funds and Alder Aqua,
and Dr. Otto Happel, beneficial owner of both Amstar and Alder Aqua, instructed all VBF
personnel, including Defendant, to limit visitation to the farms and to prohibit photographs
in order to prevent competitors from seeing and knowing VBF’s patented tank system,
growing practices and other features. Additionally, Defendant admits that when fish are
being stocked into tanks for the first time, it is common industry practice to limit visitation
for bio-security purposes. Defendant denies the remainder of this Request.

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REQUEST NO. 22: Admit that at least one of the Defendant’s represented an FCR of 1:1
during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 23: Admit that VBF’s FCR was never 1:1 during a grow-out phase for any lot
or batch of fish during your tenure at VBF.

          ANSWER:              Denied.


REQUEST NO. 24: Admit that at least one of the Defendants represented an FCR at or near
1.038:1 during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 25: Admit that VBF’s FCR was never at or near 1.038:1 during a grow-out
phase for any lot or batch of fish during your tenure at VBF.

          ANSWER:              Denied.


REQUEST NO. 26: Admit that at least one of the Defendants represented an FCR of at or near
1.04 during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 27: Admit that VBF’s FCR was never at or near 1.04 during a grow-out phase
for any lot or batch during your tenure at VBF.

          ANSWER:              Denied.




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REQUEST NO. 28: Admit that at least one of the Defendants concealed information from non-
Defendant VBF directors relating to the mortality rates on at least one occasion during your
tenure at VBF.

       ANSWER: Denied. Answering further, Defendant did not provide data on
mortality rates to VBF directors; Katie Olson, VBF employee, prepared a report that was
circulated to the Board of Directors and to Amstar, and Defendant understood that Amstar
prepared its own version of the report to Alder Aqua on a monthly basis.


REQUEST NO. 29: Admit that VBF’s actual mortality rate was higher than at least one of the
Defendants represented during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 30: Admit that Ted Rea knew of that thousands of fish had recently died at the
Saint Louis farm at the time of VBF’s Board of Directors meeting in September 2017.

       ANSWER: Defendant admits Ted Rea knew that certain fish had died at VBF’s
Saint Louis farm before September 2017 and admits that Mr. Rea discussed this fact with
the directors during or within a few days of the September 2017 Board of Directors
meeting. Defendant denies the remaining allegations of this request.


REQUEST NO. 31: Admit that the Defendants failed to implement a Fry Quarantine facility
even after an extreme death loss event.

      ANSWER: Denied. At the time of Defendant’s termination from VBF, a portion of
VBF’s Blairsburg farm was being repurposed for a Fry Quarantine system.

REQUEST NO. 32: Admit that Defendants did not report the extent of all mortality events to
the VBF Board of Directors during your tenure at VBF.

      ANSWER: Denied. Monthly reports were provided to the VBF Board of Directors
during Defendant’s tenure as an officer.


REQUEST NO. 33: Admit that at least one of the Defendants, on at least one occasion,
misrepresented death loss bio masses in the Monthly Management Reports issued to the Board of
Directors.

          ANSWER: Denied.


Defendant’s Responses to Request for Admission- James Rea                               Page 6
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REQUEST NO. 34: Admit that in the fish industry mortality rates are reported cumulatively by
adding together the number of fish per batch that die per month.


          ANSWER: Denied. The industry uses a bio-mass metric for reporting mortality
rates.


REQUEST NO. 35: Admit that at least one of the Defendants reported mortality rates non-
cumulatively to the VBF Board of Directors during your tenure at VBF.

          ANSWER: Denied.


REQUEST NO. 36: Admit that at least one of the Defendants concealed information relating to
the fish stocking density during your tenure VBF.


          ANSWER: Denied.

REQUEST NO. 37: Admit that at least one of the Defendants misrepresented information
relating to the fish stocking density to non-Defendant VBF Directors on at least one occasion
during your tenure at VBF.

          ANSWER: Denied.


REQUEST NO. 38: Admit that at least one of the Defendants represented that the VBF tanks
could safely hold .75 pounds/gallon during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Defendant admits in 2016 and 2017,
Defendants presented to VBF’s Board their belief that upon improved water quality and
dissolved O2 levels, they expected VBF tanks could hold .75 pounds of fish per gallon of
water. Defendants were conducting trials of this hypothesis at the Buckeye facility and
provided updates as to their progress in testing this hypothesis at subsequent Board of
Director meetings. Defendant denies the remaining allegations of this Request.


REQUEST NO. 39: Admit that at least one of the Defendants represented a VBF fish-stocking
plan at 15,000 fingerlings per tank on at least one occasion to third parties during your tenure at
VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,

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Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved
water quality and dissolved O2 levels, they expected VBF tanks could hold 15,000
fingerlings per tank. Defendants provided updates as to their progress in testing this
hypothesis at subsequent Board of Director meetings. Defendant denies the remaining
allegations of this Request.


REQUEST NO. 40: Admit that at least one of the Defendants represented to third parties on at
least one occasion that VBF stocked 16,000 fish per six tank pod during your tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved
water quality and dissolved O2 levels and stocking tanks with larger fry, they expected VBF
tanks could hold 16,000 fish per six tank pods. Defendants provided updates as to their
progress in testing this hypothesis at subsequent Board of Director meetings. Defendant
denies the remaining allegations of this Request.


REQUEST NO. 41: Admit that at least one of the Defendants provided to Alder a document
noting a stocking rate of 16,000 fingerlings per pod every two months with a 1:1 pound of fish
per gallon of water stocking density during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation and when and thus, Defendant
cannot know what facts are being admitted or denied. Subject to that objection and
without further clarification, Defendant admits in 2016 and 2017, Defendants presented to
the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved water
quality and dissolved O2 levels and stocking tanks with larger fry, they expected VBF tanks
could hold 16,000 fingerlings per pod. Defendants provided updates as to their progress in
testing this hypothesis at subsequent Board of Director meetings. Defendant denies the
remaining allegations of this Request.


REQUEST NO. 42: Admit that Driver informed a potential investor in early 2016 that VBF
could stock 16,000 fingerlings per tank.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify when this representation was made or to whom, and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


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REQUEST NO. 43: Admit that at least one of the Defendants represented that VBF successfully
stocked 16,000 fish/tank for an additional $11 million in EBITDA during your tenure at VBF.


      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 44: Admit that, at most, during your tenure at VBF, no more than four of 17
six-tank pods were stocked with 16,000 or more fish.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 45: Admit that VBF never met its stocking density goals during your tenure at
VBF.


          ANSWER: Denied.

REQUEST NO. 46: Admit that the mortality rate on the four batches of six tank pods that were
stocked with 16,000 or more fish was in reality 19% or higher during your tenure at VBF.


        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.

REQUEST NO. 47: Admit that at least one of the Defendants during your tenure at VBF
represented that VBF’s tanks could safely hold more barramundi than such tanks could hold in
reality.


      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 48: Admit that Sheriff represented to at least one of the Defendants that his
opposing flow system could safely handle 7,500 pounds per tank.



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       ANSWER:        Admit. Answering further, Defendant states that Mr. Sheriff
represented to VBF in 2015 and 2016 that his opposing flow system could handle 10,000
pounds of fish per tank.


REQUEST NO. 49: Admit that during your tenure at VBF, at least one of the Defendants
represented that each six-tank pod will produce approximately 120,000 pounds annually.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel their belief that upon improved water quality
and dissolved O2 levels and with stocking larger fry, they hoped each six-pod tank could
produce 120,000 pounds of fish annually. Defendants provided updates as to their progress
in testing this hypothesis at subsequent Board of Director meetings. Defendant denies the
remaining allegations of this Request

REQUEST NO. 50: Admit that VBF’s projected EBITDA was based on its represented tank
density and/or fish-stocking plan during your tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period for “projected EBITDA”, thus, Defendant
cannot know what facts are being admitted or denied. Subject to that objection and
without further clarification, Defendant admits VBF’s projections at the time of Alder
Aqua’s investment were based on Defendants’ belief that upon improved water quality and
dissolved O2 levels would increase tank density, stocking density and overall fish
production. Defendant denies the remaining allegations of this Request.


REQUEST NO. 51: Admit that at least one of the Defendants represented that VBF had
successfully stocked 1:1 pound of fish per gallon during your tenure at VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits that VBF represented that it had a test
tank that had successfully stocked 1:1 pound of fish per gallon. Defendant denies the
remaining allegations of this Request.

REQUEST NO. 52: Admit that the VBF tanks did not actually have a stocking rate of 1:1 pound
of fish per gallon during your tenure at VBF.




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       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period for “stocking rate”, thus, Defendant cannot
know what facts are being admitted or denied. Subject to that objection and without
further clarification, denied.


REQUEST NO. 53: Admit that Defendants represented to investors or potential investors that
opposing flows technology was previously successful and/or that it would very likely be
successful when implemented at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits, based on information provided to him
and other Defendants by Rick Sheriff and Mark Nelson, he believed the opposing flows
technology had been and would be successful when implemented, although there were risks
associated with implementing that technology in a larger tank system. Defendant denies
the remaining allegation of this Request.

REQUEST NO. 54: Admit that opposing flows technology was not successful at VBF during
your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“successful” is undefined and does not constitute a statement of fact, but a statement of
opinion or judgment. Subject to that objection, denied.


REQUEST NO. 55: Admit that VBF lost millions of dollars in value during your tenure at VBF.


       ANSWER: Defendants object to this Request as vague to the extent that the term
“value” is undefined and does not constitute a statement of fact, but a statement of opinion
or judgment. Subject to that objection, denied.


REQUEST NO. 56: Admit that you were paid over a $1,000,000 by VBF during your tenure at
VBF.

       ANSWER: Defendant objects this Request as vague to the extent that payments are
not sufficiently identified. Subject to that objection, with respect to Defendant’s tenure as a
VBF employee pursuant to his Employment Agreement, denied.

REQUEST NO. 57: Admit that VBF was losing money before Alder invested in VBF.


          ANSWER: Admit.


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REQUEST NO. 58: Admit that VBF spent $2 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 59: Admit that VBF spent approximately $1.5 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 60: Admit that VBF spent approximately $1 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 61: Admit that VBF spent approximately $2 million per month in 2016.


       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 62: Admit that VBF spent approximately $1.5 million per month in 2016.


       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 63: Admit that VBF spent approximately $1 million per month in 2016.


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       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 64: Admit that VBF spent approximately $2 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 65: Admit that VBF spent approximately $1.5 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 66: Admit that VBF spent approximately $1 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 67: Admit that at least one of the Defendants represented that Rick Sheriff was
VBF’s Chief Technology Officer during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits that Rick Sherriff signed a contract
with VBF in July 2016, to act as its Chief Technology Officer, which contract was approved
by the Board of Directors and specifically by Alder Aqua.

REQUEST NO. 68: Admit that no copyrights were issued to VBF during your tenure at VBF.




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       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 69: Admit that at least one of the Defendants had some ownership interest in
Opposing Flows Aquaculture.

       ANSWER: Defendant objects to this Request to the extent it does not define any
time period. Subject to that objection and without further clarification, Defendant admits
that Ted Rea, as registered agent, registered Opposing Flows Aquaculture, Inc. in late
2014, which would license the OFA technology to other growers but Defendant denies that
any shares in OFA or other ownership interest was granted to anyone. Once Alder Aqua
invested in VBF, it purchased the patents for the opposing flow technology and there was
no use for the OFA entity and it was closed. Defendant denies the remaining allegations of
this Request.

REQUEST NO. 70: Admit that there were complaints about the smell of VBF’s fish before
Norman McCowan started at VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who raised this complaint, to whom, where, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 71: Admit that VBF never implemented software and hardware tools that
allowed for integration of its operations.

       ANSWER: Defendant objects this Request as vague to the extent that the terms
“software and hardware tools” and “integration of operations” are not sufficiently defined.
Subject to that objection and without further clarification, denied. Answering further,
Defendant states VBF was utilizing Aqua Manager and NetSuite to manage and integrate
operations.


REQUEST NO. 72: Admit that VBF never had an operational research & development center.

          ANSWER: Admit.


REQUEST NO. 73: Admit that VBF never produced its own fish feed during your tenure at
VBF.

          ANSWER: Admit.




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REQUEST NO. 74: Admit that VBF never partnered with Iowa State University during your
tenure at VBF.

        ANSWER: Defendant objects this Request as vague to the extent that the term
“partnered with” is not sufficiently defined. Subject to that objection and without further
clarification, admitted. Answering further, Defendant states that VBF had engaged a
group of advisors, including staff from Iowa State University to assess collaborative
research opportunities but after Alder Aqua’s investment, Dr. Happel specifically
instructed Defendants not to share information or otherwise collaborate with any
universities.


REQUEST NO. 75: Admit that at least one of the Defendants projected VBF’s annual
production from the Urban Farm to be at least 8,000,000 pounds/year.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this projection, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2017, based on Defendants’ belief
that using larger fry and improving water quality and dissolved O2 levels and with the
addition of barns 6 and 7, VBF’s annual production from the Urban Farm was projected to
be 8,000,000 pounds per year. Defendants provided updates as to this projection at
subsequent Board of Director meetings. Defendant denies the remaining allegations of this
Request


REQUEST NO. 76: Admit that VBF’s total production from January through October 2015 was
less than 200,000 pounds.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.



REQUEST NO. 77: Admit that there was never a market demand for 15 million pounds of
Barramundi in the United States.


        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.




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REQUEST NO. 78: Admit that VBF never produced 4.8 million pounds of fish in any given
year during your tenure at VBF.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 79: Admit that Defendants represented in October 2015 that VBF was valued at
$32.5 million.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“value” is undefined and does not constitute a statement of fact, but a statement of opinion
or judgment. Defendant further objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Defendant admits in investment marketing
materials provided to prospective investors, Defendants projected VBF’s value at $32.5
million.


REQUEST NO. 80: Admit that at least one of the Defendants provided data for the following
documents exhibited to VBF’s First Set of Interrogatories to Defendant Keith Driver (answer
each sub-part separately):

          a. “Executive Summary” and “Marketing Deck” attached as Exhibit 1.
          b. November 1, 2014 PowerPoint attached as Exhibit 2.
          c. the November 2014-April 2015 Opposing Flows Tank System Performance Data
             PowerPoint, attached as Exhibit 3.

          ANSWER: Admitted as to parts a, b and c.


REQUEST NO. 81: Admit that there were no designated growers for the alleged VBF Grower
Model as of December 31, 2016.


          ANSWER: Denied.


REQUEST NO. 82: Admit that VBF purchased U.S. Patent 6,065,430 and U.S. Patent
Application 14/289,623 for $2.75 million.

       ANSWER: Defendant objects to this Request as it does not identify any time
period. Subject to this objection, Defendant admits and after completing its due diligence
on VBF, Alder Aqua decided to purchase the patents as part of its investment. as part of


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Alder Aqua’s investment. Amstar Funds thus provided a bridge loan for VBF to purchase
US Patent 6,065,430 and U.S. Patent Application 14/289,623 from Rick Sheriff for $2.75
million. Defendant denies the remaining allegations of this Request.

REQUEST NO. 83: Admit that U.S. Patent 6,065,430 expired on October 10, 2017.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 84: Admit that one or more Defendants provided information to one or more
people from Fisheries Technology Associates to complete that organization’s “Technical
Assessment of Barramundi Production at VeroBlue Farms with a Focus on Iowa’s First: A Due
Diligence Assessment Consultation Report” dated July 2, 2015.

        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Keith Driver provided information to Bill
Manci at Fisheries Technology Associates to complete the identified Assessment in 2015 as
part of the due diligence conducted by Generation Investment Management in preparation
for its debt commitment to VBF.


REQUEST NO. 85: Admit that you have communicated with counsel (“Bankruptcy Counsel”)
in VBF’s pending bankruptcy case, Case No. 18-01297 In re: VeroBlue Farms USA, Inc., et al.
pending in the Northern District of Iowa (“Bankruptcy”).

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in this Request,
Defendant cannot admit to the truth or falsity of this Request, and this request may seek
disclosure of communications that are subject to attorney-client privilege and/or common
interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.

REQUEST NO. 86: Admit that you or one of your representatives has discussed dismissal of
this lawsuit with Bankruptcy Counsel.

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in this Request,
Defendant cannot admit to the truth or falsity of this Request and this request may seek
disclosure of communications that are subject to attorney-client privilege and/or common



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interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.

REQUEST NO. 87: Admit that one or more Defendants directly or through counsel requested
that the unsecured creditors committee demand that VBF dismiss this lawsuit against the
Defendants.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 88: Admit that you have provided information about Alder to Bankruptcy
Counsel.

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in these
Request, Defendant cannot admit to the truth or falsity of this Request, and this request
may seek communications that are subject to attorney-client privilege and/or common
interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.


REQUEST NO. 89: Admit that one or more Defendants, directly or through counsel, have
communicated with (a) Phillip Sheets; (b) Thomas Fawkes and/or Goldstein & McClintock LLP;
(c) Aaron Hammer and/or Horwood Marcus & Berk; or (d) any member of the Ad Hoc
Committee relating to the Bankruptcy.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 90: Admit that one or more Defendants directly or through counsel reviewed
and/or contributed to the December 19, 2018 letter signed by Thomas Fawkes relating to the
Bankruptcy, attached as Exhibit 4.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 91: Admit that Wulf signed a Warrant to Purchase Series A Preferred Shares of
VeroBlue Farms USA, Inc. dated July 7, 2016 between VeroBlue Farms USA, Inc. and Alder.



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          ANSWER: Admit.


REQUEST NO. 92: Admit that James Rea signed a Secretary’s Certificate dated July 7, 2016
between VeroBlue Farms, Inc. and Alder.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry without access to VBF’s books and records, he lacks sufficient
knowledge or information to form a belief as to the truth or falsity of this Request, and it is
therefore, denied.


REQUEST NO. 93: Admit that the proposal to restructure VBF’s Canadian affiliate was not
executed.

        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what proposal it is referring to, who made the proposal, to
whom, and when it was proposed and thus, Defendant cannot know what facts are being
admitted or denied. Subject to these objections and without further clarification,
Defendant lacks sufficient knowledge or information to form a belief as to the truth or
falsity of this request and it is therefore, denied.


REQUEST NO. 94: Admit that one or more Defendants approved Amstar Group, LLC
(“Amstar”) and Alder’s debt and equity infusions instead of a capital infusion from Generation
Investment Management.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not specify any time period for the described debt and equity infusions and
thus, Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, denied. Answering further, Defendant states
that when Alder Aqua offered its equity infusion into VBF in July 2016, Alder Aqua
mandated that Amstar’s debt financing be part of this infusion and Alder Aqua refused to
allow Generation Investment Management to issue debt or invest equity VBF.


REQUEST NO. 95: Admit that Alder was not involved in VBF until July 2016.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “involved in VBF” is undefined and thus, Defendant cannot know what
facts are being admitted or denied. Subject to these objections and without further
clarification, denied. Alder Aqua was engaged in due diligence surrounding its investment
in VBF prior to July 2016.




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REQUEST NO. 96: Admit that between July 2016 and August 2017, only two of seven
directors were appointed by Alder.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify which entity’s directors were appointed by Alder. Subject to
this objection, Defendant states between July 2016 and August 2017, two of VBF’s
directors were appointed by Alder, but that Alder also controlled the board of Amstar,
VBF’s sole lender. Defendant denies the remaining allegations of this Request.


REQUEST NO. 97: Admit that between August 2017 and October 24, 2017, only two of seven
directors were appointed by Alder.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify which entity’s directors were appointed by Alder. Subject to
this objection, Defendant states that between August 2017 and October 24, 2017, two of
VBF’s directors were appointed by Alder, but that Alder also controlled the board of
Amstar, VBF’s sole lender. Defendant denies the remaining allegations of this Request.


REQUEST NO. 98: Admit that Terry Lyons resigned from the Board of Directors in or before
March 2018 and was never replaced.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 99: Admit that Alder invested at least $50 million in VBF during your tenure at
VBF.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.



REQUEST NO. 100: Admit that no VBF investor has lost more money than Alder during your
tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “lost more money” is undefined and thus, Defendant cannot know what
facts are being admitted or denied. Subject to these objections and without further



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clarification, denied. Defendant has no knowledge or information as to what Alder Aqua’s
actual gains or losses on its investment in VBF may be.


REQUEST NO. 101: Admit that by July 7, 2016, one or more Defendants knew that VBF
would pursue the corporate farm model over the Grower Model.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “corporate farm model” is undefined and thus, Defendant cannot know
what facts are being admitted or denied. Subject to these objections and without further
clarification, denied.


REQUEST NO. 102: Admit that VBF was in default of its credit facility with Amstar in 2016.

      ANSWER: Defendant objects to this Request as the time period of the entire
calendar year of 2016 is vague and the term “default” is undefined and thus, Defendant
cannot know what facts are being admitted or denied. Subject to these objections,
Defendant denies that Amstar declared VBF to be default in 2016. Answering further,
Defendant states that based on negative EBITDA covenants in the Amstar credit facilities,
VBF would have been in default the first day, but that Amstar directed, controlled and
approved all payments from the facility, including debt payment.


REQUEST NO. 103: Admit that Amstar did not declare VBF’s default until 2017.

      ANSWER: Defendant admits that Amstar sent VBF a notice of default in late 2017.
Defendant denies the remaining allegations of this request.


REQUEST NO. 104: Admit that Alder introduced ING Capital LLC (“ING”) to VBF.

        ANSWER: Defendant admits Alder introduced ING Europe to VBF and that ING
Europe was affiliated with ING Capital LLC. Defendant denies the remaining allegations
of this Request.


REQUEST NO. 105: Admit that VBF would not have been able to satisfy the covenants under
an ING revolving credit facility discussed with VBF.

       ANSWER: Defendant objects to this Request to the extent it requests admission of a
hypothetical situation and not a fact. Defendant further objects to this Request to the
extent it does not identify any time period and thus, Defendant cannot know what facts are
being admitted or denied. Subject to these objections and without further clarification,
denied.


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REQUEST NO. 106: Admit that one or more Defendants provided information to
PriceWaterhouse for a financial audit of VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not specify any time period for the described audit and thus, Defendant
cannot know what facts are being admitted or denied. Subject to these objections and
without further clarification, Defendant admits that they provided information about VBF
to Pricewaterhouse Coopers for audits of VBF in 2016 and 2017.

REQUEST NO. 107: Admit that Jackson Walker LLP was VBF’s corporate counsel from some
time in 2014 to sometime in 2017.

      ANSWER: Defendant admits that from 2014 until his termination from VBF in
November 2017, Jackson Walker LLP was VBF’s corporate counsel. Defendant lacks
knowledge or information sufficient to form a belief as to the truth or falsity of the
remaining allegations in this Request and therefore, denies them.


REQUEST NO. 108: Admit that Jackson Walker LLP currently continues to represent at least
one of the Defendants or at least one of the Defendants’ Affiliated Entities.


          ANSWER: Denied.


REQUEST NO. 109: Admit that FishDish LLC did not appoint a member to VBF’s Board of
Directors after Ken Lockard’s departure as a director in 2018.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.




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                                                    Respectfully submitted,

                                                    Underwood Perkins, P.C.

                                          By:       /s/ Kimberly D. Annello
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                                                    Email: kannello@uplawtx.com

                                                    Attorney for Defendants

                                                    Certificate of Service

       I hereby certify that a true and correct copy of the above and foregoing instrument has
been served upon all counsel of record, as listed below, on this 3rd day of April 2019 via ECF
and/or E-Mail:
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                         EXHIBIT D




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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION


VEROBLUE FARMS USA, INC.,        )
                                 )                 Plaintiff,
                                 )
v.                               )                                        Case No. 3:19-CV-00764-L
                                 )
LESLIE A. WULF, BRUCE A. HALL, )
JAMES REA, JOHN E. REA, AND )
KEITH DRIVER,                    )
                     Defendants. )

   DEFENDANT TED REA’S RESPONSES TO PLAINTIFF FIRST REQUEST FOR
                        ADMISSION OF FACT

          Defendant, JOHN E. (TED) REA (“Defendant” or “T. Rea”), hereby responds to

Plaintiff’s First Request for Admission of Fact as follows:


                               RESPONSES TO REQUEST FOR ADMISSION


REQUEST NO. 1: Admit that one or more Defendants have an ownership interest and/or
control of BAJJER LLC.

          ANSWER:              Admit.


REQUEST NO. 2: Admit that one or more Defendants caused VBF to transfer 1,250,000 shares
of VeroBlue Farms, Inc. to BAJJER LLC for $1.25.

       ANSWER: Denied. Answering further, Defendant states Bajjer, LLC holds
1,250,000 shares of VBF in trust for Kelson Capital Inc. pursuant to a written agreement
between them, and that this fact was discussed in an independent due diligence report done
by Pricewaterhouse Coopers for Jens Haarkoetter of Alder Aqua on or about June 20,
2016.

REQUEST NO. 3: Admit that one or more Defendants have an ownership interest and/or assert
control in BAJJER II, LLC.

          ANSWER: Admit.



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REQUEST NO. 4: Admit that American Growth Funding, LLC (“AGF”) loaned approximately
$78,000 to BAJJER II, LLC which grew to $101,000 with interest.

          ANSWER:              Admit.

REQUEST NO. 5: Admit that AGF loaned BAJJER approximately $200,000.

        ANSWER: Defendant admits that AGF loaned Bajjer $200,000 in or about June 30,
2015, but states that the purpose of this loan was to pass through funds for operational
costs of VBF. Defendant denies the remaining allegations of this request.


REQUEST NO. 6: Admit that BAJJER transferred AGF’s loan of approximately $200,000 to
VBF.

        ANSWER: Defendant admits the $200,000 that AGF loaned Bajjer was transferred
to VBF on July 1, 2015 because VBF needed the funds for operations, but AGF would only
loan the funds to Bajjer and not directly to VBF. Defendant denies the remaining
allegations of this Request.


REQUEST NO. 7: Admit that on or about July 8, 2016, VBF paid AGF approximately
$375,000.

      ANSWER: Defendant admits that VBF paid AGF approximately $375,000 in July
2016, pursuant to an agreement among Alder Aqua and Alder Aqua’s counsel, Davis
Graham & Stubbs (“DGS”), and AGF to repay the loan from AGF to Bajjer directly from
VBF to AGF. This repayment and the payment of 26 other bridge loans was disclosed and
approved by Alder Aqua and DGS in a sources and uses of funds statement provided to
them on July 8, 2016. Defendant denies the remaining allegations of this Request.


REQUEST NO. 8: Admit that between December 1, 2015 and June 30, 2016, Gregg Sedun
and/or Alcaron Capital Corporation loaned VBF approximately $250,000.

      ANSWER: Defendant admits that Alcaron Capital Corporation loaned VFB
approximately $250,000. Defendant denies remaining allegations of this request.

REQUEST NO. 9: Admit that on or about July 12, 2016, one or more Defendants cause VBF to
pay Alcaron Capital Corporation approximately $326,056 in repayment for the loans described
in Request No. 8.

       ANSWER: Defendant admits that VBF paid Alcaron $326,056 in accordance with
the sources and uses of funds statement provided to Alder Aqua and DGS on or about July
8, 2016. Defendant denies the remaining allegations of this Request.




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REQUEST NO. 10: Admit that on or about July 14, 2016, Gregg Sedun loaned Wulf $225,000.

          ANSWER:              Admit.


REQUEST NO. 11: Admit that one or more Defendants received twice their monthly
compensation from VBF in July 2016.

        ANSWER: Denied.      Defendant was compensated by VBF pursuant to a
management consulting agreement until Alder Aqua’s investment in July 2016. The
consulting agreement paid Defendant in arrears. Upon Alder Aqua’s investment,
Defendant became an employee of VBF. Thus, upon closing of Alder Aqua’s investment,
Defendant was paid for his final month of consulting services (June 2016). This was
disclosed to and approved by Alder Aqua and DGS. Defendant denies the remaining
allegations of this Request.

REQUEST NO. 12: Admit that one or more Defendants directed or caused VBF to employ
Christine Gagne during your tenure to VBF.

      ANSWER: Denied. Answering further, Defendant states Christine Gagne was an
independent contractor, not an employee of VBF.


REQUEST NO. 13: Admit that one or more Defendants directed or caused VBF to pay
Christine Gagne under the name “Ronnie O’Brien” during your tenure at VBF.

       ANSWER: Admitted that Christine Gagne was paid as an independent
contractor, under the name “Ronnie O’Brien.” Defendant denies remaining allegations of
this Request.


REQUEST NO. 14: Admit that, during at least some of the time she was on VBF’s payroll,
Christine Gagne was a Canadian national who was not authorized to work in the United States.

      ANSWER:                   Denied. Christine Gagne was an independent contractor, and not on
VBF’s payroll.


REQUEST NO. 15: Admit that one or more Defendants caused VBF to buy six tractor-trailers.

       ANSWER: Denied. The purchase of six tractor trailers was presented to, approved
by, and directed by VBF’s Board of Directors in two separate board resolutions.


REQUEST NO. 16: Admit that VBF’s selling of live fish did not require the transportation of
fish in all of the tractor-trailers.



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        ANSWER: Defendant objects to this Request as vague, nonsensical and not
calling for the admission of a fact, but a statement of opinion or judgment. Subject to that
objection, denied.


REQUEST NO. 17: Admit that VBF could not sell fish as quickly as one or more Defendants
represented to Cardinal Farms that VBF could sell fish.

       ANSWER: Defendants object to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendants cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 18: Admit that one or more of the Defendants knew by July 2016 that the
Grower Model would not be implemented and/or would not be successful if implemented.

      ANSWER:        Denied. Defendants planned to pursue a Grower Model until Alder
Aqua representatives directed otherwise.


REQUEST NO. 19: Admit that at least one of the Defendants requested or directed that one or
more employees of VBF remove the mortality tally sheets from one or more tanks during your
tenure at VBF.

          ANSWER:               Denied.


REQUEST NO. 20: Admit that at least one of the Defendants misrepresented information
relating to VBF’s FCR to potential VBF investors and/or lenders.

          ANSWER:              Denied.


REQUEST NO. 21: Admit that at least one of the Defendants sought to keep visitors from
seeing VBF’s grow tanks on at least one occasion.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period and thus, Defendant cannot know what facts
are being admitted or denied. Subject to that objection, Defendant states that Jens
Haarkoetter, a VBF Director and representative of both Amstar Funds and Alder Aqua,
and Dr. Otto Happel, beneficial owner of both Amstar and Alder Aqua, instructed all VBF
personnel, including Defendant, to limit visitation to the farms and to prohibit photographs
in order to prevent competitors from seeing and knowing VBF’s patented tank system,
growing practices and other features. Additionally, Defendant admits that when fish are
being stocked into tanks for the first time, it is common industry practice to limit visitation
for bio-security purposes. Defendant denies the remainder of this Request.

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REQUEST NO. 22: Admit that at least one of the Defendant’s represented an FCR of 1:1
during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 23: Admit that VBF’s FCR was never 1:1 during a grow-out phase for any lot
or batch of fish during your tenure at VBF.

          ANSWER:              Denied.


REQUEST NO. 24: Admit that at least one of the Defendants represented an FCR at or near
1.038:1 during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 25: Admit that VBF’s FCR was never at or near 1.038:1 during a grow-out
phase for any lot or batch of fish during your tenure at VBF.

          ANSWER:              Denied.


REQUEST NO. 26: Admit that at least one of the Defendants represented an FCR of at or near
1.04 during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 27: Admit that VBF’s FCR was never at or near 1.04 during a grow-out phase
for any lot or batch during your tenure at VBF.

          ANSWER:              Denied.




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REQUEST NO. 28: Admit that at least one of the Defendants concealed information from non-
Defendant VBF directors relating to the mortality rates on at least one occasion during your
tenure at VBF.

       ANSWER: Denied. Answering further, Defendant did not provide data on
mortality rates to VBF directors; Katie Olson, VBF employee, prepared a report that was
circulated to the Board of Directors and to Amstar, and Defendant understood that Amstar
prepared its own version of the report to Alder Aqua on a monthly basis.


REQUEST NO. 29: Admit that VBF’s actual mortality rate was higher than at least one of the
Defendants represented during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 30: Admit that Ted Rea knew of that thousands of fish had recently died at the
Saint Louis farm at the time of VBF’s Board of Directors meeting in September 2017.

       ANSWER: Defendant admits Ted Rea knew that certain fish had died at VBF’s
Saint Louis farm before September 2017 and admits that Mr. Rea discussed this fact with
the directors during or within a few days of the September 2017 Board of Directors
meeting. Defendant denies the remaining allegations of this request.


REQUEST NO. 31: Admit that the Defendants failed to implement a Fry Quarantine facility
even after an extreme death loss event.

      ANSWER: Denied. At the time of Defendant’s termination from VBF, a portion of
VBF’s Blairsburg farm was being repurposed for a Fry Quarantine system.

REQUEST NO. 32: Admit that Defendants did not report the extent of all mortality events to
the VBF Board of Directors during your tenure at VBF.

      ANSWER: Denied. Monthly reports were provided to the VBF Board of Directors
during Defendant’s tenure as an officer.


REQUEST NO. 33: Admit that at least one of the Defendants, on at least one occasion,
misrepresented death loss bio masses in the Monthly Management Reports issued to the Board of
Directors.

          ANSWER: Denied.


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REQUEST NO. 34: Admit that in the fish industry mortality rates are reported cumulatively by
adding together the number of fish per batch that die per month.


          ANSWER: Denied. The industry uses a bio-mass metric for reporting mortality
rates.


REQUEST NO. 35: Admit that at least one of the Defendants reported mortality rates non-
cumulatively to the VBF Board of Directors during your tenure at VBF.

          ANSWER: Denied.


REQUEST NO. 36: Admit that at least one of the Defendants concealed information relating to
the fish stocking density during your tenure VBF.


          ANSWER: Denied.

REQUEST NO. 37: Admit that at least one of the Defendants misrepresented information
relating to the fish stocking density to non-Defendant VBF Directors on at least one occasion
during your tenure at VBF.

          ANSWER: Denied.


REQUEST NO. 38: Admit that at least one of the Defendants represented that the VBF tanks
could safely hold .75 pounds/gallon during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Defendant admits in 2016 and 2017,
Defendants presented to VBF’s Board their belief that upon improved water quality and
dissolved O2 levels, they expected VBF tanks could hold .75 pounds of fish per gallon of
water. Defendants were conducting trials of this hypothesis at the Buckeye facility and
provided updates as to their progress in testing this hypothesis at subsequent Board of
Director meetings. Defendant denies the remaining allegations of this Request.


REQUEST NO. 39: Admit that at least one of the Defendants represented a VBF fish-stocking
plan at 15,000 fingerlings per tank on at least one occasion to third parties during your tenure at
VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,

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Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved
water quality and dissolved O2 levels, they expected VBF tanks could hold 15,000
fingerlings per tank. Defendants provided updates as to their progress in testing this
hypothesis at subsequent Board of Director meetings. Defendant denies the remaining
allegations of this Request.


REQUEST NO. 40: Admit that at least one of the Defendants represented to third parties on at
least one occasion that VBF stocked 16,000 fish per six tank pod during your tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved
water quality and dissolved O2 levels and stocking tanks with larger fry, they expected VBF
tanks could hold 16,000 fish per six tank pods. Defendants provided updates as to their
progress in testing this hypothesis at subsequent Board of Director meetings. Defendant
denies the remaining allegations of this Request.


REQUEST NO. 41: Admit that at least one of the Defendants provided to Alder a document
noting a stocking rate of 16,000 fingerlings per pod every two months with a 1:1 pound of fish
per gallon of water stocking density during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation and when and thus, Defendant
cannot know what facts are being admitted or denied. Subject to that objection and
without further clarification, Defendant admits in 2016 and 2017, Defendants presented to
the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved water
quality and dissolved O2 levels and stocking tanks with larger fry, they expected VBF tanks
could hold 16,000 fingerlings per pod. Defendants provided updates as to their progress in
testing this hypothesis at subsequent Board of Director meetings. Defendant denies the
remaining allegations of this Request.


REQUEST NO. 42: Admit that Driver informed a potential investor in early 2016 that VBF
could stock 16,000 fingerlings per tank.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify when this representation was made or to whom, and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


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REQUEST NO. 43: Admit that at least one of the Defendants represented that VBF successfully
stocked 16,000 fish/tank for an additional $11 million in EBITDA during your tenure at VBF.


      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 44: Admit that, at most, during your tenure at VBF, no more than four of 17
six-tank pods were stocked with 16,000 or more fish.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 45: Admit that VBF never met its stocking density goals during your tenure at
VBF.


          ANSWER: Denied.

REQUEST NO. 46: Admit that the mortality rate on the four batches of six tank pods that were
stocked with 16,000 or more fish was in reality 19% or higher during your tenure at VBF.


        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.

REQUEST NO. 47: Admit that at least one of the Defendants during your tenure at VBF
represented that VBF’s tanks could safely hold more barramundi than such tanks could hold in
reality.


      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 48: Admit that Sheriff represented to at least one of the Defendants that his
opposing flow system could safely handle 7,500 pounds per tank.


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       ANSWER:        Admit. Answering further, Defendant states that Mr. Sheriff
represented to VBF in 2015 and 2016 that his opposing flow system could handle 10,000
pounds of fish per tank.


REQUEST NO. 49: Admit that during your tenure at VBF, at least one of the Defendants
represented that each six-tank pod will produce approximately 120,000 pounds annually.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel their belief that upon improved water quality
and dissolved O2 levels and with stocking larger fry, they hoped each six-pod tank could
produce 120,000 pounds of fish annually. Defendants provided updates as to their progress
in testing this hypothesis at subsequent Board of Director meetings. Defendant denies the
remaining allegations of this Request

REQUEST NO. 50: Admit that VBF’s projected EBITDA was based on its represented tank
density and/or fish-stocking plan during your tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period for “projected EBITDA”, thus, Defendant
cannot know what facts are being admitted or denied. Subject to that objection and
without further clarification, Defendant admits VBF’s projections at the time of Alder
Aqua’s investment were based on Defendants’ belief that upon improved water quality and
dissolved O2 levels would increase tank density, stocking density and overall fish
production. Defendant denies the remaining allegations of this Request.


REQUEST NO. 51: Admit that at least one of the Defendants represented that VBF had
successfully stocked 1:1 pound of fish per gallon during your tenure at VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits that VBF represented that it had a test
tank that had successfully stocked 1:1 pound of fish per gallon. Defendant denies the
remaining allegations of this Request.

REQUEST NO. 52: Admit that the VBF tanks did not actually have a stocking rate of 1:1 pound
of fish per gallon during your tenure at VBF.



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       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period for “stocking rate”, thus, Defendant cannot
know what facts are being admitted or denied. Subject to that objection and without
further clarification, denied.


REQUEST NO. 53: Admit that Defendants represented to investors or potential investors that
opposing flows technology was previously successful and/or that it would very likely be
successful when implemented at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits, based on information provided to him
and other Defendants by Rick Sheriff and Mark Nelson, he believed the opposing flows
technology had been and would be successful when implemented, although there were risks
associated with implementing that technology in a larger tank system. Defendant denies
the remaining allegation of this Request.

REQUEST NO. 54: Admit that opposing flows technology was not successful at VBF during
your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“successful” is undefined and does not constitute a statement of fact, but a statement of
opinion or judgment. Subject to that objection, denied.


REQUEST NO. 55: Admit that VBF lost millions of dollars in value during your tenure at VBF.


       ANSWER: Defendants object to this Request as vague to the extent that the term
“value” is undefined and does not constitute a statement of fact, but a statement of opinion
or judgment. Subject to that objection, denied.


REQUEST NO. 56: Admit that you were paid over a $1,000,000 by VBF during your tenure at
VBF.

       ANSWER: Defendant objects this Request as vague to the extent that payments are
not sufficiently identified. Subject to that objection, with respect to Defendant’s tenure as a
VBF employee pursuant to his Employment Agreement, denied.

REQUEST NO. 57: Admit that VBF was losing money before Alder invested in VBF.


          ANSWER: Admit.


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REQUEST NO. 58: Admit that VBF spent $2 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 59: Admit that VBF spent approximately $1.5 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 60: Admit that VBF spent approximately $1 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 61: Admit that VBF spent approximately $2 million per month in 2016.


       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 62: Admit that VBF spent approximately $1.5 million per month in 2016.


       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 63: Admit that VBF spent approximately $1 million per month in 2016.


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       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 64: Admit that VBF spent approximately $2 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 65: Admit that VBF spent approximately $1.5 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 66: Admit that VBF spent approximately $1 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 67: Admit that at least one of the Defendants represented that Rick Sheriff was
VBF’s Chief Technology Officer during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits that Rick Sherriff signed a contract
with VBF in July 2016, to act as its Chief Technology Officer, which contract was approved
by the Board of Directors and specifically by Alder Aqua.

REQUEST NO. 68: Admit that no copyrights were issued to VBF during your tenure at VBF.




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       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 69: Admit that at least one of the Defendants had some ownership interest in
Opposing Flows Aquaculture.

       ANSWER: Defendant objects to this Request to the extent it does not define any
time period. Subject to that objection and without further clarification, Defendant admits
that Ted Rea, as registered agent, registered Opposing Flows Aquaculture, Inc. in late
2014, which would license the OFA technology to other growers but Defendant denies that
any shares in OFA or other ownership interest was granted to anyone. Once Alder Aqua
invested in VBF, it purchased the patents for the opposing flow technology and there was
no use for the OFA entity and it was closed. Defendant denies the remaining allegations of
this Request.

REQUEST NO. 70: Admit that there were complaints about the smell of VBF’s fish before
Norman McCowan started at VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who raised this complaint, to whom, where, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 71: Admit that VBF never implemented software and hardware tools that
allowed for integration of its operations.

       ANSWER: Defendant objects this Request as vague to the extent that the terms
“software and hardware tools” and “integration of operations” are not sufficiently defined.
Subject to that objection and without further clarification, denied. Answering further,
Defendant states VBF was utilizing Aqua Manager and NetSuite to manage and integrate
operations.


REQUEST NO. 72: Admit that VBF never had an operational research & development center.

          ANSWER: Admit.


REQUEST NO. 73: Admit that VBF never produced its own fish feed during your tenure at
VBF.

          ANSWER: Admit.




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REQUEST NO. 74: Admit that VBF never partnered with Iowa State University during your
tenure at VBF.

        ANSWER: Defendant objects this Request as vague to the extent that the term
“partnered with” is not sufficiently defined. Subject to that objection and without further
clarification, admitted. Answering further, Defendant states that VBF had engaged a
group of advisors, including staff from Iowa State University to assess collaborative
research opportunities but after Alder Aqua’s investment, Dr. Happel specifically
instructed Defendants not to share information or otherwise collaborate with any
universities.


REQUEST NO. 75: Admit that at least one of the Defendants projected VBF’s annual
production from the Urban Farm to be at least 8,000,000 pounds/year.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this projection, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2017, based on Defendants’ belief
that using larger fry and improving water quality and dissolved O2 levels and with the
addition of barns 6 and 7, VBF’s annual production from the Urban Farm was projected to
be 8,000,000 pounds per year. Defendants provided updates as to this projection at
subsequent Board of Director meetings. Defendant denies the remaining allegations of this
Request.


REQUEST NO. 76: Admit that VBF’s total production from January through October 2015 was
less than 200,000 pounds.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.



REQUEST NO. 77: Admit that there was never a market demand for 15 million pounds of
Barramundi in the United States.


        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.




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REQUEST NO. 78: Admit that VBF never produced 4.8 million pounds of fish in any given
year during your tenure at VBF.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 79: Admit that Defendants represented in October 2015 that VBF was valued at
$32.5 million.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“value” is undefined and does not constitute a statement of fact, but a statement of opinion
or judgment. Defendant further objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Defendant admits in investment marketing
materials provided to prospective investors, Defendants projected VBF’s value at $32.5
million.


REQUEST NO. 80: Admit that at least one of the Defendants provided data for the following
documents exhibited to VBF’s First Set of Interrogatories to Defendant Keith Driver (answer
each sub-part separately):

          a. “Executive Summary” and “Marketing Deck” attached as Exhibit 1.
          b. November 1, 2014 PowerPoint attached as Exhibit 2.
          c. the November 2014-April 2015 Opposing Flows Tank System Performance Data
             PowerPoint, attached as Exhibit 3.

          ANSWER: Admitted as to parts a, b and c.


REQUEST NO. 81: Admit that there were no designated growers for the alleged VBF Grower
Model as of December 31, 2016.


          ANSWER: Denied.


REQUEST NO. 82: Admit that VBF purchased U.S. Patent 6,065,430 and U.S. Patent
Application 14/289,623 for $2.75 million.

       ANSWER: Defendant objects to this Request as it does not identify any time
period. Subject to this objection, Defendant admits and after completing its due diligence
on VBF, Alder Aqua decided to purchase the patents as part of its investment. as part of


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Alder Aqua’s investment. Amstar Funds thus provided a bridge loan for VBF to purchase
US Patent 6,065,430 and U.S. Patent Application 14/289,623 from Rick Sheriff for $2.75
million. Defendant denies the remaining allegations of this Request.

REQUEST NO. 83: Admit that U.S. Patent 6,065,430 expired on October 10, 2017.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 84: Admit that one or more Defendants provided information to one or more
people from Fisheries Technology Associates to complete that organization’s “Technical
Assessment of Barramundi Production at VeroBlue Farms with a Focus on Iowa’s First: A Due
Diligence Assessment Consultation Report” dated July 2, 2015.

        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Keith Driver provided information to Bill
Manci at Fisheries Technology Associates to complete the identified Assessment in 2015 as
part of the due diligence conducted by Generation Investment Management in preparation
for its debt commitment to VBF.


REQUEST NO. 85: Admit that you have communicated with counsel (“Bankruptcy Counsel”)
in VBF’s pending bankruptcy case, Case No. 18-01297 In re: VeroBlue Farms USA, Inc., et al.
pending in the Northern District of Iowa (“Bankruptcy”).

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in this Request,
Defendant cannot admit to the truth or falsity of this Request, and this request may seek
disclosure of communications that are subject to attorney-client privilege and/or common
interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.

REQUEST NO. 86: Admit that you or one of your representatives has discussed dismissal of
this lawsuit with Bankruptcy Counsel.

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in this Request,
Defendant cannot admit to the truth or falsity of this Request and this request may seek
disclosure of communications that are subject to attorney-client privilege and/or common



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interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.

REQUEST NO. 87: Admit that one or more Defendants directly or through counsel requested
that the unsecured creditors committee demand that VBF dismiss this lawsuit against the
Defendants.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 88: Admit that you have provided information about Alder to Bankruptcy
Counsel.

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in these
Request, Defendant cannot admit to the truth or falsity of this Request, and this request
may seek communications that are subject to attorney-client privilege and/or common
interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.


REQUEST NO. 89: Admit that one or more Defendants, directly or through counsel, have
communicated with (a) Phillip Sheets; (b) Thomas Fawkes and/or Goldstein & McClintock LLP;
(c) Aaron Hammer and/or Horwood Marcus & Berk; or (d) any member of the Ad Hoc
Committee relating to the Bankruptcy.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 90: Admit that one or more Defendants directly or through counsel reviewed
and/or contributed to the December 19, 2018 letter signed by Thomas Fawkes relating to the
Bankruptcy, attached as Exhibit 4.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 91: Admit that Wulf signed a Warrant to Purchase Series A Preferred Shares of
VeroBlue Farms USA, Inc. dated July 7, 2016 between VeroBlue Farms USA, Inc. and Alder.



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          ANSWER: Admit.


REQUEST NO. 92: Admit that James Rea signed a Secretary’s Certificate dated July 7, 2016
between VeroBlue Farms, Inc. and Alder.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry without access to VBF’s books and records, he lacks sufficient
knowledge or information to form a belief as to the truth or falsity of this Request, and it is
therefore, denied.


REQUEST NO. 93: Admit that the proposal to restructure VBF’s Canadian affiliate was not
executed.

        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what proposal it is referring to, who made the proposal, to
whom, and when it was proposed and thus, Defendant cannot know what facts are being
admitted or denied. Subject to these objections and without further clarification,
Defendant lacks sufficient knowledge or information to form a belief as to the truth or
falsity of this request and it is therefore, denied.


REQUEST NO. 94: Admit that one or more Defendants approved Amstar Group, LLC
(“Amstar”) and Alder’s debt and equity infusions instead of a capital infusion from Generation
Investment Management.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not specify any time period for the described debt and equity infusions and
thus, Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, denied. Answering further, Defendant states
that when Alder Aqua offered its equity infusion into VBF in July 2016, Alder Aqua
mandated that Amstar’s debt financing be part of this infusion and Alder Aqua refused to
allow Generation Investment Management to issue debt or invest equity VBF.


REQUEST NO. 95: Admit that Alder was not involved in VBF until July 2016.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “involved in VBF” is undefined and thus, Defendant cannot know what
facts are being admitted or denied. Subject to these objections and without further
clarification, denied. Alder Aqua was engaged in due diligence surrounding its investment
in VBF prior to July 2016.




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REQUEST NO. 96: Admit that between July 2016 and August 2017, only two of seven
directors were appointed by Alder.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify which entity’s directors were appointed by Alder. Subject to
this objection, Defendant states between July 2016 and August 2017, two of VBF’s
directors were appointed by Alder, but that Alder also controlled the board of Amstar,
VBF’s sole lender. Defendant denies the remaining allegations of this Request.


REQUEST NO. 97: Admit that between August 2017 and October 24, 2017, only two of seven
directors were appointed by Alder.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify which entity’s directors were appointed by Alder. Subject to
this objection, Defendant states that between August 2017 and October 24, 2017, two of
VBF’s directors were appointed by Alder, but that Alder also controlled the board of
Amstar, VBF’s sole lender. Defendant denies the remaining allegations of this Request.


REQUEST NO. 98: Admit that Terry Lyons resigned from the Board of Directors in or before
March 2018 and was never replaced.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 99: Admit that Alder invested at least $50 million in VBF during your tenure at
VBF.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.



REQUEST NO. 100: Admit that no VBF investor has lost more money than Alder during your
tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “lost more money” is undefined and thus, Defendant cannot know what
facts are being admitted or denied. Subject to these objections and without further



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clarification, denied. Defendant has no knowledge or information as to what Alder Aqua’s
actual gains or losses on its investment in VBF may be.


REQUEST NO. 101: Admit that by July 7, 2016, one or more Defendants knew that VBF
would pursue the corporate farm model over the Grower Model.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “corporate farm model” is undefined and thus, Defendant cannot know
what facts are being admitted or denied. Subject to these objections and without further
clarification, denied.


REQUEST NO. 102: Admit that VBF was in default of its credit facility with Amstar in 2016.

      ANSWER: Defendant objects to this Request as the time period of the entire
calendar year of 2016 is vague and the term “default” is undefined and thus, Defendant
cannot know what facts are being admitted or denied. Subject to these objections,
Defendant denies that Amstar declared VBF to be default in 2016. Answering further,
Defendant states that based on negative EBITDA covenants in the Amstar credit facilities,
VBF would have been in default the first day, but that Amstar directed, controlled and
approved all payments from the facility, including debt payment.


REQUEST NO. 103: Admit that Amstar did not declare VBF’s default until 2017.

      ANSWER: Defendant admits that Amstar sent VBF a notice of default in late 2017.
Defendant denies the remaining allegations of this request.


REQUEST NO. 104: Admit that Alder introduced ING Capital LLC (“ING”) to VBF.

        ANSWER: Defendant admits Alder introduced ING Europe to VBF and that ING
Europe was affiliated with ING Capital LLC. Defendant denies the remaining allegations
of this Request.


REQUEST NO. 105: Admit that VBF would not have been able to satisfy the covenants under
an ING revolving credit facility discussed with VBF.

       ANSWER: Defendant objects to this Request to the extent it requests admission of a
hypothetical situation and not a fact. Defendant further objects to this Request to the
extent it does not identify any time period and thus, Defendant cannot know what facts are
being admitted or denied. Subject to these objections and without further clarification,
denied.


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REQUEST NO. 106: Admit that one or more Defendants provided information to
PriceWaterhouse for a financial audit of VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not specify any time period for the described audit and thus, Defendant
cannot know what facts are being admitted or denied. Subject to these objections and
without further clarification, Defendant admits that they provided information about VBF
to Pricewaterhouse Coopers for audits of VBF in 2016 and 2017.

REQUEST NO. 107: Admit that Jackson Walker LLP was VBF’s corporate counsel from some
time in 2014 to sometime in 2017.

      ANSWER: Defendant admits that from 2014 until his termination from VBF in
November 2017, Jackson Walker LLP was VBF’s corporate counsel. Defendant lacks
knowledge or information sufficient to form a belief as to the truth or falsity of the
remaining allegations in this Request and therefore, denies them.


REQUEST NO. 108: Admit that Jackson Walker LLP currently continues to represent at least
one of the Defendants or at least one of the Defendants’ Affiliated Entities.


          ANSWER: Denied.


REQUEST NO. 109: Admit that FishDish LLC did not appoint a member to VBF’s Board of
Directors after Ken Lockard’s departure as a director in 2018.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.




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                                                     Respectfully submitted,

                                                     Underwood Perkins, P.C.

                                          By:        /s/ Kimberly D. Annello
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                                                     Attorney for Defendants

                                                     Certificate of Service

       I hereby certify that a true and correct copy of the above and foregoing instrument has
been served upon all counsel of record, as listed below, on this 3rd day of April 2019 via ECF
and/or E-Mail:
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                                                                          Kimberly D. Annello



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                          EXHIBIT E




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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION


VEROBLUE FARMS USA, INC.,        )
                                 )                  Plaintiff,
                                 )
v.                               )                                         Case No. 3:19-CV-00764-L
                                 )
LESLIE A. WULF, BRUCE A. HALL, )
JAMES REA, JOHN E. REA, AND )
KEITH DRIVER,                    )
                     Defendants. )

                 DEFENDANT LESLIE WULF’S RESPONSES TO PLAINTIFF’S
                       FIRST REQUEST FOR ADMISSION OF FACT

          Defendant, LESLIE A. WULF (“Defendant” or “Wulf”), hereby responds to Plaintiff’s

First Request for Admission or Fact as follows:


                                RESPONSES TO REQUEST FOR ADMISSION


REQUEST NO. 1: Admit that one or more Defendants have an ownership interest and/or
control of BAJJER LLC.

          ANSWER:               Admit.


REQUEST NO. 2: Admit that one or more Defendants caused VBF to transfer 1,250,000 shares
of VeroBlue Farms, Inc. to BAJJER LLC for $1.25.

       ANSWER: Denied. Answering further, Defendant states Bajjer, LLC holds
1,250,000 shares of VBF in trust for Kelson Capital Inc. pursuant to a written agreement
between them, and that this fact was discussed in an independent due diligence report done
by Pricewaterhouse Coopers for Jens Haarkoetter of Alder Aqua on or about June 20,
2016.

REQUEST NO. 3: Admit that one or more Defendants have an ownership interest and/or assert
control in BAJJER II, LLC.

          ANSWER: Admit.



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REQUEST NO. 4: Admit that American Growth Funding, LLC (“AGF”) loaned approximately
$78,000 to BAJJER II, LLC which grew to $101,000 with interest.

          ANSWER:               Admit.

REQUEST NO. 5: Admit that AGF loaned BAJJER approximately $200,000.

        ANSWER: Defendant admits that AGF loaned Bajjer $200,000 in or about June 30,
2015, but states that the purpose of this loan was to pass through funds for operational
costs of VBF. Defendant denies the remaining allegations of this request.


REQUEST NO. 6: Admit that BAJJER transferred AGF’s loan of approximately $200,000 to
VBF.

        ANSWER: Defendant admits the $200,000 that AGF loaned Bajjer was transferred
to VBF on July 1, 2015 because VBF needed the funds for operations, but AGF would only
loan the funds to Bajjer and not directly to VBF. Defendant denies the remaining
allegations of this Request.


REQUEST NO. 7: Admit that on or about July 8, 2016, VBF paid AGF approximately
$375,000.

      ANSWER: Defendant admits that VBF paid AGF approximately $375,000 in July
2016, pursuant to an agreement among Alder Aqua and Alder Aqua’s counsel, Davis
Graham & Stubbs (“DGS”), and AGF to repay the loan from AGF to Bajjer directly from
VBF to AGF. This repayment and the payment of 26 other bridge loans was disclosed and
approved by Alder Aqua and DGS in a sources and uses of funds statement provided to
them on July 8, 2016. Defendant denies the remaining allegations of this Request.


REQUEST NO. 8: Admit that between December 1, 2015 and June 30, 2016, Gregg Sedun
and/or Alcaron Capital Corporation loaned VBF approximately $250,000.

      ANSWER: Defendant admits that Alcaron Capital Corporation loaned VFB
approximately $250,000. Defendant denies remaining allegations of this request.

REQUEST NO. 9: Admit that on or about July 12, 2016, one or more Defendants cause VBF to
pay Alcaron Capital Corporation approximately $326,056 in repayment for the loans described
in Request No. 8.

       ANSWER: Defendant admits that VBF paid Alcaron $326,056 in accordance with
the sources and uses of funds statement provided to Alder Aqua and DGS on or about July
8, 2016. Defendant denies the remaining allegations of this Request.




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REQUEST NO. 10: Admit that on or about July 14, 2016, Gregg Sedun loaned Wulf $225,000.

          ANSWER:               Admit.


REQUEST NO. 11: Admit that one or more Defendants received twice their monthly
compensation from VBF in July 2016.

        ANSWER: Denied.      Defendant was compensated by VBF pursuant to a
management consulting agreement until Alder Aqua’s investment in July 2016. The
consulting agreement paid Defendant in arrears. Upon Alder Aqua’s investment,
Defendant became an employee of VBF. Thus, upon closing of Alder Aqua’s investment,
Defendant was paid for his final month of consulting services (June 2016). This was
disclosed to and approved by Alder Aqua and DGS. Defendant denies the remaining
allegations of this Request.

REQUEST NO. 12: Admit that one or more Defendants directed or caused VBF to employ
Christine Gagne during your tenure to VBF.

      ANSWER: Denied. Answering further, Defendant states Christine Gagne was an
independent contractor, not an employee of VBF.


REQUEST NO. 13: Admit that one or more Defendants directed or caused VBF to pay
Christine Gagne under the name “Ronnie O’Brien” during your tenure at VBF.

       ANSWER: Admitted that Christine Gagne was paid as an independent
contractor, under the name “Ronnie O’Brien.” Defendant denies remaining allegations of
this Request.


REQUEST NO. 14: Admit that, during at least some of the time she was on VBF’s payroll,
Christine Gagne was a Canadian national who was not authorized to work in the United States.

      ANSWER:                    Denied. Christine Gagne was an independent contractor, and not on
VBF’s payroll.


REQUEST NO. 15: Admit that one or more Defendants caused VBF to buy six tractor-trailers.

       ANSWER: Denied. The purchase of six tractor trailers was presented to, approved
by, and directed by VBF’s Board of Directors in two separate board resolutions.


REQUEST NO. 16: Admit that VBF’s selling of live fish did not require the transportation of
fish in all of the tractor-trailers.



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        ANSWER: Defendant objects to this Request as vague, nonsensical and not
calling for the admission of a fact, but a statement of opinion or judgment. Subject to that
objection, denied.


REQUEST NO. 17: Admit that VBF could not sell fish as quickly as one or more Defendants
represented to Cardinal Farms that VBF could sell fish.

       ANSWER: Defendants object to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendants cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 18: Admit that one or more of the Defendants knew by July 2016 that the
Grower Model would not be implemented and/or would not be successful if implemented.

      ANSWER:        Denied. Defendants planned to pursue a Grower Model until Alder
Aqua representatives directed otherwise.


REQUEST NO. 19: Admit that at least one of the Defendants requested or directed that one or
more employees of VBF remove the mortality tally sheets from one or more tanks during your
tenure at VBF.

          ANSWER:                Denied.


REQUEST NO. 20: Admit that at least one of the Defendants misrepresented information
relating to VBF’s FCR to potential VBF investors and/or lenders.

          ANSWER:               Denied.


REQUEST NO. 21: Admit that at least one of the Defendants sought to keep visitors from
seeing VBF’s grow tanks on at least one occasion.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period and thus, Defendant cannot know what facts
are being admitted or denied. Subject to that objection, Defendant states that Jens
Haarkoetter, a VBF Director and representative of both Amstar Funds and Alder Aqua,
and Dr. Otto Happel, beneficial owner of both Amstar and Alder Aqua, instructed all VBF
personnel, including Defendant, to limit visitation to the farms and to prohibit photographs
in order to prevent competitors from seeing and knowing VBF’s patented tank system,
growing practices and other features. Additionally, Defendant admits that when fish are
being stocked into tanks for the first time, it is common industry practice to limit visitation
for bio-security purposes. Defendant denies the remainder of this Request.

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REQUEST NO. 22: Admit that at least one of the Defendant’s represented an FCR of 1:1
during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 23: Admit that VBF’s FCR was never 1:1 during a grow-out phase for any lot
or batch of fish during your tenure at VBF.

          ANSWER:               Denied.


REQUEST NO. 24: Admit that at least one of the Defendants represented an FCR at or near
1.038:1 during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 25: Admit that VBF’s FCR was never at or near 1.038:1 during a grow-out
phase for any lot or batch of fish during your tenure at VBF.

          ANSWER:               Denied.


REQUEST NO. 26: Admit that at least one of the Defendants represented an FCR of at or near
1.04 during a grow-out phase for a lot or batch during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 27: Admit that VBF’s FCR was never at or near 1.04 during a grow-out phase
for any lot or batch during your tenure at VBF.

          ANSWER:               Denied.




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REQUEST NO. 28: Admit that at least one of the Defendants concealed information from non-
Defendant VBF directors relating to the mortality rates on at least one occasion during your
tenure at VBF.

       ANSWER: Denied. Answering further, Defendant did not provide data on
mortality rates to VBF directors; Katie Olson, VBF employee, prepared a report that was
circulated to the Board of Directors and to Amstar, and Defendant understood that Amstar
prepared its own version of the report to Alder Aqua on a monthly basis.


REQUEST NO. 29: Admit that VBF’s actual mortality rate was higher than at least one of the
Defendants represented during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what representation was made, by whom, to whom, and when
and thus, Defendant cannot know what facts are being admitted or denied. Subject to that
objection and without further clarification, denied.


REQUEST NO. 30: Admit that Ted Rea knew of that thousands of fish had recently died at the
Saint Louis farm at the time of VBF’s Board of Directors meeting in September 2017.

       ANSWER: Defendant admits Ted Rea knew that certain fish had died at VBF’s
Saint Louis farm before September 2017 and admits that Mr. Rea discussed this fact with
the directors during or within a few days of the September 2017 Board of Directors
meeting. Defendant denies the remaining allegations of this request.


REQUEST NO. 31: Admit that the Defendants failed to implement a Fry Quarantine facility
even after an extreme death loss event.

      ANSWER: Denied. At the time of Defendant’s termination from VBF, a portion of
VBF’s Blairsburg farm was being repurposed for a Fry Quarantine system.

REQUEST NO. 32: Admit that Defendants did not report the extent of all mortality events to
the VBF Board of Directors during your tenure at VBF.

      ANSWER: Denied. Monthly reports were provided to the VBF Board of Directors
during Defendant’s tenure as an officer.


REQUEST NO. 33: Admit that at least one of the Defendants, on at least one occasion,
misrepresented death loss bio masses in the Monthly Management Reports issued to the Board of
Directors.

          ANSWER: Denied.


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REQUEST NO. 34: Admit that in the fish industry mortality rates are reported cumulatively by
adding together the number of fish per batch that die per month.


          ANSWER: Denied. The industry uses a bio-mass metric for reporting mortality
rates.


REQUEST NO. 35: Admit that at least one of the Defendants reported mortality rates non-
cumulatively to the VBF Board of Directors during your tenure at VBF.

          ANSWER: Denied.


REQUEST NO. 36: Admit that at least one of the Defendants concealed information relating to
the fish stocking density during your tenure VBF.


          ANSWER: Denied.

REQUEST NO. 37: Admit that at least one of the Defendants misrepresented information
relating to the fish stocking density to non-Defendant VBF Directors on at least one occasion
during your tenure at VBF.

          ANSWER: Denied.


REQUEST NO. 38: Admit that at least one of the Defendants represented that the VBF tanks
could safely hold .75 pounds/gallon during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Defendant admits in 2016 and 2017,
Defendants presented to VBF’s Board their belief that upon improved water quality and
dissolved O2 levels, they expected VBF tanks could hold .75 pounds of fish per gallon of
water. Defendants were conducting trials of this hypothesis at the Buckeye facility and
provided updates as to their progress in testing this hypothesis at subsequent Board of
Director meetings. Defendant denies the remaining allegations of this Request.


REQUEST NO. 39: Admit that at least one of the Defendants represented a VBF fish-stocking
plan at 15,000 fingerlings per tank on at least one occasion to third parties during your tenure at
VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,

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Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved
water quality and dissolved O2 levels, they expected VBF tanks could hold 15,000
fingerlings per tank. Defendants provided updates as to their progress in testing this
hypothesis at subsequent Board of Director meetings. Defendant denies the remaining
allegations of this Request.


REQUEST NO. 40: Admit that at least one of the Defendants represented to third parties on at
least one occasion that VBF stocked 16,000 fish per six tank pod during your tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved
water quality and dissolved O2 levels and stocking tanks with larger fry, they expected VBF
tanks could hold 16,000 fish per six tank pods. Defendants provided updates as to their
progress in testing this hypothesis at subsequent Board of Director meetings. Defendant
denies the remaining allegations of this Request.


REQUEST NO. 41: Admit that at least one of the Defendants provided to Alder a document
noting a stocking rate of 16,000 fingerlings per pod every two months with a 1:1 pound of fish
per gallon of water stocking density during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation and when and thus, Defendant
cannot know what facts are being admitted or denied. Subject to that objection and
without further clarification, Defendant admits in 2016 and 2017, Defendants presented to
the VBF Board and Dr. Happel of Alder Aqua their belief that upon improved water
quality and dissolved O2 levels and stocking tanks with larger fry, they expected VBF tanks
could hold 16,000 fingerlings per pod. Defendants provided updates as to their progress in
testing this hypothesis at subsequent Board of Director meetings. Defendant denies the
remaining allegations of this Request.


REQUEST NO. 42: Admit that Driver informed a potential investor in early 2016 that VBF
could stock 16,000 fingerlings per tank.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify when this representation was made or to whom, and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


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REQUEST NO. 43: Admit that at least one of the Defendants represented that VBF successfully
stocked 16,000 fish/tank for an additional $11 million in EBITDA during your tenure at VBF.


      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 44: Admit that, at most, during your tenure at VBF, no more than four of 17
six-tank pods were stocked with 16,000 or more fish.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 45: Admit that VBF never met its stocking density goals during your tenure at
VBF.


          ANSWER: Denied.

REQUEST NO. 46: Admit that the mortality rate on the four batches of six tank pods that were
stocked with 16,000 or more fish was in reality 19% or higher during your tenure at VBF.


        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.

REQUEST NO. 47: Admit that at least one of the Defendants during your tenure at VBF
represented that VBF’s tanks could safely hold more barramundi than such tanks could hold in
reality.


      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 48: Admit that Sheriff represented to at least one of the Defendants that his
opposing flow system could safely handle 7,500 pounds per tank.


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       ANSWER:        Admit. Answering further, Defendant states that Mr. Sheriff
represented to VBF in 2015 and 2016 that his opposing flow system could handle 10,000
pounds of fish per tank.


REQUEST NO. 49: Admit that during your tenure at VBF, at least one of the Defendants
represented that each six-tank pod will produce approximately 120,000 pounds annually.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2016 and 2017, Defendants
presented to the VBF Board and Dr. Happel their belief that upon improved water quality
and dissolved O2 levels and with stocking larger fry, they hoped each six-pod tank could
produce 120,000 pounds of fish annually. Defendants provided updates as to their progress
in testing this hypothesis at subsequent Board of Director meetings. Defendant denies the
remaining allegations of this Request

REQUEST NO. 50: Admit that VBF’s projected EBITDA was based on its represented tank
density and/or fish-stocking plan during your tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period for “projected EBITDA”, thus, Defendant
cannot know what facts are being admitted or denied. Subject to that objection and
without further clarification, Defendant admits VBF’s projections at the time of Alder
Aqua’s investment were based on Defendants’ belief that upon improved water quality and
dissolved O2 levels would increase tank density, stocking density and overall fish
production. Defendant denies the remaining allegations of this Request.


REQUEST NO. 51: Admit that at least one of the Defendants represented that VBF had
successfully stocked 1:1 pound of fish per gallon during your tenure at VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits that VBF represented that it had a test
tank that had successfully stocked 1:1 pound of fish per gallon. Defendant denies the
remaining allegations of this Request.

REQUEST NO. 52: Admit that the VBF tanks did not actually have a stocking rate of 1:1 pound
of fish per gallon during your tenure at VBF.



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       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify any time period for “stocking rate”, thus, Defendant cannot
know what facts are being admitted or denied. Subject to that objection and without
further clarification, denied.


REQUEST NO. 53: Admit that Defendants represented to investors or potential investors that
opposing flows technology was previously successful and/or that it would very likely be
successful when implemented at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits, based on information provided to him
and other Defendants by Rick Sheriff and Mark Nelson, he believed the opposing flows
technology had been and would be successful when implemented, although there were risks
associated with implementing that technology in a larger tank system. Defendant denies
the remaining allegation of this Request.

REQUEST NO. 54: Admit that opposing flows technology was not successful at VBF during
your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“successful” is undefined and does not constitute a statement of fact, but a statement of
opinion or judgment. Subject to that objection, denied.


REQUEST NO. 55: Admit that VBF lost millions of dollars in value during your tenure at VBF.


       ANSWER: Defendants object to this Request as vague to the extent that the term
“value” is undefined and does not constitute a statement of fact, but a statement of opinion
or judgment. Subject to that objection, denied.


REQUEST NO. 56: Admit that you were paid over a $1,000,000 by VBF during your tenure at
VBF.

       ANSWER: Defendant objects this Request as vague to the extent that payments are
not sufficiently identified. Subject to that objection, with respect to Defendant’s tenure as a
VBF employee pursuant to his Employment Agreement, denied.

REQUEST NO. 57: Admit that VBF was losing money before Alder invested in VBF.


          ANSWER: Admit.


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REQUEST NO. 58: Admit that VBF spent $2 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 59: Admit that VBF spent approximately $1.5 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 60: Admit that VBF spent approximately $1 million per month in 2017.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 61: Admit that VBF spent approximately $2 million per month in 2016.


       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 62: Admit that VBF spent approximately $1.5 million per month in 2016.


       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


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REQUEST NO. 63: Admit that VBF spent approximately $1 million per month in 2016.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 64: Admit that VBF spent approximately $2 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 65: Admit that VBF spent approximately $1.5 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 66: Admit that VBF spent approximately $1 million per month in 2015.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“spent” is undefined and is subject to multiple interpretations. Subject to that objection,
Defendant states that he has conducted a reasonable inquiry and despite such inquiry
without access to VBF’s books and records, he lacks sufficient knowledge or information to
form a belief as to the truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 67: Admit that at least one of the Defendants represented that Rick Sheriff was
VBF’s Chief Technology Officer during your tenure at VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits that Rick Sherriff signed a contract
with VBF in July 2016, to act as its Chief Technology Officer, which contract was approved
by the Board of Directors and specifically by Alder Aqua.

REQUEST NO. 68: Admit that no copyrights were issued to VBF during your tenure at VBF.



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       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.

REQUEST NO. 69: Admit that at least one of the Defendants had some ownership interest in
Opposing Flows Aquaculture.

       ANSWER: Defendant objects to this Request to the extent it does not define any
time period. Subject to that objection and without further clarification, Defendant admits
that Ted Rea, as registered agent, registered Opposing Flows Aquaculture, Inc. in late
2014, which would license the OFA technology to other growers but Defendant denies that
any shares in OFA or other ownership interest was granted to anyone. Once Alder Aqua
invested in VBF, it purchased the patents for the opposing flow technology and there was
no use for the OFA entity and it was closed. Defendant denies the remaining allegations of
this Request.

REQUEST NO. 70: Admit that there were complaints about the smell of VBF’s fish before
Norman McCowan started at VBF.

      ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who raised this complaint, to whom, where, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, denied.


REQUEST NO. 71: Admit that VBF never implemented software and hardware tools that
allowed for integration of its operations.

       ANSWER: Defendant objects this Request as vague to the extent that the terms
“software and hardware tools” and “integration of operations” are not sufficiently defined.
Subject to that objection and without further clarification, denied. Answering further,
Defendant states VBF was utilizing Aqua Manager and NetSuite to manage and integrate
operations.


REQUEST NO. 72: Admit that VBF never had an operational research & development center.

          ANSWER: Admit.


REQUEST NO. 73: Admit that VBF never produced its own fish feed during your tenure at
VBF.

          ANSWER: Admit.




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REQUEST NO. 74: Admit that VBF never partnered with Iowa State University during your
tenure at VBF.

        ANSWER: Defendant objects this Request as vague to the extent that the term
“partnered with” is not sufficiently defined. Subject to that objection and without further
clarification, admitted. Answering further, Defendant states that VBF had engaged a
group of advisors, including staff from Iowa State University to assess collaborative
research opportunities but after Alder Aqua’s investment, Dr. Happel specifically
instructed Defendants not to share information or otherwise collaborate with any
universities.


REQUEST NO. 75: Admit that at least one of the Defendants projected VBF’s annual
production from the Urban Farm to be at least 8,000,000 pounds/year.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this projection, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to that objection
and without further clarification, Defendant admits in 2017, based on Defendants’ belief
that using larger fry and improving water quality and dissolved O2 levels and with the
addition of barns 6 and 7, VBF’s annual production from the Urban Farm was projected to
be 8,000,000 pounds per year. Defendants provided updates as to this projection at
subsequent Board of Director meetings. Defendant denies the remaining allegations of this
Request.


REQUEST NO. 76: Admit that VBF’s total production from January through October 2015 was
less than 200,000 pounds.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.



REQUEST NO. 77: Admit that there was never a market demand for 15 million pounds of
Barramundi in the United States.


        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.




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REQUEST NO. 78: Admit that VBF never produced 4.8 million pounds of fish in any given
year during your tenure at VBF.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 79: Admit that Defendants represented in October 2015 that VBF was valued at
$32.5 million.

       ANSWER: Defendant objects to this Request as vague to the extent that the term
“value” is undefined and does not constitute a statement of fact, but a statement of opinion
or judgment. Defendant further objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Defendant admits in investment marketing
materials provided to prospective investors, Defendants projected VBF’s value at $32.5
million.


REQUEST NO. 80: Admit that at least one of the Defendants provided data for the following
documents exhibited to VBF’s First Set of Interrogatories to Defendant Keith Driver (answer
each sub-part separately):

          a. “Executive Summary” and “Marketing Deck” attached as Exhibit 1.
          b. November 1, 2014 PowerPoint attached as Exhibit 2.
          c. the November 2014-April 2015 Opposing Flows Tank System Performance Data
             PowerPoint, attached as Exhibit 3.

          ANSWER: Admitted as to parts a, b and c.


REQUEST NO. 81: Admit that there were no designated growers for the alleged VBF Grower
Model as of December 31, 2016.


          ANSWER: Denied.


REQUEST NO. 82: Admit that VBF purchased U.S. Patent 6,065,430 and U.S. Patent
Application 14/289,623 for $2.75 million.

       ANSWER: Defendant objects to this Request as it does not identify any time
period. Subject to this objection, Defendant admits and after completing its due diligence
on VBF, Alder Aqua decided to purchase the patents as part of its investment. as part of


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Alder Aqua’s investment. Amstar Funds thus provided a bridge loan for VBF to purchase
US Patent 6,065,430 and U.S. Patent Application 14/289,623 from Rick Sheriff for $2.75
million. Defendant denies the remaining allegations of this Request.

REQUEST NO. 83: Admit that U.S. Patent 6,065,430 expired on October 10, 2017.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.


REQUEST NO. 84: Admit that one or more Defendants provided information to one or more
people from Fisheries Technology Associates to complete that organization’s “Technical
Assessment of Barramundi Production at VeroBlue Farms with a Focus on Iowa’s First: A Due
Diligence Assessment Consultation Report” dated July 2, 2015.

        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify who made this representation, to whom, and when and thus,
Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, Keith Driver provided information to Bill
Manci at Fisheries Technology Associates to complete the identified Assessment in 2015 as
part of the due diligence conducted by Generation Investment Management in preparation
for its debt commitment to VBF.


REQUEST NO. 85: Admit that you have communicated with counsel (“Bankruptcy Counsel”)
in VBF’s pending bankruptcy case, Case No. 18-01297 In re: VeroBlue Farms USA, Inc., et al.
pending in the Northern District of Iowa (“Bankruptcy”).

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in this Request,
Defendant cannot admit to the truth or falsity of this Request, and this request may seek
disclosure of communications that are subject to attorney-client privilege and/or common
interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.

REQUEST NO. 86: Admit that you or one of your representatives has discussed dismissal of
this lawsuit with Bankruptcy Counsel.

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in this Request,
Defendant cannot admit to the truth or falsity of this Request and this request may seek
disclosure of communications that are subject to attorney-client privilege and/or common



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interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.

REQUEST NO. 87: Admit that one or more Defendants directly or through counsel requested
that the unsecured creditors committee demand that VBF dismiss this lawsuit against the
Defendants.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 88: Admit that you have provided information about Alder to Bankruptcy
Counsel.

        ANSWER: Defendant objects to this Request as vague and incomprehensible as
there are over 5 sets of counsel who have appeared in the Bankruptcy. Without further
clarification and identification of which “Bankruptcy Counsel” is targeted in these
Request, Defendant cannot admit to the truth or falsity of this Request, and this request
may seek communications that are subject to attorney-client privilege and/or common
interest privilege. Subject to these objections, Defendant can neither admit nor deny this
Request.


REQUEST NO. 89: Admit that one or more Defendants, directly or through counsel, have
communicated with (a) Phillip Sheets; (b) Thomas Fawkes and/or Goldstein & McClintock LLP;
(c) Aaron Hammer and/or Horwood Marcus & Berk; or (d) any member of the Ad Hoc
Committee relating to the Bankruptcy.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 90: Admit that one or more Defendants directly or through counsel reviewed
and/or contributed to the December 19, 2018 letter signed by Thomas Fawkes relating to the
Bankruptcy, attached as Exhibit 4.

       ANSWER: Defendant objects to this Request on the grounds that it seeks
communications subject to attorney-client and/or common interest privilege. Subject to this
objection, Defendant can neither admit nor deny this Request.


REQUEST NO. 91: Admit that Wulf signed a Warrant to Purchase Series A Preferred Shares of
VeroBlue Farms USA, Inc. dated July 7, 2016 between VeroBlue Farms USA, Inc. and Alder.



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          ANSWER: Admit.


REQUEST NO. 92: Admit that James Rea signed a Secretary’s Certificate dated July 7, 2016
between VeroBlue Farms, Inc. and Alder.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry without access to VBF’s books and records, he lacks sufficient
knowledge or information to form a belief as to the truth or falsity of this Request, and it is
therefore, denied.


REQUEST NO. 93: Admit that the proposal to restructure VBF’s Canadian affiliate was not
executed.

        ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify what proposal it is referring to, who made the proposal, to
whom, and when it was proposed and thus, Defendant cannot know what facts are being
admitted or denied. Subject to these objections and without further clarification,
Defendant lacks sufficient knowledge or information to form a belief as to the truth or
falsity of this request and it is therefore, denied.


REQUEST NO. 94: Admit that one or more Defendants approved Amstar Group, LLC
(“Amstar”) and Alder’s debt and equity infusions instead of a capital infusion from Generation
Investment Management.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not specify any time period for the described debt and equity infusions and
thus, Defendant cannot know what facts are being admitted or denied. Subject to these
objections and without further clarification, denied. Answering further, Defendant states
that when Alder Aqua offered its equity infusion into VBF in July 2016, Alder Aqua
mandated that Amstar’s debt financing be part of this infusion and Alder Aqua refused to
allow Generation Investment Management to issue debt or invest equity VBF.


REQUEST NO. 95: Admit that Alder was not involved in VBF until July 2016.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “involved in VBF” is undefined and thus, Defendant cannot know what
facts are being admitted or denied. Subject to these objections and without further
clarification, denied. Alder Aqua was engaged in due diligence surrounding its investment
in VBF prior to July 2016.




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REQUEST NO. 96: Admit that between July 2016 and August 2017, only two of seven
directors were appointed by Alder.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify which entity’s directors were appointed by Alder. Subject to
this objection, Defendant states between July 2016 and August 2017, two of VBF’s
directors were appointed by Alder, but that Alder also controlled the board of Amstar,
VBF’s sole lender. Defendant denies the remaining allegations of this Request.


REQUEST NO. 97: Admit that between August 2017 and October 24, 2017, only two of seven
directors were appointed by Alder.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not identify which entity’s directors were appointed by Alder. Subject to
this objection, Defendant states that between August 2017 and October 24, 2017, two of
VBF’s directors were appointed by Alder, but that Alder also controlled the board of
Amstar, VBF’s sole lender. Defendant denies the remaining allegations of this Request.


REQUEST NO. 98: Admit that Terry Lyons resigned from the Board of Directors in or before
March 2018 and was never replaced.

       ANSWER: Defendant states that he has conducted a reasonable inquiry and
despite such inquiry, he lacks sufficient knowledge or information to form a belief as to the
truth or falsity of this Request, and it is therefore, denied.


REQUEST NO. 99: Admit that Alder invested at least $50 million in VBF during your tenure at
VBF.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.



REQUEST NO. 100: Admit that no VBF investor has lost more money than Alder during your
tenure at VBF.


       ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “lost more money” is undefined and thus, Defendant cannot know what
facts are being admitted or denied. Subject to these objections and without further



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clarification, denied. Defendant has no knowledge or information as to what Alder Aqua’s
actual gains or losses on its investment in VBF may be.


REQUEST NO. 101: Admit that by July 7, 2016, one or more Defendants knew that VBF
would pursue the corporate farm model over the Grower Model.


        ANSWER: Defendant objects to this Request as vague and incomprehensible
because the term “corporate farm model” is undefined and thus, Defendant cannot know
what facts are being admitted or denied. Subject to these objections and without further
clarification, denied.


REQUEST NO. 102: Admit that VBF was in default of its credit facility with Amstar in 2016.

      ANSWER: Defendant objects to this Request as the time period of the entire
calendar year of 2016 is vague and the term “default” is undefined and thus, Defendant
cannot know what facts are being admitted or denied. Subject to these objections,
Defendant denies that Amstar declared VBF to be default in 2016. Answering further,
Defendant states that based on negative EBITDA covenants in the Amstar credit facilities,
VBF would have been in default the first day, but that Amstar directed, controlled and
approved all payments from the facility, including debt payment.


REQUEST NO. 103: Admit that Amstar did not declare VBF’s default until 2017.

      ANSWER: Defendant admits that Amstar sent VBF a notice of default in late 2017.
Defendant denies the remaining allegations of this request.


REQUEST NO. 104: Admit that Alder introduced ING Capital LLC (“ING”) to VBF.

        ANSWER: Defendant admits Alder introduced ING Europe to VBF and that ING
Europe was affiliated with ING Capital LLC. Defendant denies the remaining allegations
of this Request.


REQUEST NO. 105: Admit that VBF would not have been able to satisfy the covenants under
an ING revolving credit facility discussed with VBF.

       ANSWER: Defendant objects to this Request to the extent it requests admission of a
hypothetical situation and not a fact. Defendant further objects to this Request to the
extent it does not identify any time period and thus, Defendant cannot know what facts are
being admitted or denied. Subject to these objections and without further clarification,
denied.


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REQUEST NO. 106: Admit that one or more Defendants provided information to
PriceWaterhouse for a financial audit of VBF.

       ANSWER: Defendant objects to this Request as vague and incomprehensible
because it does not specify any time period for the described audit and thus, Defendant
cannot know what facts are being admitted or denied. Subject to these objections and
without further clarification, Defendant admits that they provided information about VBF
to Pricewaterhouse Coopers for audits of VBF in 2016 and 2017.

REQUEST NO. 107: Admit that Jackson Walker LLP was VBF’s corporate counsel from some
time in 2014 to sometime in 2017.

      ANSWER: Defendant admits that from 2014 until his termination from VBF in
November 2017, Jackson Walker LLP was VBF’s corporate counsel. Defendant lacks
knowledge or information sufficient to form a belief as to the truth or falsity of the
remaining allegations in this Request and therefore, denies them.


REQUEST NO. 108: Admit that Jackson Walker LLP currently continues to represent at least
one of the Defendants or at least one of the Defendants’ Affiliated Entities.


          ANSWER: Denied.


REQUEST NO. 109: Admit that FishDish LLC did not appoint a member to VBF’s Board of
Directors after Ken Lockard’s departure as a director in 2018.

        ANSWER: Defendant states that he has conducted a reasonable inquiry and despite
such inquiry, he lacks sufficient knowledge or information to form a belief as to the truth
or falsity of this Request, and it is therefore, denied.




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                                                     Respectfully submitted,

                                                     Underwood Perkins, P.C.

                                           By:       /s/ Kimberly D. Annello
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                                                     Attorney for Defendants

                                                     Certificate of Service

       I hereby certify that a true and correct copy of the above and foregoing instrument has
been served upon all counsel of record, as listed below, on this 3rd day of April 2019 via ECF
and/or E-Mail:
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                          EXHIBIT F




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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF IOWA
                                       CENTRAL DIVISION


VEROBLUE FARMS USA, INC.,                                   )
                                                            )
Plaintiff,                                                  )
                                                            )   Case No. 3:18-cv-03047-LTS-MAR
v.                                                          )
                                                            )
LESLIE A. WULF, BRUCE A. HALL,                              )
JAMES REA, JOHN E. REA, AND                                 )
KEITH DRIVER,                                               )
                                                            )
Defendants.


                         DEFENDANT BRUCE A. HALL’s RESPONSES TO
                        PLAINTIFF’S FIRST SET OF INTERROGATORIES


      COMES NOW, Defendant, Bruce A. Hall (“Hall”), in the above-entitled and
numbered cause, and submits these responses to Plaintiffs’ First Set of Interrogatories.

                                   I.
          DEFENDANTS RESPONSES TO FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify all of Defendants’ Affiliated Entities, including the
identity of all shareholders, owners, managers, and/or directors.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Hall further objects to this
Interrogatory because it seeks information that it not relevant or reasonably calculated
to lead to the discovery of evidence relevant to the claims or defenses raised in this
matter.



INTERROGATORY NO. 2: Identify all banks or other financial institutions to which you,
Defendants’ Affiliated Entities, or Defendants’ Family have been named an account holder, had
rights to withdraw funds, and/or did withdraw funds, including the account numbers, name of
account holder(s), dates account has been held, and type of account.


ANSWER: Hall objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Hall also objects to this

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Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. Hall further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or
defenses raised in this matter.

INTERROGATORY NO. 3: Identify all real estate owned by you, any member of Defendants’
Family, and/or any of Defendants’ Affiliated Entities, directly or indirectly (i.e. through a trust or
other entity) by address, purchase price, listed sales price, and identity of lenders.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Hall also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. Hall further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or
defenses raised in this matter.


INTERROGATORY NO. 4: Identify all travel by plane by any one of the Defendants or
Defendants’ Family to the extent VBF funded any portion of such travel by date, identity of
travelers, airlines, identity of payor of expenses, and purpose of travel.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, Hall cannot identify all travel that he or other Defendants
made during his tenure at VBF that may have been funded by VBF. Hall states that VBF
did not fund any plane travel for any of his family members during his tenure at VBF.
Documents further responsive to this Interrogatory will be produced and additional
responsive documents may be within Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 5: Identify all of your living expenses, including but not limited to,
rent, mortgage, other housing, utilities, and/or food, paid in any part by VBF, stating the identity
of the relevant vendor(s), amount(s), date(s) of payments, and reason that VBF paid such amount.

ANSWER: Hall objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Hall further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter. Hall further objects to this Interrogatory
to the extent it seeks information and records in Plaintiff’s exclusive possession that he
does not have possession or control over or access to them to further respond.
Documents further responsive to this Interrogatory will be produced and additional
responsive documents may be within Plaintiff’s exclusive possession and control. Subject

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to these objections, Hall states that while serving as CFO of VBF, he traveled to Iowa
from his home in Coppell, Texas, and stayed in Webster City while working for VBF, an
average of twice per month. Hall’s expenses incurred in traveling to and from Iowa and
meals while there were expensed to VBF. Hall did not expense accommodations to VBF
during these stays because he stayed in the house that VBF had purchased in Webster
City. Hall states that any expenses reimbursed or paid by VBF were submitted to and
approved by VBF in accordance with company policies in place at the time. These
reports and other documents further responsive to this Interrogatory are within
Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 6: Identify all institutional and non-institutional lenders in VBF for
which VBF submitted any form of application, whether or not the financing was secured, and the
amount of each loan, the date of each loan, and the use or uses of the loan by VBF.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, Hall believes that VBF may have submitted applications
for loans had discussions regarding loans with Generation Investment Management,
Texas Pacific Bank, and Rabo Bank. Documents further responsive to this Interrogatory
will be produced and additional responsive documents may be within Plaintiff’s
exclusive possession and control.

INTERROGATORY NO. 7: Identify all amounts that the Defendants invested in VBF.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Hall further objects to this Interrogatory because the
term “invested in” is vague and subject to multiple interpretations. Subject to these
objections, and without access to Plaintiff’s books and records, Hall states that all
Defendants went long periods without compensation for their work launching VBF, and
personally guaranteed bridge loans for the company, including one such loan for
$2,7000,000 for purchase of the Electrolux building in Webster City. Defendants each
purchased their shares of VBF Canada for cash at $0.000001 per share. Documents
responsive to this Interrogatory will be produced and additional responsive documents
may be within Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 8: Identify all investors in VBF, the amount of each investment, the
date of each investment, and the specific use or uses of the investment by VBF.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, Hall believes that in July 2016 preferred equity

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investments in VBF were made by: i) FishDish, LLC in the amount of $6,000,000 and ii)
Alder Aqua Ltd. in the amount of $28,000,000. Additionally, Hall believes that there
were over 100 investors in VBF Canada at share prices between $0.50 and $0.90 per
share. Documents further responsive to this Interrogatory will be produced and
additional documents may be within Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 9: Identify all amounts (by date, amount, and reason for payment)
that Defendants or Defendants’ Family received directly or indirectly from VBF or Defendants’
Affiliated Entities through compensation, stock (including the value of stock at the time of
issuance), any kind of payment, reimbursement of expenses or otherwise and explain the basis of
said amounts.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Hall also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. Hall further
objects to this Interrogatory to the extent it seeks information and records in Plaintiff’s
exclusive possession that he does not have possession or control over or access to them to
further respond. Subject to these objections, Hall was paid $25,000.00 per month by
VBF from October 2014 through July 2016 as a consulting fee, pursuant to the
Management Services Agreement executed with VBF, BHDH Management, LLC and
VeroBlue Farms, Inc. (Canada) (VBF’s parent company) on October 1, 2014. Hall was
paid $33,333 per month in salary by VBF July 2016 through December 2017, pursuant
to his Employment Agreement dated July 1, 2016. Hall’s family entity purchased
3,300,000 shares of stock in VeroBlue Farms, Inc. (Canada) at $.000001 per share in Oct
18, 2014 and he was granted options to purchase 1,000,000 shares of common stock at
$1.00 per share in VBF pursuant to a Stock Option Agreement between him and VBF
dated July 8, 2016.       Documents further responsive to this Interrogatory will be
produced and additional responsive documents may be within Plaintiff’s exclusive
possession and control.



INTERROGATORY NO. 10: State VBF’s value as of December 31 of each year (or, for
2017, as of the date you resigned as an employee of VBF).

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, documents further responsive
to this Interrogatory will be produced and additional documents may be within
Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 11: Identify any and all valuations of VBF by conclusions of value,
date, identity of author, and purpose for which each valuation was accomplished.


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ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, documents further responsive to this Interrogatory will be
produced and additional documents may be within Plaintiff’s exclusive possession and
control.



INTERROGATORY NO. 12: Explain why VBF was valued at $32,500,000 in 2015, who
determined that value, and explain VBF’s approximate value at the time you resigned as an
employee of VBF and account for any drop in the value between the two valuations.

ANSWER: Hall objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Hall further objects to this Interrogatory as vague and
overbroad to the extent that “valued” is undefined and the calendar year 2015 is too
broad to permit a specific answer. Hall also objects to this Interrogatory to the extent it
seeks information and records in Plaintiff’s exclusive possession that Hall does not have
possession or control over in order to further respond. Subject to this objection, and
without access to Plaintiff’s books and records, Hall believes (but cannot confirm) that
the valuation was based upon a formula utilizing: i) the cash invested in VBF from
investors in Canada at prices from $0.50 to $0.90 per share, ii) the value related to the
purchase of the Iowa’s First Webster City operation, iii) the value of the shares issued
for an exclusive license for the technology and iv) a value for the exclusive North
American rights to Mainstream’s Australian Barramundi. These amounts were then
factored with an applicable multiple to obtain the VBF valuation. Documents further
responsive to this Interrogatory will be produced and additional documents may be
within Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 13: Identify (by approximate cost) all operating costs of VBF for
each month of 2015, 2016, and 2017, including but not limited to labor costs and utility expenses.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, documents further responsive to this Interrogatory will be
produced and additional documents may be within Plaintiff’s exclusive possession and
control.

INTERROGATORY NO. 14: State VBF’s net profits, gross profits, and loss for each month
of 2015, 2016, and 2017 (or as close to those dates as you are able to answer).

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to

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Plaintiff’s books and records, documents further responsive to this Interrogatory will be
produced and additional documents may be within Plaintiff’s exclusive possession and
control.


INTERROGATORY NO. 15: State you and your spouse’s current personal net worth, as well
as you and your spouse’s personal net worth as of December 31, 2018 and December 31, 2017.

ANSWER: Hall objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Hall further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter.



INTERROGATORY NO. 16: With regards to your trips to the State of Iowa state your mode
of travel, date of travel, reason for travel, identity of persons with whom you traveled and identity
of any source of funds for such travel.

ANSWER: Hall objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Hall further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter. Hall further objects to this Interrogatory
to the extent it seeks information and records in Plaintiff’s exclusive possession that he
does not have possession or control over or access to them to further respond.
Documents further responsive to this Interrogatory will be produced and additional
responsive documents may be within Plaintiff’s exclusive possession and control. Subject
to these objections, Hall states that while serving as CFO of VBF, he traveled to Iowa
from his home in Coppell, Texas, and stayed in Webster City while working for VBF, an
average of twice per month. Hall’s expenses incurred in traveling to and from Iowa and
meals while there were expensed to VBF. Hall did not expense accommodations to VBF
during these stays because he stayed in the house that VBF had purchased in Webster
City. Hall states that any expenses reimbursed or paid by VBF were submitted to and
approved by VBF in accordance with company policies in place at the time. These
reports and other documents further responsive to this Interrogatory are within
Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 17: For each Request for Admission of Fact issued by VBF to you
in the above-captioned matter for which you deny the matter in full or in part or issue any answer
other than a full and unequivocal admission, identify all factual bases for your denial or other
answer.

ANSWER: Hall objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Hall objects to this Interrogatory to the extent it seeks


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information about other defendants of which he has no personal knowledge. Subject to
these objections, Hall incorporates his responses to VBF’s Requests for Admission,
served April 3, 2019.



INTERROGATORY NO. 18: Identify any and all opportunities that VBF had to refinance its
debt from including the identity of any lenders, the identity of any documentation relating thereto,
material terms (interest rate, repayment, etc.), how and when you learned of such opportunities,
and whether you communicated with any representative of VBF other than yourself regarding the
same (identifying the contact for the Defendant and relevant dates).

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, Hall can confirm that VBF discussed refinancing of its
debt with several parties including but not limited to Ing Bank, Rabo Bank, and Wells
Fargo.

       In relation to Ing Bank, VBF worked with a senior agriculture banker based in
Texas and his team for several months in mid-2017 as they performed due diligence and
their own analyst modeling. Their team clearly understood that VBF was pre-revenue
and pre-cash flow but provided a term sheet outlining the details of a proposal to take
out the Amstar debt of $42,000,000 and provide additional capital for VBF
requirements. Hall states that this information was presented to the VBF board of
directors several times and but ultimately was not approved. One of the VBF board
members, Jens Haarkotter informed VBF CEO Les Wulf that Amstar’s principal, Dr.
Otto Happel would not agree to the Ing proposed loan (which carried an interest rate of
4.5%) because Amstar was receiving a higher rate on its loan to VBF – 9.0%.
Haarkoetter flew to Dallas and met with the Ing Bank senior banker, but would not
permit VBF management to attend the meeting. Hall later learned that the Ing senior
banker that Haarkoetter had discouraged Ing Bank from lending to VBF because the
company was pre-revenue and pre-cash flow. Documents further responsive to this
Interrogatory will be produced and additional documents may be within Plaintiff’s
exclusive possession and control.



INTERROGATORY NO. 19: What amount of debt did VBF carry as of these approximate
dates: (a) January 1, 2015, (b) January 1, 2016, (c) January 1, 2017, and (d) January 1, 2018?

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, documents further responsive
to this Interrogatory will be produced and additional documents may be within
Plaintiff’s exclusive possession and control.



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INTERROGATORY NO. 20: Identify any and all entities (including trusts) in which any of
the Defendants, any of the Defendants’ Affiliated Entities, and/or any member of Defendants’
Family has owned an beneficial or equitable interest or has or is serving as a trustee or
beneficiary, or with which any Defendant has been employed or compensated as a 1099
independent contractor.

ANSWER: Hall objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Hall further objects to this Interrogatory as seeking information that
it not relevant or reasonably calculated to lead to the discovery of evidence relevant to
the claims or defenses raised in this matter.


INTERROGATORY NO. 21: Detail the following as to VBF with as much precision as
possible:
          a. Total amount of equity investment; and
          b. Total amount of debt.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, Hall believes (but cannot confirm) that up to and through
the first half of 2016 (prior to the Alder Aqua investment), VBF raised over $10M in
debt and equity across over 100 shareholders and bridge loan providers. Hall believes
(but cannot confirm) that VBF received approximately $42,000,000 of debt from Amstar
from 2016 thought 2017. Hall believes (but cannot confirm) that VBF received
approximately $34,000,000 of equity financing in July 2016, comprised of $28,000,000
from Alder Aqua and $6,000,000 from Fish Dish, LLC. Documents further responsive to
this Interrogatory will be produced and additional documents may be within Plaintiff’s
exclusive possession and control.




INTERROGATORY NO. 22: Identify VBF’s average cash spent per month during your
tenure at VBF.

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, documents further responsive to this Interrogatory will be
produced and additional documents may be within Plaintiff’s exclusive possession and
control.



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INTERROGATORY NO. 23: Identify the month(s) and years in which VBF made a profit and
the amount of profit. Otherwise, state all reasons why VBF did not make a profit for all other
months including all reasons for the lack of profit (including but not limited to specific persons,
specific decisions, and/or other reasons).

ANSWER: Hall objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Hall does not have possession or control
over in order to further respond. Subject to this objection, and without access to
Plaintiff’s books and records, Hall believes (but cannot confirm) that VBF never made a
profit and the several business models VBF provided to investors and lenders indicated
that VBF was not projected to make a profit until some point in late 2017 once the
Urban Farm was completed and fish could be raised and sold. Documents further
responsive to this Interrogatory will be produced and additional documents may be
within Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 24: Identify all companies owned and/or controlled by Defendants
that closed or were shut down because of financial problems, including but not limited to, running
out of money.

ANSWER: Hall objects to this Interrogatory because it seeks information that is not
relevant or reasonably calculated to lead to the discovery of evidence relevant to the
claims or defenses raised in this matter. Hall further objects to this Interrogatory as
vague and overbroad because the terms “shut down or ended because of financial
problems” is undefined and subject to multiple interpretations. Subject to these
objections, Hall states that he was the CFO and director of Probex Corporation, which
filed for Chapter 7 in May 2003, due to the tragic events of September 11, 2001, and
that he was the CFO and director of Knight Energy Corp., an oil and gas company that
filed for Chapter 11 in April 2009, but he did not have any ownership or controlling
interest in either entity.

Dated: April 9, 2019                                        Respectfully submitted,

                                                            Underwood Perkins, P.C.


                                                              /s/ Kimberly D. Annello
                                                            Kimberly D. Annello
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                                                            Dallas, Texas 75240
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                                                            Email: kannello@uplawtx.com

                                                            Attorney for Defendants




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                                   BRUCE A. HALL’S
                         DECLARATION UNDER PENALTY OF PERJURY


I, BRUCE A. HALL, state and declare,

          My name is Bruce A. Hall, my date of birth is                                     ,

and my address is                                                                           ,

United States of America. I have read the forgoing answers to Interrogatories and I declare

under penalty of perjury that those answers are true and correct.


Executed in                              County, State of Texas, on the               day       of

                               , 2019.




                                                              ________________________________
                                                              Bruce A. Hall




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                                          CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing instrument was

served upon all counsel of record, as listed below, via e-serve and/or email, on this 9th day of

April, 2019.

          Robert H. Lang
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                                                              /s/ Kimberly D. Annello
                                                            Kimberly D. Annello




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                          EXHIBIT G




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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF IOWA
                                       CENTRAL DIVISION


VEROBLUE FARMS USA, INC.,                                 )
                                                          )
Plaintiff,                                                )
                                                          )   Case No. 3:18-cv-03047-LTS-MAR
v.                                                        )
                                                          )
LESLIE A. WULF, BRUCE A. HALL,                            )
JAMES REA, JOHN E. REA, AND                               )
KEITH DRIVER,                                             )
                                                          )
Defendants.


                          DEFENDANT JAMES REA’S RESPONSES TO
                        PLAINTIFF’S FIRST SET OF INTERROGATORIES



        COMES NOW, Defendant, James Rea (“Rea”), in the above-entitled and numbered
cause, and submits these responses to Plaintiffs’ First Set of Interrogatories.

                                     I.
          JAMES REA’S RESPONSES TO FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify all of Defendants’ Affiliated Entities, including the
identity of all shareholders, owners, managers, and/or directors.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. J. Rea further objects to this
Interrogatory because it seeks information that it not relevant or reasonably calculated
to lead to the discovery of evidence relevant to the claims or defenses raised in this
matter.


INTERROGATORY NO. 2: Identify all banks or other financial institutions to which you,
Defendants’ Affiliated Entities, or Defendants’ Family have been named an account holder,
had rights to withdraw funds, and/or did withdraw funds, including the account numbers,
name of account holder(s), dates account has been held, and type of account.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. J. Rea also objects to this


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Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. J. Rea further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or
defenses raised in this matter.


INTERROGATORY NO. 3: Identify all real estate owned by you, any member of
Defendants’ Family, and/or any of Defendants’ Affiliated Entities, directly or indirectly (i.e.
through a trust or other entity) by address, purchase price, listed sales price, and identity of
lenders.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. J. Rea also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. J. Rea further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or
defenses raised in this matter.



INTERROGATORY NO. 4: Identify all persons that have or have had an ownership
interest in Opposing Flows Aquaculture, Inc. (“OFA”) and OFA related entities.

ANSWER: Ted Rea registered Opposing Flows Aquaculture with the state of Texas in
2016 to hold patents and issue licenses for the opposing flow technology acquired from
Rick Sherriff. When Alder Aqua invested in VBF in July 2016, Alder Aqua acquired
ownership of those patents and technology and OFA ceased any operations. OFA never
issued shares to anyone and did not generate revenue.



INTERROGATORY NO. 5: Identify all to payments received by you from any Sheriff
Entities.

ANSWER: J. Rea objects to this Interrogatory because it seeks information that it not
relevant or reasonably calculated to lead to the discovery of evidence relevant to the
claims or defenses raised in this matter. Subject to that objection, none.


INTERROGATORY NO. 6: Identify all of your living expenses, including but not limited
to, rent, mortgage, other housing, utilities, and/or food, paid in any part by VBF, stating the
identity of the relevant vendor(s), amount(s), date(s) of payments, and reason that VBF paid
such amount.



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ANSWER: J. Rea objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. J. Rea further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter. J. Rea further objects to this
Interrogatory to the extent it seeks information and records in Plaintiff’s exclusive
possession that he does not have possession or control over or access to them to further
respond. Documents further responsive to this Interrogatory will be produced and
additional responsive documents may be within Plaintiff’s exclusive possession and
control. Subject to these objections, J. Rea states that while serving as an officer of VBF,
he traveled to Iowa from his home in Plano, Texas, and stayed in Webster City while
working for VBF, an average of 3-4 days per week. J. Rea’s expenses incurred in
traveling to and from Iowa and meals while there were expensed to VBF. J. Rea did not
expense accommodations to VBF during these stays because he stayed in the house that
VBF had purchased in Webster City. J. Rea states that any expenses reimbursed or paid
by VBF were submitted to and approved by VBF in accordance with company policies
in place at the time. These reports and other documents further responsive to this
Interrogatory are within Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 7: Explain why you choose to move out of the VBF house
located in Webster City Iowa and to a home in Ames, Iowa, whether you expensed any living
expenses at the Ames home to VBF, and if so, why.

ANSWER: J. Rea objects to this interrogatory to the extent it calls for a narrative
response that is better suited for a deposition. Subject to that objection, J. Rea resided
at a house located at 1507 Wilson in Webster City, Iowa (“Wilson House”) while
working on construction of a farming facility for VBF started in October 2016. Shortly
after VBF acquired the Wilson House, J. Rea provided furniture that he already owned
(and was using in his home in Dallas) to furnish the Wilson House, with the approval of
VBF officers. J. Rea was never reimbursed or paid for the furniture in the Wilson
House. Several other VBF employees lived in the Wilson House at that time. Before this,
J. Rea had been flying back and forth between Dallas and Des Moines weekly for twelve
months at a cost of $2800-3200 per month to VBF.

In the summer of 2017, J. Rea began working on another construction project for VBF
in Webster City (Barns 6 & 7). He already had committed to move his fiancée and her
children to Ames for the 2017-2018 school year. Since other workers and employees
were living in the Wilson House at that time, J. Rea asked VBF officers for permission to
rent the home located at 2727 Kingston in Ames from Mr. Chi Ho Chester Lo for him
and his family for the school year (“Kingston House”), and VBF approved this expense.

J. Rea informed VBF that he would need to retrieve his furniture from the Wilson
House to use in the Kingston House. VBF officers did not want him to move the
furniture and instead told J. Rea to purchase new furniture for the Kingston House and


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VBF would reimburse him for it. Any expenses reimbursed or paid by VBF related to
this house were submitted to and approved by VBF in accordance with company policies
in place at the time. Documents further responsive to this Interrogatory will be
produced and may be within Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 8: Identify all persons you have ever known to stay overnight at
the house located at 1507 Wilson Avenue in Webster City, Iowa.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other persons of which he has no personal knowledge. Subject to these objections, Mr.
Rea states that the following individuals may have stayed to the Wilson Avenue house in
Webster City: i) Craig Drucker with Dean Snyder Construction – who was working on
VBF projects and had been billing VBF for other accommodations; ii) various VBF
Construction workers, iii) Les Wulf, Bruce Hall, James Rea and Ted Rea all stayed at
the house on multiple occasions when working at VBF’s facility in Webster City because
it was less expensive than multiple hotel rooms or renting an apartment; iv) Jens
Harkoetter and Otto Happel also stayed at the house during their visits to VBF’s facility
in Webster City.


INTERROGATORY NO. 9: Identify all contractors, VBF employees, and professionals
(including, but not limited to, architects) who performed any work or other services regarding
the Wulf Lake House or the waste treatment plant; the amounts paid to such persons or
entities; the identity of each source of payment; and, specifically whether VBF funded any
such payments (and if so, list each payment funded in VBF in whole or in part by amount,
date, and payee).

ANSWER: J. Rea objects to this Interrogatory as seeking information that it not
relevant or reasonably calculated to lead to the discovery of evidence relevant to the
claims or defenses raised in this matter. Subject to this Objection, J. Rea states that no
contractors engaged by VBF worked on reconstruction of Wulf’s home Texas and VBF
did not fund any of the work or materials used on Wulf’s home. Documents further
responsive to this Interrogatory will be produced and may be within Plaintiff’s exclusive
possession and control.


INTERROGATORY NO. 10: Identify any and all vehicles purchased or acquired by any of
the Defendants during your tenure at VBF.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other persons of which he has no personal knowledge. Rea objects to this Interrogatory
to the extent it seeks information about other persons of which he has no personal
knowledge Subject to these objections, J. Rea states that during his tenure at VBF, he
used a Ford Explorer while working at VBF’s facilities in Webster City.



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INTERROGATORY NO. 11: Identify the person or people who authorized Tracy Arbanas
to perform services in relation to the Wulf Lake House including but not limited to the date of
that authorization and the scope and, identify any duties that Arbanas had while the Wulf
Lake House was being rebuilt that were not related to the Wulf Lake House.

ANSWER: J. Rea objects to this Interrogatory as seeking information that it not
relevant or reasonably calculated to lead to the discovery of evidence relevant to the
claims or defenses raised in this matter. Subject to this objection, J. Rea authorized Ms.
Arbanas to supervise work on Wulf’s primary residence, since he was traveling and in
Iowa tending to his duties as VBF’s CEO. Documents further responsive to this
Interrogatory will be produced and may be within Plaintiff’s exclusive possession and
control.



INTERROGATORY NO. 12: Identify all amounts (by date, amount, and reason for
payment) that Defendants received from VBF through compensation, stock (including the
value of stock at the time of issuance), any kind of payment, reimbursement of expenses or
otherwise and explain the basis of said amounts.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. J. Rea also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. J. Rea further
objects to this Interrogatory to the extent it seeks information and records in Plaintiff’s
exclusive possession that J. Rea does not have possession or control over in order to
further respond. Subject to these objections, J. Rea was paid $25,000.00 per month by
VBF from October 2014 through July 2016 as a consulting fee, pursuant to the
Management Services Agreement executed with VBF, RGI Dragon, LLC, and VeroBlue
Farms, Inc. (Canada) (VBF’s parent company) on October 1, 2014. J. Rea was paid
$33,333 per month in salary by VBF July 2016 through December 2017, pursuant to his
Employment Agreement dated July 1, 2016. J. Rea received 3,600,000 shares of stock in
VeroBlue Farms, Inc. (Canada) at a price of $.000001 in October 2014 and he was
granted options to purchase 1,000 shares of common stock in VBF at a purchase price of
$1.00 per share pursuant to a Stock Option Agreement between him and VBF dated July
8, 2016. Documents further responsive to this Interrogatory will be produced and may
be within Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 13: Explain VBF’s partnership with Iowa State University,
including, who was involved, when the partnership began, and the work done during the
duration of this partnership.




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ANSWER: J. Rea further objects to this Interrogatory to the extent it seeks information
and records in Plaintiff’s exclusive possession that J. Rea does not have possession or
control over in order to further respond. Subject to these objections, J. Rea lacks
knowledge or information sufficient to respond to this Interrogatory.


INTERROGATORY NO. 14: Identify the dates that Jackson Walker LLP has represented
any of the Defendants, any of the Defendants’ Affiliated Entities, and/or any members of the
Defendants’ Family together with the general nature of such representation and dates of any
such representation.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other persons of which he has no personal knowledge. Subject to these objections and
answering for himself, J. Rea states that Jackson Walker LLP has not represented him
personally, except possibly in his capacity as an officer of VBF and in Jackson Walker’s
capacity as corporate counsel to VBF, nor has Jackson Walker represented any of his
entities or any members of his family.


INTERROGATORY NO. 15: Identify the dates that Cassels Brock & Blackwell LLP has
represented any of the Defendants, any of the Defendants’ Affiliated Entities, and/or any
members of the Defendants’ Family together with the general nature of such representation
and dates of any such representation.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other persons of which he has no personal knowledge. Subject to these objections and
answering for himself, Cassels Brock & Blackwell did not represent J. Rea personally or
any of his entities or members of his family.


INTERROGATORY NO. 16: Identify any and all Communications between any one of the
Defendants with Jackson Walker LLP and/or Cassels Brock & Blackwell LLP since June 1,
2018.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other persons of which he has no personal knowledge. Subject to these objections and
answering for himself, none.



INTERROGATORY NO. 17: Identify all Communications between any member of the
Nelson Family (Grace Nelson, Mark Nelson, Jeff Nelson, Korrine Nelson, and/or Jerita
Nelson) or Randy Chalfant, on the one hand, and Defendants or Defendants’ counsel on the
other hand.




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ANSWER: J. Rea objects to this Interrogatory to the extent it seeks communications
subject to attorney-client privilege, work product protection, and/or common interest
privilege. J. Rea also object to this Interrogatory because it seeks information that is not
relevant or reasonably calculated to lead to the discovery of evidence relevant to the
claims or defenses raised in this matter.


INTERROGATORY NO. 18: Identify all Communications between Defendants or
Defendants’ counsel on the one hand, and Kenneth Lockard, Beecher, Field, Walker, Morris,
Hoffman & Johnson, P.C., FishDish LLC, Goldstein & McClintock LLP, or Horwood Marcus
& Berk Chartered, on the other hand.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks communications
subject to attorney-client privilege, work product protection, and/or common interest
privilege. J. Rea also object to this Interrogatory because it seeks information that is not
relevant or reasonably calculated to lead to the discovery of evidence relevant to the
claims or defenses raised in this matter.


INTERROGATORY NO. 19: Identify all investigations, surveillance, or other formal or
informal observations relating to VBF in any way of which Defendants are aware, including
but not limited to recordings, photographs, or any other information since the Defendants’
terminations through present, and identify who conducted such investigations.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other persons of which he has no personal knowledge. Subject to these objections and
answering for himself, none.


INTERROGATORY NO. 20: State you and your spouse’s current personal net worth, as
well as you and your spouses personal net worth as of December 31, 2018 and December 31,
2017.

ANSWER: J. Rea objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. J. Rea further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter.



INTERROGATORY NO. 21: With regards to your trips to the State of Iowa state your
mode of travel, date of travel, reason for travel, identity of persons with whom you traveled
and identity of any source of funds for such travel.




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ANSWER: J. Rea objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. J. Rea further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter. J. Rea further objects to this
Interrogatory to the extent it seeks information and records in Plaintiff’s exclusive
possession that he does not have possession or control over or access to them to further
respond. Documents further responsive to this Interrogatory will be produced and
additional responsive documents may be within Plaintiff’s exclusive possession and
control. Subject to these objections, J. Rea states that while serving as an officer of VBF,
he traveled to Iowa from his home in Plano, Texas, and stayed in Webster City while
working for VBF, an average of 3-4 days per week. J. Rea’s expenses incurred in
traveling to and from Iowa and meals while there were expensed to VBF. J. Rea did not
expense accommodations to VBF during these stays because he stayed in the house that
VBF had purchased in Webster City. J. Rea states that any expenses reimbursed or paid
by VBF were submitted to and approved by VBF in accordance with company policies
in place at the time. These reports and other documents further responsive to this
Interrogatory are within Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 22: For each Request for Admission of Fact issued by VBF to
you in the above-captioned matter for which you deny the matter in full or in part or issue any
answer other than a full and unequivocal admission, identify all factual bases for your denial
or other answer.

ANSWER: J. Rea objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. J. Rea objects to this Interrogatory to the extent it seeks
information about other defendants of which he has no personal knowledge. Subject to
these objections, J. Rea incorporates his responses to VBF’s Requests for Admission,
served April 3, 2019.


INTERROGATORY NO. 23: Identify any and all claims that have been made against any
Defendant, any of Defendants’ Affiliated Entities, and/or any member of Defendants’ Family
for money or other legal relief, by identity of claimant, identity of counsel for all parties,
nature of claim, relief sought (including dollar terms), captions or case/claim numbers, status,
and nature of resolution, if any.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. J. Rea also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. J. Rea further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or



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defenses raised in this matter. Subject to these objections, J. Rea was named as a
defendant in a 2012 lawsuit related to breach of an office lease.


INTERROGATORY NO. 24: Identify any and all times where any Defendant has provided
testimony at a deposition, trial, other evidentiary hearing, arbitration, or any other type of
adversarial proceeding by captions or case/claim numbers, status, nature of case, nature of
resolution (if any), and the identity of anyone who possesses or controls a transcript of the
same.

ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. J. Rea also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. J. Rea further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or
defenses raised in this matter. Subject to these objections, none.


INTERROGATORY NO. 25: Identify the identity of any persons or entities who performed
information technology services for VBF and their dates of employment or contracting.

ANSWER: J. Rea further objects to this Interrogatory to the extent it seeks information
and records in Plaintiff’s exclusive possession that J. Rea does not have possession or
control over in order to further respond. Subject to these objections, J. Rea cannot
recall every service provider who may have performed information technology services
for VBF during his tenure. Documents further responsive to this Interrogatory may be
within Plaintiff’s exclusive possession and control.


Date: April 9, 2019                                       Respectfully submitted,

                                                          Underwood Perkins, P.C.


                                                           /s/ Kimberly D. Annello
                                                          Kimberly D. Annello
                                                          State Bar No. 24093704
                                                          Two Lincoln Centre
                                                          5420 LBJ Freeway, Suite 1900
                                                          Dallas, Texas 75240
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                                                          Attorney for Defendants


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                                      JAMES REA’s
                         DECLARATION UNDER PENALTY OF PERJURY


I, JAMES REA, state and declare,

          My name is James Rea, my date of birth is                                    , and my

address is                                                                             ,         United

States of America. I have read the forgoing answers to Interrogatories and I declare under

penalty of perjury that those answers are true and correct.


Executed in                               County, State of Texas, on the                day         of

                              , 2019.




                                                               ________________________________
                                                               James Rea




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                                          CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing instrument was

served upon all counsel of record, as listed below, via e-serve and/or email, on this 9th day

April 2019.

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          Caroline Pritikin
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                                                            /s/ Kimberly D. Annello
                                                          Kimberly D. Annello




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                          EXHIBIT H




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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


 VEROBLUE FARMS USA, INC.,                                      )
                                                                )
 Plaintiff,                                                     )
                                                                )   Case No. 3:19-CV-00764-L
 v.                                                             )
                                                                )
 LESLIE A. WULF, BRUCE A. HALL,                                 )
 JAMES REA, JOHN E. REA, AND                                    )
 KEITH DRIVER,                                                  )
                                                                )
 Defendants.


                          DEFENDANT JOHN E. REA’s RESPONSES TO
                        PLAINTIFF’S FIRST SET OF INTERROGATORIES


        COMES NOW, Defendant, John E. Rea (“Ted”), in the above-entitled and numbered
cause, and submits these responses to Plaintiffs’ First Set of Interrogatories.

                                      I.
            TED REA’S RESPONSES TO FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify all of Defendants’ Affiliated Entities, including the
identity of all shareholders, owners, managers, and/or directors.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. T. Rea further objects to this
Interrogatory because it seeks information that it not relevant or reasonably calculated to
lead to the discovery of evidence relevant to the claims or defenses raised in this matter.



INTERROGATORY NO. 2: Identify all banks or other financial institutions to which you,
Defendants’ Affiliated Entities, or Defendants’ Family have been named an account holder, had
rights to withdraw funds, and/or did withdraw funds, including the account numbers, name of
account holder(s), dates account has been held, and type of account.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. T. Rea also objects to this
Interrogatory as improperly seeking personal and confidential financial information


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relating to him and his family, many of whom are not parties to this case. T. Rea further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or
defenses raised in this matter.


INTERROGATORY NO. 3: Identify all real estate owned by you, any member of
Defendants’ Family, and/or any of Defendants’ Affiliated Entities, directly or indirectly (i.e.
through a trust or other entity) by address, purchase price, listed sales price, and identity of
lenders.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. T. Rea also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. T. Rea further
objects to this Interrogatory because it seeks information that is not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or defenses
raised in this matter.



INTERROGATORY NO. 4: Identify all to payments received by you from any Sheriff
Entities.

ANSWER: T. Rea further objects to this Interrogatory because it seeks information that
it not relevant or reasonably calculated to lead to the discovery of evidence relevant to the
claims or defenses raised in this matter. Subject to that objection, T. Rea has not received
any payments from the Sheriff Entities. Sheriff did loan funds to Bajjer to pay off a loan
on behalf of SSi to Green Bank in November 2016. Bajjer carries a note receivable from
SSi for this loan payoff and Bajjer owes Sheriff for this payoff, but T. Rea did not receive
any of these funds.



INTERROGATORY NO. 5: Identify all of your living expenses, including but not limited to,
rent, mortgage, other housing, utilities, and/or food, paid in any part by VBF, stating the identity
of the relevant vendor(s), amount(s), date(s) of payments, and reason that VBF paid such
amount.

ANSWER: T. Rea objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. T. Rea further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter. T. Rea further objects to this Interrogatory
to the extent it seeks information and records in Plaintiff’s exclusive possession that he
does not have possession or control over or access to them to further respond. Documents


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further responsive to this Interrogatory will be produced and additional responsive
documents may be within Plaintiff’s exclusive possession and control. Subject to these
objections, T. Rea states that while serving as COO of VBF, he traveled to Iowa from his
home in Plano, Texas, and stayed in Webster City while working for VBF, an average of
3-4 days per week. T. Rea’s expenses incurred in traveling to and from Iowa and meals
while there were expensed to VBF. T. Rea did not expense accommodations to VBF during
these stays because he stayed in the house that VBF had purchased in Webster City. T.
Rea states that any expenses reimbursed or paid by VBF were submitted to and approved
by VBF in accordance with company policies in place at the time. These reports and other
documents further responsive to this Interrogatory are within Plaintiff’s exclusive
possession and control.




INTERROGATORY NO. 6: Identify all legal or beneficial owners of, or managers, of
BAJJER LLC and BAJJER II, LLC and all transfers of VBF shares to and from BAJJER, LLC
and/or BAJJER II, LLC.

ANSWER: T. Rea objects to this Interrogatory because it seeks information that it not
relevant or reasonably calculated to lead to the discovery of evidence relevant to the claims
or defenses raised in this matter. T. Rea further objects to this Interrogatory to the extent
it seeks information and records in Plaintiff’s exclusive possession that he does not have
possession or control over in order them to further respond. Subject to this objection, the
beneficial owners of Bajjer LLC are: BHDH Family, LP, LAW Holdings, LLC, and J2
Family, LP, equally. Bajjer held shares in VBF in trust for Kelson Capital Inc. The
beneficial owners of Bajjer II, LLC are BHDH Family, LP and J2 Family LP. Documents
relating to the holding of VBF shares in trust by Bajjer will be produced and additional
responsive documents may be within Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 7: Explain any and all payments made from VBF to American
Growth Funding and identify why such payments were made, including but not limited to, the
documentation supporting said payments.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that he does not have possession or control over
in order them to further respond. Subject to this objection, T. Rea states that American
Growth Funding (“AGF”) was initially owned by Bajjer but was sold to Juris Capital on
January 2, 2010. In June 2015, AGF loaned Bajjer $200,000, which was to be used for
VBF’s operating costs. Since AGF did not have a prior relationship with VBF, it would
not loan the money directly to VBF, but made the loan to Bajjer. Bajjer then loaned the
funds to VBF. AGF is a hard money lender and thus, by July 2016, the loan balance
between AGF and Bajjer was $375,000. On or about July 8, 2016, pursuant to an
agreement between Alder Aqua’s counsel, Davis Graham & Stubbs (“DGS”) and VBF,
the loan from AGF to Bajjer, in the amount of $375,000 was paid out of the funds provided


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to VBF by Alder Aqua at closing of Alder Aqua’s investment and Amstar Group’s loan to
VBF. This repayment was disclosed and approved by Alder Aqua, Amstar, and DGS in
a source and uses of funds statement provided on July 8, 2016, which will be produced.
Documents further responsive to this Interrogatory will be produced and additional
documents may be within Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 8: Identify all Documents relating to VBF’s purchase of any
tractor-trailers and identify the date of each purchase; the amount paid for each tractor-trailer,
the reason for each purchase; the use of each tractor-trailer after purchase; and any other
equitable or monetary benefits received by any of the Defendants as a result of any of the
purchases.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that he does not have possession or control over
in order them to further respond. Subject to this objection, the purchase of six tractor
trailers was presented to, approved by, and directed by VBF’s Board of Directors in two
separate board resolutions. As set forth in the investment analyses presented to VBF’s
Board, the tractor trailers were intended to: i) pick up fry flown from Australia to
Chicago, ii) deliver fingerlings from each nursery to the grow out farms, iii) move live fish
to both the east and west coast Asian markets; iv) move harvested, dead on ice fish to the
processing facility; v) move finished, processed and boxed fish to distribution points. The
trucks and/or trailers were specially equipped with heating/cooling/oxygen as needed to
perform these tasks. VBF’s management believed that purchasing these trucks would
address customer service issues resulting from delivery of dead fish, would reduce the risk
of brining disease into the VBF farms and would control costs, distribution and operating
margins as the company expanded its operations. Neither T. Rea nor any of the
Defendants received equitable or monetary benefits as a result of these purchases.
Documents further responsive to this Interrogatory will be produced and may be within
Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 9: Identify all amounts (by date, amount, and reason for payment)
that Defendants or Defendants’ Family received directly or indirectly from VBF through
compensation, stock (including the value of stock at the time of issuance), any kind of payment
or reimbursement of expenses or otherwise and explain the basis of said amounts.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. T. Rea also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. T. Rea further
objects to this Interrogatory to the extent it seeks information and records in Plaintiff’s
exclusive possession that he does not have possession or control over or access to them to
further respond. Subject to these objections, T. Rea was paid $25,000.00 per month by
VBF from October 2014 through July 2016 as a consulting fee, pursuant to the
Management Services Agreement executed with VBF, J2CapCo, LLC and VeroBlue
Farms, Inc. (Canada) (VBF’s parent company) on October 1, 2014. T. Rea was paid

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$33,333 per month in salary by VBF July 2016 through December 2017, pursuant to his
Employment Agreement dated July 1, 2016. T. Rea’s family entity purchased 3,300,000
shares of founder’s stock in VeroBlue Farms, Inc. (Canada) at $.000001 per share in
October 2014 and he was granted options to purchase 1,000,000 shares of common stock
at $1.00 per share in VBF pursuant to a Stock Option Agreement between him and VBF
dated July 8, 2016. Documents further responsive to this Interrogatory will be produced
and additional responsive documents may be within Plaintiff’s exclusive possession and
control.



INTERROGATORY NO. 10: Identify all documents or other information that VBF provided
to the creator of a July 2, 2015 document titled “Technical Assessment of Barramundi
Production at VeroBlue Farms with Focus on Iowa’s First” attached as Exhibit 1, together with
the identity of any VBF employees or other representatives who provided such data.

ANSWER: T. Rea objects to this Interrogatory to the extent it asks him to identify sources
of information in document that he did not author. Subject to this objection, T. Rea states
that he and other Defendants reviewed several versions of this presentation but that he
cannot recall what information or documents maybe have been provided, if any, to the
author.


INTERROGATORY NO. 11: Identify all Defendants’ representations relating to VBF’s
annual production by weight and by number of fishes.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. T. Rea further objects to this
Interrogatory as vague and overbroad to the extent it fails to identify any specific
representation, made to any person, at any particular time. Subject to these objections,
documents responsive to this Interrogatory will be produced and other responsive
documents may be in Plaintiff’s exclusive possession and/or control.


INTERROGATORY NO. 12: Identify all Defendants’ representations relating to VBF’s
value.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. T. Rea further objects to this
Interrogatory as vague and overbroad to the extent it fails to identify any specific
representation, made to any person, at any particular time. Subject to these objections,
documents responsive to this Interrogatory will be produced and other responsive
documents may be in Plaintiff’s exclusive possession and/or control.




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INTERROGATORY NO. 13: Identify when, by number of weeks, a barramundi fish (both
live haul and dead on ice) would be ready for market including the starting weight of the fish
and the weight at the time the fish is ready for market.

ANSWER: T. Rea objects to this interrogatory to the extent it is posing a hypothetical
and is not seeking to discover facts or other information. T. Rea further objects to this
interrogatory as vague and overbroad to the extent “ready for market” is undefined and
subject to interpretation. Subject to these objections, T. Rea has no personal knowledge
of growth rates and as COO of VBF, relied on the growth rates presented by Rick
Sheriff, Mark Nelson and Mainstream Aquaculture, the provider of the barramundi fry
grown by VBF


INTERROGATORY NO. 14: Explain how VBF intended to profit off its contemplated
Grower Model.

ANSWER: T. Rea objects to this Interrogatory to the extent it asks him to attest to the
state of mind of others and the collective decision of VBF. T. Rea also objects to this
Interrogatory as vague and overbroad as “profit off of” is undefined. Subject to these
Objections, in 2016, T. Rea, as director of business development of VBF, expected that
VBF would use the Grower Model as follows: Rick Sheriff had a patent on the opposing
flow aquaculture fish tank technology. VBF had entered into a global distribution
agreement with Mr. Sheriff. Pursuant to that agreement, VBF intended to contract with
independent farmers (“Growers”) to license the OFA technology to them. These
Growers would build and own the fish tank farm properties. VBF would sell fry to the
Growers who would then grow them into full size fish for sale by VBF using the OFA
technology. VBF chose to pursue the Grower Model because it would require less
capital from VBF, since the Growers would be building the farms and tank systems,
instead of VBF building and operating multiple tank facilities. However, once Alder
Aqua invested in VBF and purchased the OFA patents from Mr. Sheriff, Dr. Happel and
other Alder Aqua representatives became concerned over Growers having access to the
patented OFA technology. Based on this concern, and Dr. Happel’s general aversion to
publicity, Alder Aqua, as the lead shareholder, directed VBF to pursue a corporate
owned model for the fish tanks and farming. This significantly changed the structure of
financing and operations for VBF. Documents responsive to this Interrogatory will be
produced and other responsive documents may be in Plaintiff’s exclusive possession
and/or control.


INTERROGATORY NO. 15: Identify all Bio-plans, business plans and projections relating
to the Grower Model, including the author, the date created, and who received each plan or
projection.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
plans or projections prepared by anyone, of which he may have no personal knowledge.
T. Rea objects to this Interrogatory to the extent it asks him to attest to the state of mind


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of others and the collective decision of VBF. T. Rea further objects to this Interrogatory
to the extent it seeks information and records in Plaintiff’s exclusive possession that he
does not have possession or control over or access to. Subject to these objections, T. Rea
states that he cannot identify every bioplan, business plan or projection created during
his tenure at VBF, but that any such plans or projections could have been prepared by
him, anyone of the other Defendants, Matt Clarken, Cameron Robinson, Rick Sheriff
and/or Mark Nelson.

INTERROGATORY NO. 16: Identify all Bio-plans, business plans and projections relating
to the urban farm model, including the author, the date created, and who received each plan or
projection.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
plans or projections prepared by anyone, of which he may have no personal knowledge.
T. Rea objects to this Interrogatory to the extent it asks him to attest to the state of mind
of others and the collective decision of VBF. T. rea further objects to this Interrogatory
to the extent it seeks information and records in Plaintiff’s exclusive possession that he
does not have possession or control over or access to. Subject to these objections, T. Rea
states that he cannot identify every bioplan, business plan or projection created during
his tenure at VBF, but that any such plans or projections could have been prepared by
him, anyone of the other Defendants, Matt Clarken, Cameron Robinson, Rick Sheriff
and/or Mark Nelson.


INTERROGATORY NO. 17: Identify all professionals, including, but not limited to,
attorneys, accountants, insurance brokers, website developers, website hosts, media consultants,
stockbrokers, financial planners, fish biologists, universities, independent aquaculture
specialists and/or consultants, who have performed any services for VBF.

ANSWER: T. Rea objects to this Interrogatory to the extent it asks him to attest to the
collective decisions of VBF. T. rea further objects to this Interrogatory to the extent it
seeks information and records in Plaintiff’s exclusive possession that he does not have
possession or control over or access to. Subject to these objections, T. Rea cannot recall
every service provider who may have performed services for VBF during his tenure.
Documents further responsive to this Interrogatory may be within Plaintiff’s exclusive
possession and control.




INTERROGATORY NO. 18: State you and your spouse’s current personal net worth, as well
as you and your spouse’s personal net worth as of December 31, 2018 and December 31, 2017.

ANSWER: T. Rea objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. T. Rea further objects to this Interrogatory as seeking information


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that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter.



INTERROGATORY NO. 19: With regards to your trips to the State of Iowa state your mode
of travel, date of travel, reason for travel, identity of persons with whom you traveled and
identity of any source of funds for such travel.

ANSWER: T. Rea objects to this Interrogatory as vague and overbroad to the extent is
not limited in time in any way. T. Rea further objects to this Interrogatory as seeking
information that it not relevant or reasonably calculated to lead to the discovery of
evidence relevant to the claims or defenses raised in this matter. Subject to these
objections, T. Rea states that while serving as COO of VBF, he traveled to Iowa from his
home in Plano, Texas, an average of 3-4 days/week. T. Rea’s expenses incurred in
traveling to and from Iowa and meals while there were expensed to VBF. T. Rea did not
expense accommodations to VBF during these stays because he stayed in the house that
VBF had purchased in Webster City. T. Rea states that any expenses reimbursed or paid
by VBF were submitted to and approved by VBF in accordance with company policies in
place at the time. Documents further responsive to this Interrogatory will be produced
and may be within Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 20: For each Request for Admission of Fact issued by VBF to you
in the above captioned matter for which you deny the matter in full or in part or issue any answer
other than a full and unequivocal admission, identify all factual bases for your denial or other
answer.

ANSWER: T. Rea objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. T. Rea objects to this Interrogatory to the extent it seeks
information about other defendants of which he has no personal knowledge. Subject to
these objections, T. Rea incorporates his responses to VBF’s Requests for Admission,
served April 3, 2019.



INTERROGATORY NO. 21: State the date, identity of participants, location, and substance
of any presentation by any Defendant regarding VBF to any potential investor, potential lender,
actual lender, or shareholder of VBF.

ANSWER: T. Rea objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. T. Rea objects to this Interrogatory to the extent it asks him
to attest to the state of mind of others and the collective decision of VBF. T. Rea further
objects to this Interrogatory to the extent it seeks information and records in Plaintiff’s
exclusive possession that he does not have possession or control over or access to.


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Subject to this objection, documents further responsive to this Interrogatory will be
produced and may be within Plaintiff’s exclusive possession and control.

INTERROGATORY NO. 22: Identify the names of any trusts to which any Defendant, any
of the Defendants’ Affiliated Entities, or any member of Defendants’ Family is a trustee or
beneficiary.

ANSWER: T. Rea objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. T. Rea further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter.

INTERROGATORY NO. 23: Identify any and all benefits to any Defendants resulting from
any rental properties, purchases for VBF, or business relationships with vendors of VBF.

ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. T. Rea further objects to this
Interrogatory as vague and overbroad to the term “benefit” is undefined. Subject to
these objections, T. Rea states that he did not receive any personal benefit from any
rental property, purchase for VBF, or business relationship with any vendor of VBF.


INTERROGATORY NO. 24: Identify when you realized that the opposing flow technology
would not perform as represented by Rick Sheriff and/or Sheriff Entities including what specific
aspect(s) of the technology would not perform as expected and/or represented to any Defendant.

ANSWER: T. Rea objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Subject to this objection, T. Rea states that he believed that
the opposing flow technology performed as represented by Rick Sheriff and the Sheriff
Entities. VBF was testing some additional means to increase stocking density and enhance
production from the opposing flow technology, but the technology itself did not fail.


Date: April 9, 2019                                         Respectfully submitted,

                                                            Underwood Perkins, P.C.


                                                              /s/ Kimberly D. Annello
                                                            Kimberly D. Annello
                                                            State Bar No. 24093704
                                                            Two Lincoln Centre
                                                            5420 LBJ Freeway, Suite 1900
                                                            Dallas, Texas 75240
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                                                            Attorney for Defendants




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                                     JOHN E. REA’s
                         DECLARATION UNDER PENALTY OF PERJURY


I, JOHN E. REA, state and declare,

          My name is John E. Rea, my date of birth is                                   , and my

address is                                                                              ,         United

States of America. I have read the forgoing answers to Interrogatories and I declare under

penalty of perjury that those answers are true and correct.


Executed in                              County, State of Texas, on the                  day         of

                               , 2019.




                                                                ________________________________
                                                                John E. Rea




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                                         CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing instrument was

served upon all counsel of record, as listed below, via e-serve and/or email, on this 9th day of

April, 2019.

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                                                                 /s/ Kimberly D. Annello
                                                                Kimberly D. Annello




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                           EXHIBIT I




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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


VEROBLUE FARMS USA, INC.,                                   )
                                                            )
Plaintiff,                                                  )
                                                            )   Case No. 3:19-CV-00764-L
v.                                                          )
                                                            )
LESLIE A. WULF, BRUCE A. HALL,                              )
JAMES REA, JOHN E. REA, AND                                 )
KEITH DRIVER,                                               )
                                                            )
Defendants.


                        DEFENDANT LESLIE A. WULF’S RESPONSES TO
                        PLAINTIFF’S FIRST SET OF INTERROGATORIES


        COMES NOW, Defendant, Leslie A. Wulf (“Wulf” or “Defendant”), in the above-
entitled and numbered cause, and submits these responses to Plaintiffs’ First Set of
Interrogatories.

                                   I.
         DEFENDANT’S RESPONSES TO FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify all of Defendants’ Affiliated Entities, including the
identity of all shareholders, owners, managers, and/or directors.

ANSWER: Wulf objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Wulf further objects to this
Interrogatory because it seeks information that it not relevant or reasonably calculated
to lead to the discovery of evidence relevant to the claims or defenses raised in this
matter.


INTERROGATORY NO. 2: Identify all banks or other financial institutions to which you,
Defendants’ Affiliated Entities, or Defendants’ Family have been named an account holder,
had rights to withdraw funds, and/or did withdraw funds, including the account numbers,
name of account holder(s), dates account has been held, and type of account.

ANSWER: Wulf objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Wulf also objects to this


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Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. Wulf further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or
defenses raised in this matter.


INTERROGATORY NO. 3: Identify all amounts (by date, amount, and reason for
payment) that Defendants or Defendants’ Family received directly or indirectly from VBF
through compensation, stock (including the value of stock at the time of issuance), any kind of
payment, reimbursement of expenses or otherwise and explain the basis of said amounts.

ANSWER: Wulf objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Wulf also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. Wulf further
objects to this Interrogatory to the extent it seeks information and records in Plaintiff’s
exclusive possession that Wulf does not have possession or control over in order to
further respond. Subject to these objections, Wulf was paid $25,000.00 per month by
VBF from October 2014 through July 2016 as a consulting fee, pursuant to the
Management Services Agreement executed with VBF, LAW Holdings and VeroBlue
Farms, Inc. (Canada) (VBF’s parent company) on October 1, 2014. Wulf was paid
$33,333 per month in salary by VBF July 2016 through December 2017, pursuant to his
Employment Agreement dated July 1, 2016. Wulf received 3,600,000 shares of stock in
VeroBlue Farms, Inc. (Canada) at a price of $.000001 in October 2014 and he was
granted options to purchase 1,000 shares of common stock in VBF at a purchase price of
$1.00 per share pursuant to a Stock Option Agreement between him and VBF dated July
8, 2016. Documents further responsive to this Interrogatory will be produced and may
be within Plaintiff’s exclusive possession and control.

INTERROGATORY NO. 4: Identify all real estate owned by you, any member of
Defendants’ Family, and/or any of Defendants’ Affiliated Entities, directly or indirectly (i.e.
through a trust or other entity) by address, purchase price, listed sales price, and identity of
lenders.

ANSWER: Wulf objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Wulf also objects to this
Interrogatory as improperly seeking personal and confidential financial information
relating to him and his family, many of whom are not parties to this case. Wulf further
objects to this Interrogatory because it seeks information that it not relevant or
reasonably calculated to lead to the discovery of evidence relevant to the claims or
defenses raised in this matter.


INTERROGATORY NO. 5: Identify any and all persons that developed, created, or
contributed to any Bioplans for VBF.


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ANSWER: Wulf objects to this Interrogatory to the extent it seeks information about
plans or projections prepared by anyone, of which he may have no personal knowledge.
Wulf objects to this Interrogatory to the extent it asks him to attest to the state of mind
of others and the collective decision of VBF. Wulf further objects to this Interrogatory
to the extent it seeks information and records in Plaintiff’s exclusive possession that he
does not have possession or control over or access to. Subject to these objections, Wulf
states that he cannot identify every bioplan, business plan or projection created during
his tenure at VBF, but that any such plans or projections could have been prepared by
him, anyone of the other Defendants, Matt Clarken, Cameron Robinson, Rick Sheriff
and/or Mark Nelson.


INTERROGATORY NO. 6: Identify any projections or forecasts for sales of fish and state
the reasons why actual sales did not meet those projections or forecasts.

ANSWER: Wulf objects to this Interrogatory because it seeks information that it not
relevant or reasonably calculated to lead to the discovery of evidence relevant to the
claims or defenses raised in this matter. Wulf further objects to this Interrogatory to the
extent it seeks information and records in Plaintiff’s exclusive possession that Wulf does
not have possession or control over in order to further respond. Subject tothis es
objections, Wulf states that he cannot identify specific projections or forecasts for sales
of fish and that any such forecasts or projections were prepared by Jim Bruffy and/or
Haroon Chadrhi. Wulf states generally that, during his tenure at VBF, the company’s
fish barns and tanks were not yet fully commissioned or at full production to be able to
meet sales targets. Documents further responsive to this Interrogatory will be produced
and further responsive documents may be within Plaintiff’s exclusive possession and
control.


INTERROGATORY NO. 7: Identify all dates of employment of Christine O’Brien nee
Gagne (“Christine O’Brien”) by VBF as well as who hired Christine O’Brien for VBF, all of
her job titles and duties, the identity of her supervisor at VBF, compensation paid, dates of
employment, current address, mobile phone number, and marital status including any spouse’s
name.

ANSWER: Wulf objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Wulf does not have possession or control
over or access to them to further respond. Wulf also objects to this Interrogatory as
improperly seeking personal and confidential financial information relating to his
family, who are not parties to this case. Subject to this objection, Wulf states that
Christine Gagne O’Brien was never employed by VBF. She provided services as an
independent contractor to VBF on construction projects in Webster City, and was paid
as a 1099 employee on an hourly basis. Ms. Gagne was supervised by Randy Chalfant in
VBF’s construction department and reported her work hours to him. Ms. Gagne did not



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report to Mr. Wulf or any of the Defendants. Documents further responsive to this
Interrogatory are within Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 8: Specify any and all of your business relationships with Rick
Sheriff or any Sheriff Entities, including, but not limited to, Opposing Flows Aquaculture,
Inc. (“OFA”), by identity of entity, dates of your involvement, nature of your involvement
(i.e. owner, employee, and/or manager), nature of the entity’s business, annual revenues of
entity, and all payments received by you from any business relationships with Rick Sheriff or
any Sheriff Entities.

ANSWER: Wulf objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Subject to this objection, Wulf states that Ted Rea
registered Opposing Flows Aquaculture with the state of Texas in 2016 to hold patents
and issue licenses for the opposing flow technology acquired from Rick Sherriff. When
Alder Aqua invested in VBF in July 2016, Alder Aqua acquired ownership of those
patents and technology and OFA ceased any operations. OFA never issued shares to
anyone and did not generate revenue.



INTERROGATORY NO. 9: Identify all of your living expenses, including but not limited
to, rent, mortgage, other housing, utilities, and/or food, paid in any part by VBF, stating the
identity of the relevant vendor(s), amount(s), date(s) of payments, and reason that VBF paid
such amount.

ANSWER: Wulf objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Wulf further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter. Wulf further objects to this Interrogatory
to the extent it seeks information and records in Plaintiff’s exclusive possession that
Wulf does not have possession or control over or access to in order to further respond.
Subject to these objections, Wulf states that while performing his duties as CEO of VBF,
he traveled to Iowa, Europe, Australia, Canada and multiple other U.S. locations from
his home in Gun Barrel City, Texas. Wulf’s expenses incurred in traveling while
performing these duties were expensed to VBF. These expenses included air fare, car
services, parking, rental cars, meals, accommodations and cell phone charges. Wulf
states that any expenses reimbursed or paid by VBF were submitted to and approved by
VBF in accordance with company policies in place at the time. These reports and other
documents further responsive to this Interrogatory are within Plaintiff’s exclusive
possession and control.




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INTERROGATORY NO. 10: Identify any insurance proceeds paid in relation to the Wulf
Lake House by dates, amount of payment, reason for payment, relevant policy and policy
number, and identity of payor(s) and payee(s).

ANSWER: Wulf also objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Wulf further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter. Subject to these objections, Wulf
submitted claim number 0355694878 to Allstate Insurance for the fire damage to his
home in Gun Barrel City. The date of loss was January 23, 2015 and Allstate
compensated Wulf $326,589 in reconstruction costs pursuant to this claim. This
compensation was paid over time with the last payment being made in October 2016.
Documents further responsive to this Interrogatory will be produced.


INTERROGATORY NO. 11: Other than VBF, identify each Defendant’s aquaculture
experience by dates, employer identity, job title, scope of work and success of venture.

ANSWER: Wulf objects to this Interrogatory to the extent it seeks information about
other defendants of which he has no personal knowledge. Wulf further objects to this
Interrogatory as seeking information that it not relevant or reasonably calculated to lead
to the discovery of evidence relevant to the claims or defenses raised in this matter.
Subject to these objections, Wulf states that he had no experience in the aquaculture
business prior to acquiring VBF in 2014.


INTERROGATORY NO. 12: Identify why and the basis for your representation in a media
interview in March 2016 that VBF planned to expand its annual production from 1 million
pounds to 7.2 million pounds starting in 2017, whether VBF ever accomplished this goal, and
steps taken relating to accomplishing this goal.

ANSWER: Wulf objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Wulf further objects to this Interrogatory as vague and
overbroad to the extent that the representation is not identified with sufficient detail to
permit Wulf to answer. Subject to these objections, Wulf states generally that any
representations that he made regarding VBF’s production targets in 2016 were based on
construction, commissioning, stocking had production being complete in 240 tanks at
VBF’s Urban Farm. This facility was never fully commissioned or stocked during
Wulf’s tenure at VBF.

INTERROGATORY NO. 13: Identify all professionals, including, but not limited to,
attorneys, accountants, insurance brokers, website developers, website hosts, media
consultants, stockbrokers, financial planners and/or consultants, who have performed any
services for any Defendant, any of Defendants’ Affiliated Entities, and/or any member of
Defendants’ Family.


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ANSWER: Wulf objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Wulf further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter.


INTERROGATORY NO. 14: State you and your spouse’s current personal net worth, as
well as you and your spouse’s personal net worth as of December 31, 2018 and December 31,
2017.

ANSWER: Wulf objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Wulf further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter.


INTERROGATORY NO. 15: With regards to your trips to the State of Iowa state your
mode of travel, date of travel, reason for travel, identity of persons with whom you traveled
and identity of any source of funds for such travel.

ANSWER: Wulf objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Wulf further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter. Wulf further objects to this Interrogatory
to the extent it seeks information and records in Plaintiff’s exclusive possession that
Wulf does not have possession or control over or access to in order to further respond.
Subject to these objections, Wulf states that while performing his duties as CEO of VBF,
he traveled to Iowa, Europe, Australia, Canada and multiple other U.S. locations from
his home in Gun Barrel City, Texas. Wulf’s expenses incurred in traveling while
performing these duties were expensed to VBF. These expenses included air fare, car
services, parking, rental cars, meals, accommodations and cell phone charges. Wulf
states that any expenses reimbursed or paid by VBF were submitted to and approved by
VBF in accordance with company policies in place at the time. These reports and other
documents further responsive to this Interrogatory are within Plaintiff’s exclusive
possession and control.


INTERROGATORY NO. 16: Identify any and all entities (including trusts) in which any of
the Defendants, any of the Defendants’ Affiliated Entities, and/or any member of Defendants’
Family has owned a beneficial or equitable interest or has or is serving as a trustee or
beneficiary, or by which any Defendant has been employed or compensated as a 1099
independent contractor.


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ANSWER: Wulf objects to this Interrogatory as improperly seeking personal and
confidential financial information relating to him and his family, many of whom are not
parties to this case. Wulf further objects to this Interrogatory as seeking information
that it not relevant or reasonably calculated to lead to the discovery of evidence relevant
to the claims or defenses raised in this matter.


INTERROGATORY NO. 17: For each Request for Admission of Fact issued by VBF to
you in the above captioned matter for which you deny the matter in full or in part or issue any
answer other than a full and unequivocal admission, identify all factual bases for your denial
or other answer.

ANSWER: Wulf objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Wulf objects to this Interrogatory to the extent it seeks
information about other defendants of which he has no personal knowledge. Subject to
these objections, Wulf incorporates his responses to VBF’s Requests for Admission,
served April 3, 2019.


INTERROGATORY NO. 18: Detail what you allege to be misconduct of any VBF officer,
director, and/or employee, and/or any representative of Alder Aqua by identity of participants
in misconduct (including perpetrators, alleged victims, and witnesses), relevant dates, identity
of any witnesses, and whether any claims have been initiated relating to the same or other
legal proceedings.

ANSWER: Wulf objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Wulf further objects to this Interrogatory as premature
and seeking communications and information that may be subject to attorney-client
privilege and/or attorney work product protection. Subject to these objections, Wulf
states that any claims or misconduct by VBF and/or Alder Aqua will be detailed when
Wulf is ordered to answer and plead in response to the Amended Complaint.


INTERROGATORY NO. 19: State all reasons why VBF terminated each Defendant’s
employment and identify all persons who decided to terminate each Defendant and when the
decision to terminate each was made.


ANSWER: Wulf objects to this Interrogatory to the extent it asks him to attest to the
state of mind of others. Wulf further objects to this Interrogatory to the extent it asks
him to individually attest to the collective decision of VBF during time periods when he
was not an officer or director of VBF. Wulf also objects to this Interrogatory to the
extent it seeks communications that may be subject to attorney-client privilege. Subject
to these objections, Wulf states that while he was CEO of VBF, in early 2017, VBF
parted ways with Keith Driver and repurchased his stock at a discount and entered into


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a noncompetition and consulting agreement with him. Later, in September-October
2017, Wulf was directed by VBF’s Board as controlled by Alder Aqua representatives,
Jens Harkoetter, Eva Ebstein and Bjorn Thelander, to terminate the employment of
Defendants Bruce Hall and Ted Rea without cause. As VBF’s CEO, Wulf requested that
VBF’s corporate counsel, Rick Dahlson of Jackson Walker, document termination
agreements with Hall and Rea. The Alder representatives on VBF’s Board also insisted
that their counsel, David Graham & Stubbs, also consult on the termination agreements
with Hall and T. Rea. After these agreements were executed, Mr. Thelander and Anders
Wester, on behalf of Amstar, refused to release funds to VBF to pay Hall and Rea as
required under these agreements. On November 6, 2017, Mr. Wulf was terminated by
Bjorn Thelander, Alder/Amstar attorneys Justin Taylor and Brian Boonstra of DGS,
and Jason Lucas of Amstar Funds, without cause. He has no knowledge of the reasons
for termination of any other defendant. Documents further responsive to this
Interrogatory will be produced and additional responsive documents may be within
Plaintiff’s exclusive possession and control.



INTERROGATORY NO. 20: Identify whether any Defendant made any disclosures
regarding any self-dealing transactions to non-Defendant VBF directors at any time. If so,
provide the relevant dates of disclosure, recipients of disclosure, mode of disclosure, and
substance of disclosure.

ANSWER: Wulf objects to this Interrogatory to the extent it draws a legal conclusion
that certain transactions constituted “self-dealing.” Subject to that objection, Wulf states
that with regard to the allegations contained in Paragraphs 11-42 of Plaintiff’s
Complaint, each transaction or occurrence was disclosed to VBF’s Board of Directors
and/or its lead investor Alder Aqua and/or approved by VBF’s Board of Directors at
their monthly meetings. Documents further responsive to this Interrogatory wil be
produced and additional responsive documents may be within Plaintiff’s exclusive
possession and control.


INTERROGATORY NO. 21: Identify all input that any Defendant (including their counsel)
had in relation to the December 19, 2018 letter signed by Thomas Fawkes relating to the
Bankruptcy, attached as Exhibit 1 (“Fawkes Letter”), specifying your input, or lack thereof,
per each page and paragraph of the Fawkes Letter, and advise whether you received any draft
of the Fawkes Letter before it was transmitted to VBF’s counsel.

ANSWER: Wulf objects to this Interrogatory as vague and overbroad as the term
“input” is undefined. Wulf also objects to this Interrogatory to the extent it asks him to
identify sources of information in letter that he did not author. Wulf also objects to this
Interrogatory to the extent it seeks the discovery of communications subject to attorney
client privilege and/or common interest privilege. Subject to these objections, Wulf
states that he was interviewed by Mr. Fawkes, as counsel for the Official Committee of
Unsecured Creditors on December 11, 2018.


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INTERROGATORY NO. 22: Identify by relevant identifying numbers, domain names,
dates, subject matter, and type any and all domain names, patents, trademarks, and/or
copyrights (including, but not limited to common law copyrights), including successful and
unsuccessful applications, that were in the name of VBF as an applicant or co-applicant,
licensed to or from VBF, and/or funded in whole or in part by VBF funds.

ANSWER: Wulf objects to this Interrogatory to the extent it seeks information and
records in Plaintiff’s exclusive possession that Wulf does not have possession or control
over or access to. Wulf further objects to this Interrogatory to the extent it is not limited
in time in any way. Subject to these objections, documents further responsive to this
Interrogatory are within Plaintiff’s exclusive possession and control.


INTERROGATORY NO. 23: Identify all witness statements related to the Complaint or
VBF of which you are aware by identity of witness, form of statement (affidavit, deposition
testimony, trial testimony, voicemail transcriptions, inclusion in memo, counsel summary,
etc.), date of statement, and identity of any person or entity in possession or control of such
statement.

ANSWER: Wulf objects to this Interrogatory to the extent it seeks communications and
documents subject to attorney-client privilege, work product protection and/or common
interest privilege. Subject to this objection, Wulf believes that witness statements were
made or provided to Eric Simms, VFB’s HR Director, in the fall of 2017 in connection
with his investigation of multiple instances of harassment by Jens Harkoetter. Wulf also
believes that additional witness statements may have been made to Suzanne Pariser in
connection with her investigation of Mr. Harkoetter performed on behalf of Alder
and/or Amstar. Documents responsive to this Interrogatory will be produced and
additional responsive documents may be within Plaintiff’s exclusive possession and
control.


INTERROGATORY NO. 24: Explain why Terry Lyons and Gregg Sedun were added to
VBF’s Board of Directors and identify any transfer of VBF shares to either individual and/or
entities that they own and/or control, the amount paid for such shares, and why the transfer
occurred.

ANSWER: Wulf objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Wulf objects to this Interrogatory to the extent it asks him
to attest to the state of mind of others Wulf also objects to this Interrogatory to the
extent it seeks communications that may be subject to attorney-client privilege. Subject
to these objections, Wulf states Terry Lyons was added as VBF’s Chairman of Board
due to his years of corporate governance and being lead director of large global
investment banking firm, Mr. Lyons traveled to Switzerland at the request of Dr. Otto
Happel to meet for an interview to join the Board and act as Chairman.


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Gregg Sedun was asked to join the Board after he assisted in securing $4,500,000 in
bridge loans from 23 different investors in 2014 through mid-2016 and in order to access
his vast capital markets banking background.


INTERROGATORY NO. 25: Explain why you refused to provide John Brobjorg
supporting documentation for expenses that you submitted to VBF for reimbursement.

ANSWER: Wulf objects to this Interrogatory as seeking a narrative response that is
better suited to a deposition. Wulf further objects to this Interrogatory as it is not
limited in time in any way. Wulf also objects to this Interrogatory to the extent that it
assumes facts that are not true. Subject to these objections, Wulf states that there were
no instances in which John Brobjorg requested documentation for expenses Wulf
smutted to be reimbursed by VBF and Wulf did not provide them.

Date: April 9, 2019                                         Respectfully submitted,

                                                            Underwood Perkins, P.C.

                                                              /s/ Kimberly D. Annello
                                                            Kimberly D. Annello
                                                            State Bar No. 24093704
                                                            Two Lincoln Centre
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                                                            Attorney for Defendants




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                                   LESLIE A. WULF’s
                         DECLARATION UNDER PENALTY OF PERJURY


I, LESLIE A. WULF, state and declare,

          My name is Leslie A. Wulf, my date of birth is                                        ,

and my address is                                                                               ,

United States of America. I have read the forgoing answers to Interrogatories and I declare

under penalty of perjury that those answers are true and correct.


Executed in                              County, State of Texas, on the               day           of

                              , 2019.




                                                              ________________________________
                                                              Leslie A. Wulf




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                                          CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing instrument was

served upon all counsel of record, as listed below, via e-serve and/or email, on this 9th day of

April, 2019.

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          Caroline Pritikin
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                                                             /s/ Kimberly D. Annello
                                                            Kimberly D. Annello




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                          EXHIBIT J




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                                    T HOMPSON & K NIGHT LLP
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                                               July 2, 2019

VIA ELECTRONIC MAIL

Kim Annello
Two Lincoln Centre
5420 LBJ Freeway, Suite 1900
Dallas, Texas 75240
Kannello@uplawtx.com


Re:        VeroBlue Farms USA, Inc. v. Leslie A. Wulf et al., Case No. 3:19-cv-00764-L
           Deficiencies Regarding Defendants’ Discovery Responses

Dear Kim:

        This letter in sent in accordance with Federal Rule of Civil Procedure 37 and Local Rule
7.1(a) regarding Leslie Wulf (“Wulf”), Bruce Hall (“Hall”), James Rea (“James Rea”) and John
E. Rea (“Ted Rea”)’s responses to VBF’s First Set of Interrogatories to Wulf, Hall, James Rea and
Ted Rea (collectively, the “Interrogatory Responses” by the “Responding Defendants”), the
Responding Defendants’ responses to VBF’s First Request For Admission of Fact (the “Admission
Responses”), and the Responding Defendants’ responses to VBF’s Requests for the Production of
Documents (the “Document Responses”) (collectively, the “Discovery Responses”).

       On April 15, 2019, counsel for VBF and the Responding Defendants met and conferred
regarding certain deficiencies in the Interrogatory Responses (“April Conference”). Below, VBF
describes the specific deficiencies, and requests supplemental answers for each deficiency, as was
discussed during the April 15, 2019 conference. Please provide a response and supplemental
answers, production, and a privilege log by July 16, 2019.

      I.         VBF’s Interrogatories to Founders

        As a preliminary matter, many of the Interrogatory Responses do not comply with Federal
Rule of Civil Procedure 33 which requires “candor in responding” to discovery by interrogatory.
See Dollar v. Long Mfg., N.C., Inc., 561 F.2d 613, 616-17 (5th Cir. 1977). Responding Defendants
are required to “pull together a verified answer by reviewing all sources of responsive information
reasonably available to [them] and providing the responsive, relevant facts reasonably available to
[them].” Areizaga v. ADW Corp., 314 F.R.D. 428, No. 3:14-cv-2899-P (N.D. Tex. April 4, 2016).




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Specifically, if a Responding Defendant has information reasonably available to him regarding
each other Defendant, that information must be provided. It appears that at least the following
Interrogatory Responses are not based upon a review of all information reasonably available to the
Responding Defendants including interrogatories related to each other Defendant’s Affiliated
Entities, banks or financial institutions, amounts received from VBF, real estate, aquaculture
experience, beneficial and equitable interests (including trusts); sources of information for the
Fawkes letter. See, e.g., Wulf Interrogatories 1, 2, 3, 4, 11 (as to each Defendant’s aquaculture
experience), 16, 21; J. Rea Interrogatories 1, 2, 3, 15 (representation of any Defendant by Cassels
Brock) 16 (communications between any Defendant and Jackson Walker or Cassels Brock) 23
(claims against any Defendant); Hall Interrogatories 1, 2, 3, 24 (companies shut down because of
financial problems); and Ted Rea Interrogatories 1, 2, 3, 22. Please revise all Interrogatory
Responses, including those listed in this paragraph, after reviewing “all sources of responsive
information.” VBF reserves all rights to raise deficiencies not specifically discussed herein at a
later date.

   A. Defendants’ Net Worth Is Discoverable and Relevant to VBF’s Punitive Damages
      Claims

        The Responding Defendants objected to all requests seeking information relating to their
net worth including any real estate or other personal property they own. As you know, Federal
Rule of Civil Procedure 26(b) allows a party to obtain discovery “regarding any nonprivileged
matter that is relevant to any party’s claim or defense[.]” FED. R. CIV. P. 26(b)(1). The information
sought “need not be admissible in evidence to be discoverable.” Id. VBF asserts in this lawsuit
that the Responding Defendants wasted corporate assets, including an $80-$90 million investment.
See, e.g., Compl. ¶¶ 40-42; see also Proposed Second Am. Compl. ¶¶ 55, 56, 171-175, 233, 315,
333, 339, 342, 437-450. VBF is entitled to all information that may lead to the discovery of where
those funds were spent, by whom, and for what purpose while the Defendants were in control of
VBF, which includes information relating to net worth and any real estate or personal property.

        VBF also asserts in this lawsuit that it is entitled to punitive damages. See, e.g., Compl. ¶¶
48, 56, 63, 73, 77; see also Proposed Second Am. Compl. ¶¶ 235, 243, 250, 254, 294, 298, 363,
437-450. District courts in the Fifth Circuit have held that “evidence of net worth is relevant,
discoverable, and admissible at trial to evaluate a plaintiff’s punitive damage claim.” Wright v.
Weaver, No. 4:07-cv-369, 2009 WL 5170218, at *4 (E.D. Tex. Dec. 18, 2009) (citing Ferko v.
Nat’l Ass’n for Stock Car Auto Racing, Inc., 218 F.R.D. 125, 137 (E.D. Tex. 2003)). Texas courts
have similarly held that “parties may discover and offer evidence of a defendant’s net worth” in
cases where punitive or exemplary damages may be awarded. In re Jacobs, 300 S.W.3d 35, 40
(Tex. App.—Houston [14th Dist.] 2009) (citations omitted).

       For these reasons, the Responding Defendants must withdraw their objections to any
Discovery Responses relating to their net worth and provide proper responses, as discussed above
and in more detail below.




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   B. Interrogatories to Wulf

       1. Relevancy Objections

        Wulf’s objections based on relevancy are improper. Information related to Defendants’
Affiliated Entities (No. 1); real estate owned by Wulf, Defendants’ Family, and Defendants’
Affiliated Entities (No. 4); all professionals who performed services for any Defendant,
Defendants’ Affiliated Entities, or Defendants’ Family (No. 13); Wulf and his spouse’s current
personal net worth (No. 14); and beneficial or equitable interests of any Defendant (No. 16) are all
relevant to several issues in this litigation, including (1) VBF’s claims that the Defendants
misappropriated and wasted VBF corporate funds and used VBF funds for the benefit of
themselves, their families, or their affiliated entities; (2) VBF’s claims that the Responding
Defendants overpaid professionals who were hired to provide services for VBF; (3) VBF’s
accounting claim against the Defendants; (4) Defendants’ net worth (including liquid assets and
personal property); and (5) VBF’s request for punitive damages. Please withdraw these objections
and answer these interrogatories.

       2. Insufficient Answers

      With respect to Interrogatory No. 3, Wulf failed to include Christine Gagne’s compensation
and possibly others. The request requires that Wulf identify “all amounts” that “Defendants’
Family” received from VBF. Please supplement this answer.

        With respect to Interrogatory No. 13, Wulf objected to providing any single professional
who performed any services for him, any other Defendant, any Defendants’ Affiliated Entities, or
any member of Defendants’ Family. VBF hereby requests a supplemental answer to this
interrogatory relating to any professionals who performed any services for him,    any     other
Defendant, any Defendants’ Affiliated Entities, or any member of Defendants’ Family who were
paid with VBF funds. Please supplement this answer.

       With respect to Interrogatory No. 18, you represented during the April Conference that
Wulf would revise his response to this request to include reference to the Third-Party Complaint.
Please do so.

        With respect to Interrogatory No. 21, Wulf asserted an objection based on communications
between Defendants and Mr. Fawkes being “subject to the attorney client privilege and/or common
interest privilege.” As you know, VBF vehemently objects to any privilege claim that you have
made relating to communications between your clients and any attorney or committee member in
the Bankruptcy Proceeding. In addition to this improper objection, Wulf responded that he “was
interviewed” by Mr. Thomas Fawkes on December 11, 2018, which implies that Wulf’s only input
to the December 19, 2018 letter signed by Mr. Fawkes arose from one single interview. In the
April Conference, you represented that it was “hard to separate letters and interviews.” Please
withdraw your privilege objection and supplement Wulf’s answer to Interrogatory No. 21.




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       3. Withdrawn Interrogatory

       Based on your representation during the April Conference that Wulf admits that he had no
experience in the aquaculture business prior to acquiring VBF in 2014, VBF withdraws Request
No. 11. VBF reserves the right to raise this request, or the information requested, at a later date,
including at any deposition and trial.

   C. Interrogatories to Hall

       1. Relevancy Objections

        Defendant Hall objected to providing information related to Defendants’ Affiliated Entities
(No. 1); banks at which Defendant Hall, Defendants’ Affiliated Entities, or Defendants’ Family
have an account or can withdraw funds (No. 2); real estate owned by Hall, Defendants’ Family,
and Defendants’ Affiliated Entities (No. 3); Hall and his spouse’s current personal net worth (No.
15); and the names of any trusts to which any Defendant, Defendants’ Affiliated Entities, or any
member of Defendants’ Family is a trustee or beneficiary (No. 20), on the basis, in part, that such
information is not relevant. As described above, these requests are relevant to (1) VBF’s claims
that the Defendants misappropriated and wasted VBF corporate funds and used VBF funds for the
benefit of themselves, their families, or their affiliated entities; (2) VBF’s claims that the
Responding Defendants overpaid professionals who were hired to provide services for VBF; (3)
VBF’s accounting claim against the Defendants; (4) Defendants’ net worth (including liquid assets
and personal property); and (5) VBF’s request for punitive damages. Please withdraw these
objections and answer these interrogatories.

       2. Insufficient Answers

        Defendant Hall failed to sufficiently answer Interrogatory No. 4 relating to travel by the
Defendants or Defendants’ Family to the extent that VBF funded any portion of it. In his response,
Hall stated that he “cannot identify all travel that he or other Defendants made . . .that may have
been funded by VBF.” To clarify, the interrogatory asks that Hall provide information relating to
his travel and the other Defendants’ travel that he knows about from 2014 through 2017. While
Hall references his current lack of access to Plaintiffs’ books and records, there are certainly
records available to Hall—including his own—that would provide this type of information. Please
supplement this answer with this information that Hall can currently identify through resources
reasonably available to him.

        Defendant Hall failed to provide a sufficient response to Interrogatory No. 5, which
requests that Hall identify all living expenses, including all expenses paid for at least in part by
VBF. Hall identified that he traveled to Iowa from Coppell, Texas “an average of twice per month”
and that the travel expenses and meals were expensed to VBF. Hall additionally stated, in relevant
part, that “[d]ocuments further responsive to this Interrogatory will be produced.” In his response,
Hall fails to provide any information relating to his living expenses for those trips, nor does he
provide any calendar or travel log relating to each. Information relating to Hall’s travel and living



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expenses are clearly relevant to VBF’s claims that Defendants misappropriated and wasted
corporate assets. If Hall has any further information or documents that he intends to produce
relating to his travel and living expenses paid for with VBF funds, please supplement this answer
and produce all responsive documents in accordance with Rule 33.

        Defendant Hall failed to sufficiently answer Interrogatory No. 9, which asks that he provide
information relating to amounts the Defendants or Defendants’ Family received directly or
indirectly from VBF, which is also relevant to VBF’s claims that Defendants misappropriated and
wasted corporate assets. As discussed in the April Conference, please confirm that the Defendants
will or have produced all documentation relating to Hall’s “family entity” which purchased
“3,300,000 shares of stock in VeroBlue Farms, Inc. (Canada) at $.000001 per share” in October
2014. Please supplement this answer.

        Defendant Hall also failed to sufficiently answer Interrogatory No. 10, which requests that
Hall state VBF’s value at the end of each year. As discussed in the April Conference, Hall should
provide the value of VBF to the best of his recollection with any appropriate qualifications to his
answer. For the same reason, Defendant Hall’s answer to Interrogatory No. 11 regarding any and
all valuations of VBF is insufficient. Please supplement these answers.

       With respect to Interrogatory No. 16, please produce any calendars or travel logs for Hall.

       3. Withdrawn Interrogatories

        Finally, as discussed in the April Conference, VBF agreed to withdraw Interrogatories Nos.
13, 14, and 19 directed to Hall. VBF reserves the right to raise these requests, or the information
requested, at a later date, including at any deposition and trial.

   D. Interrogatories to James Rea

       1. Relevancy and Privilege Objections

        In relevant part, Defendant James Rea objected to providing information related to
Defendants’ Affiliated Entities (No. 1); banks at which Defendant James Rea, Defendants’
Affiliated Entities, or Defendants’ Family have an account or can withdraw funds (No. 2); real
estate owned by James Rea, Defendants’ Family, and Defendants’ Affiliated Entities (No. 3);
communications between Defendants or Defendants’ counsel and any member of the Nelson
Family or Randy Chalfant (No. 17); communications between Defendants or Defendants’ counsel
and any one of the following: Kenneth Lockard, his law firm, FishDish LLC, Goldstein &
McClintock LLP, or Horwood Marcus & Berk (No. 18); and James Rea and his spouse’s current
personal net worth (No. 20), on the basis that such information was not relevant to the claims or
defense raised in this matter.

      As discussed above, these requests are relevant to (1) VBF’s claims that the Defendants
misappropriated and wasted VBF corporate funds and used VBF funds for the benefit of



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themselves, their families, or their affiliated entities; (2) VBF’s claims that the Responding
Defendants overpaid professionals who were hired to provide services for VBF; (3) VBF’s
accounting claim against the Defendants; (4) Defendants’ net worth (including liquid assets and
personal property); and (5) VBF’s request for punitive damages.               Additionally, the
communications between Defendants and the Nelson Family are relevant to VBF’s claims that the
Defendants misrepresented the business plans, operational issues, and the Metrics to disinterested
directors of VBF. See, e.g., Compl. ¶ 41; Proposed Second Am. Compl. ¶¶ 57-63, 99, 127, 142.
Please withdraw these objections and answer these interrogatories.

        Further, any communications between Defendants and the Nelson Family relating to the
Bankruptcy proceeding are not privileged. Please withdraw all objections based on privilege. To
the extent that you refuse to withdraw your objections, please produce a detailed privilege log as
described in Section III.

       2. Insufficient Answers

        In response to Interrogatory No. 9, which requests that James Rea provide information
relating to “all contractors, VBF employees, and professionals” who performed any work or
services on the Wulf Lake House or waste treatment plant, James Rea improperly limits his
response to “contractors” who were or were not engaged (or paid) by VBF to work on the
reconstruction of Wulf’s home in Texas. The interrogatory, however, requires that Mr. Rea
identify “all contractors, VBF employees, and professionals” and how each of those individuals
was paid for that work. This request is relevant to VBF’s claims that the Responding Defendants
overpaid professionals who were hired to provide certain services to VBF. During the April
Conference, you agreed to revisit this answer. Please supplement your answer to respond to
whether there were any VBF employees or other professionals that performed any work on the
Wulf Lake House or the waste treatment plant.

       In response to Interrogatory Nos. 10 and 11, James Rea’s answers are non-responsive or
incomplete. Interrogatory No. 10 requests information regarding vehicles purchased or acquired
by any of the Defendants. Interrogatory No. 11 requests information about the duties that Tracy
Arbanas had not related to the Wulf Lake House. Please supplement these answers.

       In response to Interrogatory No. 14, James Rea refused to provide information relating to
his knowledge of Jackson Walker LLP’s representation of any other Defendants other than
himself. During the April Conference, you agreed to revisit this response. Please supplement the
answer.

       In response to Interrogatory No. 19, James Rea only answered as to his own knowledge of
any “investigations, surveillance, or other formal or informal observations relating to VBF.” The
request is not limited to investigations of which James Rea has detailed, personal knowledge.
Under Rule 33, James Rea must answer regarding any investigations, surveillance or other formal
observations of which he has any knowledge. Please supplement the answer.




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       In response to Interrogatory No. 21, James Rea referred to the fact that he traveled to Iowa
from his home in Plano, Texas on average 3-4 days per week. During the April Conference, you
agreed to inquire whether any of the Defendants have calendars or travel logs. Please produce
those documents and supplement this answer.

         Finally, in response to Interrogatory No. 25, James Rea stated that he cannot “recall every
service provider who may have performed information technology services.” But James Rea is
required to provide the name of any service provider that he does recall or that he can determine
by access to sources reasonably available to him. During the April Conference, you agreed to
revisit James Rea’s response. Please supplement this answer.

       3. Withdrawn Interrogatories

       As we discussed in the April Conference, VBF has agreed to withdraw Interrogatories Nos.
11 and 12 directed to James Rea. VBF reserves the right to raise these requests, or the information
requested, at a later date, including at any deposition and trial.

   E. Interrogatories to Ted Rea

       1. Relevancy Objections

        In relevant part, Defendant Ted Rea objected to providing information related to
Defendants’ Affiliated Entities (No. 1); banks at which Ted Rea, Defendants’ Affiliated Entities,
or Defendants’ Family have an account or can withdraw funds (No. 2); real estate owned by Ted
Rea, Defendants’ Family, and Defendants’ Affiliated Entities (No. 3); all professionals who
performed services for any Defendant, Defendants’ Affiliated Entities, or Defendants’ Family (No.
17); Ted Rea’s and his spouse’s current personal net worth (No. 18); and the names of any trusts
to which any Defendant, Defendants’ Affiliated Entities, or any member of Defendants’ Family is
a trustee or beneficiary (No. 22), on the basis that these interrogatories seek information that is not
relevant to the claims or defenses raised in this matter.

       As discussed above, these requests are relevant to (1) VBF’s claims that the Defendants
misappropriated and wasted VBF corporate funds and used VBF funds for the benefit of
themselves, their families, or their affiliated entities; (2) VBF’s claims that the Responding
Defendants overpaid professionals who were hired to provide services for VBF; (3) VBF’s
accounting claim against the Defendants; (4) Defendants’ net worth (including liquid assets and
personal property); and (5) VBF’s request for punitive damages. Please withdraw these objections
and answer these interrogatories.

        Ted Rea’s relevancy objections to Interrogatory No. 21, which requests information
relating to presentations by any Defendant to investors, lenders, or shareholders are also not well
founded. VBF raised this deficiency in the April Conference, and you represented that you would
“look into” whether Defendants’ have any documents (including marketing decks). Please confirm




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that you have produced any such documents, or intend to do so shortly. Please supplement this
answer.

       2. Insufficient Answers

       With respect to Interrogatories Nos. 11 and 12, Ted Rea indicated that he would produce
documents responsive to these interrogatories. Please confirm that Mr. Rea has produced
documents relating to VBF’s annual production and all Defendants’ representations of VBF’s
value. Please either supplement this answer or identify the documents responsive to these requests
in accordance with Rule 33 by July 16.

        Please supplement Mr. Ted Rea’s answer to Interrogatory No. 13 with any appropriate
qualifications as to the growth rates of barramundi by July 16.

        As discussed in the April Conference, VBF was amenable to withdrawing Interrogatory
No. 4 relating to payments Ted Rea received from any Sheriff Entities. However, after further
consideration, we request that Ted Rea supplement his response to Interrogatory No. 4, as the
information provided is vague and confusing. Specifically, please provide additional information
relating to “SSi,” including (i) an explanation as to why Sheriff loaned funds to Bajjer to pay off a
loan on behalf of SSi to Green Bay; (ii) a description of SSi; (iii) a description of what the loan to
Green Bay was for; (iv) why Bajjer paid off the loan; and (v) any other relevant details that clarify
your response. Also, please produce any relevant documentation.

       3. Withdrawn Interrogatory

         Furthermore, based on your representations during the April Conference that you are
unaware that any family member of any Defendant received any kind of payment or reimbursement
of expenses as described in Interrogatory No. 9 (except for Christine Gagne O’Brien), VBF
withdraws that request. VBF reserves the right to raise this request, or the information requested,
at a later date, including at any deposition and trial. If Ted Rea decides to supplement this answer
or if we have misunderstood your representation, please supplement the answer.

   II. The Admission Responses

        The Admission Responses to Requests No. 85-90, which seek information relating to
VBF’s bankruptcy case, included improper privilege objections without any clarification as to
what privilege Responding Defendants are actually asserting, whom that privilege covers, and
why. As you know, VBF vehemently objects to any privilege claim that you have made relating
to the Bankruptcy, as outlined more in-depth in VBF’s Response to Certain Defendants’ Motion
to Quash Subpoenas or for Protective Order. Dkt. 42. Please withdraw all privilege objections
and properly respond to Requests No. 85-90. To the extent that you refuse to withdraw your
objections, please produce a detailed privilege log.




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   III. The Document Responses

        The Responding Defendants’ objections based on relevancy are improper. First,
Documents related to Defendants’ Affiliated Entities (Request No. 5); bank accounts (Request No.
6); federal and state income (Request No. 8); and property or real estate (Request No. 9) are
relevant to (1) VBF’s claims that the Defendants misappropriated and wasted VBF corporate funds
and used VBF funds for the benefit of themselves, their families, or their affiliated entities; (2)
VBF’s claims that the Responding Defendants overpaid professionals who were hired to provide
services for VBF; (3) VBF’s accounting claim against the Defendants; (4) Defendants’ net worth
(including liquid assets and personal property); and (5) VBF’s request for punitive damages.

        Second, documents relating to Defendants’ retention of Jackson Walker LLP to represent
any Defendant or any of Defendants’ Affiliated Entities (Request No. 79) are relevant because
Defendants claim that Jackson Walker LLP represented VBF as it relates to certain termination
agreements that Defendants rely upon. And the mere retention of Jackson Walker LLP as counsel,
in and of itself, is not privileged.

        Third, documents relating to the Nelson Family or Randy Chalfant (Request No. 81) are
relevant because of the Nelson’s involvement in Iowa’s First (before it became VBF) and because
of the Nelson’s continued involvement in VBF during Defendants’ tenure. And, to the extent that
Responding Defendants rely on privilege, as discussed above, VBF vehemently objects to any
privilege claim that they have made relating to the Bankruptcy.

        Further, documents relating to Defendants and Mr. Lockard, FishDish LLC, and/or the
counsel referenced in Request No. 82 are relevant given Mr. Lockard and FishDish LLC’s
relationship with VBF, and are not privileged as it relates to the Bankruptcy proceeding.

        Please withdraw each of these objections and properly respond to Request Nos. 5, 6, 8, 9,
79, 81, and 82, as discussed above.

       Defendants also have represented that they have additional documents to produce, but have
not produced these documents and have refused to provide a date for the completion of document
production.

        To the extent that you are withholding any responsive documents or information based on
any assertion of privilege or objection based on privilege, VBF demands that you produce a
detailed privilege log pursuant to Fed. R. Civ. P. 26(b)(5)(A) (providing that a party withholding
information otherwise discoverable by claiming that the information is privileged or subject to
protection as trial-preparation material, must: “(i) expressly make the claims; and (ii) describe the
nature of the documents, communications, or tangible things not produced or disclosed-and do so
in a manger that, without revealing information itself privileged or protected, will enable other
parties to assess the claim”).




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        As you know, there is now a Protective Order in place (Dkt. 112) under which the
Responding Defendants can designate “any document or portion of a document. . .or interrogatory
answer produced” that they “reasonably and in good faith believe[] is of such a “commercially or
competitively sensitive nature that disclosure” to anyone other than certain persons designated
therein could “reasonably be expected to result in injury.” Dkt. 112, ¶¶ 6, 7, 13.

      Please provide a response to each of the issues set forth above in Sections I-III, including
amended and/or supplemental answers, productions, and privilege logs, by July 16, 2019.

      IV.      Other Discovery Requests

         Responding Defendants have failed to provide dates for their depositions since the April
Conference and in response to an email of May 9, 2019 which provided additional deposition
dates. As you know, VBF vehemently disputes your position in the April Conference that neither
Mr. Hall nor Mr. Ted Rea would be presented for their deposition until after the Court resolves
issues relating to their alleged releases. All Responding Defendants have answered the Amended
Complaint. None have moved to dismiss on the grounds of any purported release. Accordingly,
there is no supportable reason not to produce all four Responding Defendants for their depositions.
Please provide dates in September and October for all four depositions by July 10, 2019.

       On June 24, 2019, VBF’s counsel sent a draft Motion for Leave to Take Additional
Depositions and requested a conference on that Motion. Please provide dates the week of July
8 or July 15 to conduct a conference on this issue.

        Finally, VBF served the registered agent of Law Holdings LLC, an entity associated with
Wulf, on February 21, 2019. The subpoena response is long overdue. Even though a conference
is not required for such a third-party subpoena and only out of an abundance of caution without
waiver of VBF’s rights to seek compliance from Law Holdings LLC, VBF would like to discuss
whether your office will be responding to the subpoena on behalf of Law Holdings. Please
provide dates the week of July 8 or July 15 to conduct a conference on this issue.

                                             Very truly yours,




                                             Nicole L. Williams


cc:         Counsel of Record




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                          EXHIBIT K




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                                                       July 22, 2019

Nicole L. Williams                                                     Via Email Nicole.Williams@tklaw.com
Thompson & Knight LLP
1722 Routh Street, Suite 1500
 Dallas, Texas 75201


Re:       VeroBlue Farms USA, Inc. v. Leslie Wulf, et al., Case No. 3:19-cv-00764-L (N.D. Tex.)


Dear Ms. Williams:

       We write in response to your letter dated July 2, 2019 and our follow up conversation on July
22, 2019.

          Relevance Objections

        Defendants and their counsel are well aware of the requirements of the Federal Rules of Civil
Procedure with respect to responding to discovery requests, and have complied with such rules.
Many of Plaintiffs’ requests were directed to all four Defendants and were answered by all four
Defendants. Defendants will not duplicate or repeat answers for each other. Similarly, Defendants
will not answer discovery requests directed to actions taken by, services performed for, or payments
made to, their family members and/or affiliated entities. Defendants are before the court; their
families and other entities are not. It is not an appropriate use of any discovery device under Rules 33
or 36 to ask a party to attest to a matter on behalf of a nonparty.

         Similarly, Defendants will not provide information about their assets, financial situations,
business ownership, or any other information related to any similar requests for their spouses,
children or family members. This includes Wulf Interrog. Nos. 1, 4, 13, 16; Hall Interrog. Nos. 1, 2,
3, 9, 15; J. Rea Interrog. Nos. 1, 2, 3, 20; T. Rea Interrog. Nos. 1, 2, 3, 17, 18, 22 and Doc. Req. Nos.
5, 6, 8, 9. Such information is not relevant to VBF’s claims of misappropriation or overpayment.
VBF has maintained exclusive access to all of its own records of disbursements and expenditures,
and has identified transactions that it deemed self-dealing and/or exorbitant. It can certainly rely on
its own records to assess whether payments, purchases or reimbursements made by VBF were proper
without examining Defendants’ entire personal financial situation and that of their spouses and


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families. Moreover, these requests are not at all limited to persons or entities that VBF may have
paid or purchased goods or services from. The aforementioned requests seek information regarding
all assets and financial information for every Defendant, every member of the family, and any
business entity each Defendants or family member may have ever been involved with. VBF is
attempting to engage in a punitive discovery process, not only with Defendants, but with their
spouses, children, business partners, and colleagues as well. Such inquiries do not begin to approach
relevant discovery, and Defendants will not take part in such an abuse of the discovery process.

        As to these discovery requests being relevant to VBF’s claim for an accounting and/or
punitive damages, both of those issues are remedies, and thus, are not relevant until liability is
established. Plaintiff asserts that Defendants’ net worth is both discoverable and relevant to VBF’s
punitive damages claim, relying on Federal Rule of Civil Procedure 26(b), decisions arising out of
the Eastern District of Texas, and a Houston Appellate Court. However, your letter conveniently
ignores Texas Civil Practice & Remedies Code § 41.0115, enacted on September 1, 2015, that
changed the landscape of a litigant’s prior right to obtain net worth discovery. With the enactment of
§ 41.0115, a movant must now first submit a motion to the trial court demonstrating a substantial
likelihood of success on the merits of a claim for exemplary damages before being allowed to obtain
net worth discovery. Tex. Civ. Prac. & Rem. Code § 41.0115(a). Then if the trial court, after notice
and a hearing, determines that the movant has met its burden, the trial court may only authorize the
use of the least burdensome method available to obtain such evidence. Id. § 41.0115(b). This statute
further supports Defendants’ position that a scorched earth discovery campaign into their net worth
and financial situation, and that of their families and business partners, is not relevant at this point in
the proceeding.

Common Interest Privilege

        VBF demanded that Defendants answer multiple discovery requests regarding their
communications, if any, with the Official Committee of Unsecured Creditors, the Ad Hoc Equity
Committee, the members of both committees, and their counsel in the bankruptcy proceedings
currently underway in Iowa. As Defendants have represented, Defendants and their counsel shared a
common interest with the Official Committee of Unsecured Creditors, the Ad Hoc Equity
Committee, the members of both committees, and their counsel with respect to challenges raised by
both committees to VBF’s reorganization plan submitted in its Chapter 11 proceeding. The common
interest privilege is well recognized under Iowan and Texas law as set forth in Defendants’ Motion to
Quash [Dkt. No. 37-1] and its related briefing. While Defendants are certainly are aware of VBF’s
“vehement” objections to every position that Defendants have taken in this case, such objections,
however vehement, does not diminish the applicability of this privilege. Defendants were
interviewed by counsel for the Creditors Committee on December 11, 2018, and were represented by
counsel during that interview. Whether this interview was the only source, the primary source, or a
confirmatory source for the Fawkes Letter or the Equity Committee’s challenges, Defendants cannot
know or say. At that time, the parties were acting in joint and common interest to challenge VBF’s

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plan and, consequently, their communications regarding the Fawkes Letter and the Equityholders’
Committee’s actions are privileged. These communications will be included on the privilege log
provided once Defendants’ document production is complete.


Wulf Answers to Interrogatories

        Interrog. No. 3-- As you are well aware, Defendants were summarily terminated from VBF
over 18 months ago and have not had access to VBF’s records or documents since then. Despite your
assumption that Defendants have VBF’s books and records, or access to such, they do not. And
Defendants will not guess or speculate in response to discovery requests that ask for specific figures
at specific points in time, especially not when Plaintiff has the very documents to ascertain this
information.

         Interrog. No. 13- Mr. Wulf stands on his objection to answering any interrogatory on behalf
of his family members or affiliated entities. To the extent that VBF has agreed to limit this request to
identifying professionals who provided services to him that were paid with VBF funds, Wulf will
supplement his answer.

       Interrog. No. 18 – Mr. Wulf will supplement this answer to reflect the allegations raised in
the Third-Party Complaint.

          Interrog. No. 21 – Please see discussion of common interest privilege above.

Hall Answers to Interrogatories

        Interrog. Nos. 4, 5 and 16 – Mr. Hall does not have calendars or travel logs to enable him to
identify every trip that he may have made during his four-year tenure as CFO of VBF. He has
answered these interrogatives to the best of his knowledge and based on available records. To the
extent he has any records of such travel, they will be produced.

       Interrog. No. 9 – Mr. Hall will produce all nonprivileged documents related to his purchase of
3,330,000 shares of stock in VBF, Inc. in October 2014.

J. Rea Answers to Interrogatories

        Interrog. Nos. 17 and 18 – Mr. Rea stands on his objections to these interrogatories as
irrelevant and seeking privileged information. Mr. Rea’s (or any Defendants’) challenge to VBF’s
Chapter 11 reorganization plan was wholly within their rights. The bankruptcy court did not make
any finding that such challenge was improper or without merit. In fact, VBF and its plan sponsor and
majority owner, Alder Aqua, agreed to address many of the objections that Defendants raised at the

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Confirmation Hearing via an agreed order. Defendants’ assertion of their legal rights to object and/or
challenge VBF’s reorganization plan do not serve as the basis for any claim for relief by VBF. Even
if these requests were relevant, they seek communications governed by the common interest
privilege. As to communications with the Nelson family, any communications after October 24, 2018
are subject to Defendants’ common interest privilege with other parties who were challenging VBF’s
Chapter 11 reorganization plan. To the extent Mr. Rea, or any other Defendant, had communications
with the Nelson family before this date, those will be produced

          Interrog. No. 9 – Mr. Rea will supplement this response, if necessary.

        Interrog. No. 10 – This interrogatory requests information regarding any vehicle owned by
any Defendant during a four-year period. Mr. Rea is not privy to the personal consumption decisions
of the other Defendants. Mr. Rea will supplement his answer to this interrogatory to be limited to
vehicles that were purchased or leased by VBF and used by Defendants.

        Interrog. No. 11 – Mr. Rea will supplement this response with respect to Ms. Arbanas’ duties,
to the extent she had any.

        Interrog. No. 14 – Each Defendant does not know the other’s individual or personal need for
legal counsel. Mr. Rea has answered this to the best of his knowledge.

        Interrog. No. 19 – Mr. Rea did not limit this answer to “investigations of which [he] has
detailed, personal knowledge.” There is no further information to be provided.

        Interrog. No. 21 – Mr. Rea does not have calendars or travel logs to enable him to identify
every trip that he may have made during his four-year tenure with VBF.

          Interrog. No. 25 -- Mr. Rea will supplement this response, if necessary.

T. Rea. Answers to Interrogatories

       Interrog. No. 4 – Your letter purports to improperly add new questions to this interrogatory
which is not permitted by Rule 33. Documents related to the Bajer/SSi loan will be produced in
response to the subpoena served on Bajjer.

       Interrog. Nos. 11-12, 21 – Mr. Rea cannot identify every representation made by him, or
anyone else ,about the business they were operating on a daily basis. If the representations
referenced in these requests are included in emails or presentation decks, they will be produced.

          Interrog. No. 13 – Mr. Rea will supplement this response, if necessary.


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Requests for Admissions

        Requests Nos. 85-90 – Defendants stand on their objections that these admissions seek
privileged communications as discussed above. A privilege log is not required in response to a
request for admission, but a log will be provided in response to Plaintiff’s document requests.

Responses to Document Requests

        Request No. 79 – It is unclear how Jackson Walker’s representation of an unrelated entity
that may or may not have been affiliated with one or more of the Defendants at any time is relevant
to Defendants’ claims arising out of their termination agreements. Defendants were separately
represented by undersigned counsel in connection with those agreements, and communications
between Defendants’ counsel, Jackson Walker, and counsel for VBF related to negotiation and
VBF’s later breach of those agreements have been produced, and/or will be produced, in response to
VBF’s document requests. This request appears to be directed to VBF’s adversary proceeding against
Jackson Walker in the Chapter 11 proceeding and not at the claims in this case. Although Defendants
do not believe this is a proper use of discovery in this matter, anticipating this issue, Defendants will
identify any separate entities that were retained by Jackson Walker and the dates of such
representation. If retention letters exist, they will be produced.

        Requests Nos. 81 and 82 – Please see discussion of common interest privilege above. To the
extent Defendants have any documents with the named individuals prior to October 24, 2018, those
will be produced.

       As we discussed today, Defendants will endeavor to provide the supplement responses
described in this letter, produce additional responsive documents, and provide a privilege log for any
withheld documents by August 23, 2019.

Depositions

        Defendants did not “fail to provide dates for deposition since the April Conference.”
Plaintiff’s counsel requested that the depositions previously scheduled for May 2019 be rescheduled
because Plaintiff was planning to amend its complaint with additional claims and the parties were
seeking a new scheduling order with the Court. At no time has any Defendant refused to appear or
provide dates for deposition. Your continued inaccurate attacks and vitriolic communications are
neither necessary nor appreciated. Defendants will provide dates for deposition in October-
November by August 6, 2019.

       As we discussed, Defendants will agree to expand the limit on depositions under Rule 31 to
15 depositions for each side. We have agreed that this 15-deposition limit currently applies to fact
witnesses and does not include depositions of designated testifying expert witnesses.

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          Thank you for your anticipated cooperation.


                                                       Sincerely,

                                                       Kimberly D. Annello

                                                       Kimberly D. Annello


KDA/kb




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